                                                                                                                      R F Q # Z / MC / EST/ 2015-2016
                                                                     ~-Y.fC~              .         • ·"   ·               ~ .:
                                                                                                               r E;ir"';r~e;~'w .
                                                                                                                         ·         ~-r ~            r- _ . -~-~:-.-';.. ,..•"'!:                           r -r"··      J   ..    ""' "'·"
                                                    ·.f'.'0 '~   ,r,,?..   -~}~;'.                                                                                                                                          I./, FiG   ··~
                                                                                              ITEM 1NAME . f;~~~~~ f~"'iil f PART! NO', ·
                                                                                                               0
                                                                                                                           , ,:.1"'
                                                                                                                                                                                                                            l., .t. ·:··, ·\:
                                                                  . : ~~· i!..h~'.#··":-- '       ~- .....         h   '
                                                                                                               '~ilft~ '   ...   '    -~. ·-.: ....~ .. t ~
                                                                                                                                                              r.,ffi •.~,i~a . j~A°iiLoGt;~
                                                                                                                                                                      Sr....         ......              ~,.,.,•."'".
                                                                                                                                                                                                     ·t.>i ~::~!'~~~
                                                                                                                                                                               ~:SL..-· ••. :~: ~- ~ )~                     • -,"1.r-
                                                                                                                                                                                                                                                fJffo,.~
                                                    271                              MANFOLD, intake, left                                   SB419-o6·S                        so             V12 ENG          S6                 44




                             00074442
                                                    272                                         GASKET                                         327-126                      300               V12_ENG          71                 52
                                                    273                                           stud                                          350.-02                    1000               V12 ENG          91                 68
                                                    274                                           stud                                          350-03                     1000               V12 ENG          91                 68
                                                    275                                           stud                                          350-24                     1000               V12 ENG          91                 69
                                                    276                                BOLT, crankpin plug                                      356-84                         200            V12 ENG         106                 &3
                                                    zn                                        WATER PUMP                                   SBS11T-00-21A                       so             V6_ENG           38                 27              1-SS
                                                    278                         COMPLETE INJECTION VALVE                                 800-S317-00-1A/18                     500            VS ENG           49                 35
                                                    279                    TUBE OF OIL SUPPLY TO CAM SHAFT                                  800-S20T-32-1                      50             V6 ENG           53                 37
                                                    280                     TUBE FROM CLEANER FILTER TO TD                                 800-520T-01·S1                      so             VS ENG           ss                 39               31
                                                    281                                           TUBE                                      800-521-00lS                       50             VS ENG           59                 42               12
                                                    282                                  INJECTION TUBE                                     800-SZ3T· 02S                      so             VG ENG           44                 44               8
                                                    283                                  INJECTION T\JBE                                    800-523T-03S                       so             V6_ENG           44                 44
                                                    284                                  I NJECTION TUBE                                    8 00-SZ3T..Q4S                     so             V6 ENG            44                44
                                                    285                                  INJECTION T\JBE                                    800-523T-0SS                       50             V6 ENG            44                44
                                                    286                                  INJECTION TUBE                                     800-523T-06S                       50             V6_ ENG          44                 44
                                                    287                                  £NGIN£ A-650-1                                     6 50-01-59130                      20             ATC-59           15                 10
                                                    281                               PAD, LOWER, FRONT                                     65~1-SB102                         100            ATC-59           1S                1671
                                                    289                               CLEANER, AIR , ASSY.                                  6SO-OS-SB139                       40             ATC-59          49                 100
                                                    290                                  GEARBOX, ASSY                                        650-U-SB5                        25             ATC-59          133                317




Ghanem_Sentencing_00000641
                                                    291                                       DRUM,ASSY                                     650.-1~SB113                       so             ATC-59          160                385
                                                    292                                         COVER                                         650-14-78                        50             ATC-59          161                396
                                                    293                                   FLANGE                                              650-14--79                       so             ATC-59          161                397
                                                    294                           SECTOR, FRICTION, LINING                                    650-14-138                   2000               ATC-59          161                1777
                                                    295                                        PIPEASSY                                     650-1S-SB1l2                       so             ATC-59          178                408
                                                    296                                        PIPE ASSY                                    6S0-1S-SB13S                       so             ATC-59          180                412
                                                    297                                        PIPE ASSY                                    6SO-l5·S8 143                      50             ATC-59          180                41S
                                                    29&                                          PLUG                                         650-21-31                        so             ATC-59          251                1998
                                                    299                                        PIPE ASSY                                    6SO-Z1·S8Z41                       50             ATC-59          274                626
                                                    300                        WEEL ROAD RIGHT HAND ASSY                                    650-2~SB153                        50             ATC -59         326                812
                                                                                                                                                   10 of 11




                             Ghanem-00072443-0010
                                                                                                                                                                                                                                                           Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 1 of 81 Page ID #:6061
                                                                                                                                                          RF Q # 2 / MC / EST / 2015-2016
                                                    (                                                                                                                                                                         ~ ·,t_· 1., ,,_,,.,    '[JI                                1
                                                        .~ :lf~::1~t·1t~~r                             '!'.·'-~~ ..-.. . r.:·,~,;.~-       1           .::-.:.c.-     ..    •    • I :,f   r.   : •~
                                                                                                                                                                                                                   .••·•
                                                                                                                                                                                                                      ·'«Kft:('
                                                                                                                                                                                                                    ir,t,,,.'tl,   · TAlOG .:. ··.it,
                                                                                                                                                                                                                                               ,.,..
                                                        NOi                                                  M                              '             '                                            t1REQ:-1:                                          rAJ.,            ~··:fTEI'   : f.
                                                                       . t:~~~· ...........                               ~·}         I   _T,.    .. •.
                                                                                           "'' ,·.··, .~ '"""'-                                                                                                                                                            :·  ... __(_,.:,.;
                                                                  ,,,,.•• 0r.:i.r11•••• ·,!;1\:;;         ......         L'l&u                          ~-                        ·..P.         Jl·                 .~..i; fY./ . ~""'"'-•"M ~, : .
                                                                                                                             ~,' ~. .... ·ii. ......:·
                                                        ''"'-',                                            :t_,.~M;'E
                                                                                                                  ••:.-                                                                                                                              . 111.r··
                                                        301                                    GASKET                                                                650-29-286                          100                 ATC-59                    371        1721
                                                                                                                                                              :t~ ·




                             00074442
                                                        302                                  STRIP GLASS                                                              650-29-487                         WO                  A TC-59                   371        1691
                                                        303                                 STREP EDGING                                                              650-29-488                         100                 ATC-59                    371        1692
                                                        304                                  SAPPORTST                                                              6S0·31-SB291                          so                 ATC-59                    417        1056
                                                        305                             SWITCH , TYPE B -45M                                                        6S0·3S·S8163                         100                 ATC-59                    4 68       1214
                                                        306                                  UNITCABEl                                                              6S0-35-SB424                          50                 A TC-59                   470        1263                          i1l
                                                        307                                  VOLTAMME                                                                712-10-K278                          50                 A TC-59                   502        1262
                                                        308                               ROPE, W IRE, ASSV                                                         712· 27-SB137                         200                AiC-59                               1410
                                                        309                             SHACKLE, TOWING ASSY                                                        712-27-S8183                          200             ATC-59                                  1412
                                                        310                                EJECTOR, RIGHT                                                           668·07-S8104                          so               ATC-G                                  105
                                                        311                                 EJECTOR, LEfT                                                           668-07-SBlOS                          so               A TC-G                                 106
                                                        312                                  PANELASSY                                                              668·35·SB135                          20               AiC-G                       595        1324
                                                        313                               SET PANEL WIRES                                                           668-35-S8147                         100               ATC-G                       599         1328                         h
                                                                                                                                                                                                                                                                                                ·1
                                                                                                                                                                                                                                                                                                 C
                                                        314                         PISTON RING OF THE 1 ST.STEP                                                      AKlS0-017                          1000          AK-150 S COMP                                T-3            ~
                                                        315                         PISTON•RING OF THE 2nd .STEP                                                      AKlS0-018                          150D          AK-150S COMP                                 T-3            4             '
                                                        316                                SCRAPER RING                                                               AKlS0-019                          1000          AK-150S COMP                                 T-3            s
                                                                                                                                                                                                                                                                                           ·-
                                                        317                          PISTON RING Of THE 3rd.STEP                                                     AK1S0-020                           1000          AK-150S COMP                                 T--4           :'I
                                                        318                                 PISTON RING                                                              AKlS0-021                           1500          AK-150S COMP                               . T-4            11
                                                        319                                        SCRAPER RING                                                      AKl S0-022                          1000          AK-150S COMP                                T-4             s
                                                        320                                        SCRAPER RING                                                     AK150-071                            1000          AK-150S COMP                                ·T-4            G




Ghanem_Sentencing_00000642
                                                                                                                                                                           11 of 11




                             Ghanem-00072443-0011
                                                                                                                                                                                                                                                                                                      Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 2 of 81 Page ID #:6062
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 3 of 81 Page ID #:6063




        012ÿ45657
        012ÿ897
                    
        !!       "#!     $  %&    ' %(
        ') (& *      +'      ,-ÿ/ 0#
        1ÿ02        $)- % 0          02'ÿ/2 3
         2           !
        45565789ÿ:5697 3;3;(3
        <=95>7?ÿ:5697 (;;(3




   00074442                                             Ghanem-00072443-0012


                           Ghanem_Sentencing_00000643
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 4 of 81 Page ID #:6064




                                              CASE NO.     CR 15-0704 (A)-SJO

                                                       UNITED STATES OF AMERICA
                                                VS.       GHANEM

                                              PLAINTIFF=S EXHIBIT            644

                                              DATE                                 IDEN.

                                              DATE                                 EVID.

                                              BY
                                                              DEPUTY CLERK
                                              AO 386




                           Ghanem_Sentencing_00000644
     Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 5 of 81 Page ID #:6065


   From:                           Rami Ghanem <ramithe@gmail.com>
   Sent:                           Monday, October 26, 2015 6:55 AM
   To:                             CARE TRANSENERGY LTD <gd@caretransenergy.com>
   Cc:                             Goran Djordjevic <goranatri@cytanet.com.cy>
   Subject:                        New tender
   Attach:                         166.pdf




   Gdawq ~. ~ - /GnJ/
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com or rami@caravaname.com
   US Telephone: 772 675-4363                            Skype Address: caravaname

     The information contained ill this musa,e Is for the inten:1ed addr~see 0111v and may conuJn confidenttll and/or privileged Information. If you a1e not the lntend!d addres~t. this: menace will sttf destruct so notify the
    sender; :to not copy ar distribute this message or disclose ts contents to al"P(One. Artv views or o:>inions e)(prtssed in thlS message are tho,se of the author ind do not necessarif\' represent those of CMEor of any of its
    ossoc.tat'ld c.ompenites. No ,efonc.e1 m•y be p lated ~n this mess-,ge without •.vrltten oonflf'mation from an a..rthorlzed rePfesentatlve of the ,ompen),




                             Li fe is short.. So love your life .. Be happy .. And Keep smiling .. and


                                                                                   Before you speak »Listen
                                                                                    Before you write »Think
                                                                                    Before you spend »Earn
                                                                                   Befo re you pray »Forgive
                                                                                     Before you hurt >>Feel
                                                                                    Before you hate »Love
                                                                                     Before you quit >>Try
                                                                                     Before you die >>Live

                                                                                                      That's Life ...




00074312.pdf                                                                                                                                                                                     Ghanem-000724 43
                                                                                  Ghanem_Sentencing_00000645
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 6 of 81 Page ID #:6066




                                    RFQ

                     REQUEST FOR QUOTATION



     QUOTATION REQUEST FOR:



              ASSAULTRIFLE CALIHER5.56X45MMFULLY                   1
              AUTOMATIC INCLUDE THE PICATlNNY RAIL
              ADAPTER AND MAGAZINE SET ( 4/30 ROUND
               l\'.IAGAZINES WITH CONNECTOR), RED DOT
                   SIGHT , TACTICAL LASER AIMING AND
                      TACTICAL LIGHT lLLUMINATOR

     TI-TIS (RFQ) CONSISTS OF:

         SECTION 1: GE~RAL CONDITIONS
         SECTION 2: TECHN1CAL SPECIFICATIONS




      SIGNATURE(                     )
      MAJ. GEN STAFF I ROSHDY ABDELHANflD ABDELAZIZ
    DIRECTOR OF AR.MAMENT & Ail1MUNITI0N DEPARTMENT




   00074313                                             Ghanem-00072443-0001


                           Ghanem_Sentencing_00000646
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 7 of 81 Page ID #:6067




                                         SECTION ·1
                                    GEN.KRAL CONDITIONS
     1.1 - SUBJECT:
     A.R.E invites the recognized manufacturers Lu bid for supplying cgyptian army with:
      assault rifle caliber 5.56 x 45 mm fully automatic include the picatiIU1y and magazine set
      ( 4/30 round magazines with connector), red dot sight, tactical laser aiming and tactical light
     illuminator in accordance with the following scope and rey_uirements.
     1.2- SCOPE:
    This request for quotation (RFQ) to provide the Government of EGYPT (GOE) with :
    assault rifle caliber 5 .56 x 45 mm fully automatic include the picatinny and magazine set
     ( 4/30 round magazines with connector ), red dot sight, tactical laser aiming and tactical light
    illuminator acconling to the list ofthc required items as per SECTION 2 (Brand New).
     1.3-GE~ERAL CONDITIONS:
         1.3.1 - The offered weapons must be in conformity with specificalion::; in section 2.
         1.3 .2 - The quotati on should include the following:
                1.3.2.1- Full Ledmical and tactical specification of assault rifle caliber 5.:S6 x 45
                          mm fully automatic include the picationy and magazine set ( 4/30 roun<l
                          magazines with connector ), red dot sighl, tactical laser aiming and tactical
                          light illuminator according to military specifications.
               1.3 .2.2 - Year of production of the offered weapon.
               1.3.2.3 - Time of delivery.
    1.4 -Assault rifle caliher 5.56 x 45 mm fully automatic include the picatinny and magazine
          set ( 4/30 round magazines with com1c:c:or ), red dot sight, tactical laser aiming and
          tactical light illuminator should be manufactured According to a military standard.
    1.5 - MECHANICAL CONDITIONS:
           Assault rifle caliber :S.:56 x 45 mm fully automatic i,1clude the picatinny and
           magazine set ( 4/30 round magazines wilh com1ector ), red dot sight, tactical laser
           aiming and tactical lighl illuminator should withstand all tests (Environmental - Safety
           -Pt:rfonnance - Firing ... etc) according to a military standard. Test Procedures for the
           weapon should be stated.
    1.6 - The quotation should he submitted in original aml three copies in English language and
           should be Valid for at least 6 months after closing date.
    1.7- The delivery should be within 6 months after signing the contract.
    1.8 - Closing date is: / /
    1.9- Contracting articles: ASSATJLT RlFLE CALIBER 5.56 X 45 mm FULLY
           AUTOlVIA TTC WITH ACCESSORIES.
           1.9.1- Delivery: the Sllpplier undertakes to supply FCA.
           1.9.2- Warranty: A warranty against any defects for all supplying items should
                  be offered.

                                                                                                          ,


   00074313                                                                  Ghanem-00072443-0002


                                    Ghanem_Sentencing_00000647
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 8 of 81 Page ID #:6068




     J.10 -   REQUIREMENTS:
              1.10.1- Operating temperature: -10 to+ 55 deg. centigrade.
              1.10.2- Corrosion: The supplier slwulJ cettify that the materials, processes, coating and
                     finishes used in the weapon resist corrosion in conformity with military
                     standards. The supplier should state accepting treatment of any rusty items,
                     during 5 years period of normal operation, on his expense.
     1.11- DOCUMENTATION:
           1.11.1- Technical manuals.
           1.11.2 - Maintenance ~md operation documents.
           l.11.3 -Test and repair documents.
           1.11.4 - A copy of the :MIL. STD. of testing (Environmental - Safety - Performance -
                    Firing ..... etc) of the required weapons and its main components inch1ding the
                    evaluation criteria.
     1.12-TRAINING:
              No training for Assault rifle caliber 5.56 x. 45 mm fully automatic include the
              picatinny and magazine set ( 4/30 round magazines with connector ) , red dot sigh,
              tactical laser aiming and tactical light illuminator is required
     J.B-TNSPECTION:
              l.12.1 - Inspection should be witnessed by (3) Egyptian representatives for (7) days at the
                       company site.
              1.12.2 - Inspection must be according to the military standard including test and .firing for
                       (Environmental - Safety - Performam;e - Firing ... etc).
     1.14-CERTIFICATE OF ORIGIN:
          Certificate of OEl\'I "Original Equipment Manufacturer" :MUST be submitted for all
              contracted items.
     1.1s - SPARE PARTS:
            A Guarantee of Continuous Supply with Logislil.; Support (spare parts) for at
            leasl 10 Years.
    1.16-TAXES & DUTIES:
              All due charges at the seller country will be born by the seller & in-country charges
              will be born by the buyers.
              Payments: according to contradiug terms.




   00074313                                                                       Ghanem-00072443-0003


                                       Ghanem_Sentencing_00000648
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 9 of 81 Page ID #:6069




                                             SECTION2
                             TECHNICAL SPECIFICATIONS FOR
      ASSAULT RIFLE CALl.B.EH 5.56 X 45 MM FULLY AUTOMATIC INCLUDE THE PICATINNY
      RAIL ADAPTER AND MAGAZINE SET ( 4/30 ROUND MAGAZINES WITH CONNECTOR},
       RED DOT SIGHT, TACTICAL LASER AIMING AND TACTICAL LIGHT ILLUMINATOR
     2.1-SCOPE:
              This request for quotation (RFQ) to provide the Government of EGYPT (GOE)
               with Assault rifle caliber 5.56 x 45 mm fully automatic include the picatmny
               rail adapter and magazine set ( 4/30 roun<l magazines with coJU1ector ), red dot
               sight, tactical laser aiming and tacfoal light illuminator(Brand Kew).
     2.2 - PRODUCT QUANTITIES:

      [E£]                                                                                 II QTY.
      D                                    DESCRIPTION
             Assault rifle caliber 5.56 x 45 mm full)' automatic include the picatinny
             rail adapter and ma2azine set ( 4-30 round ma2:azines with connector
                                                                                           6
      [TI Red dot sight                                                                      280
      [TI Tactical LASER        aiminl?:                                                     280
        4    Tactical light illuminator                                                      280

        5    Recommended spare parts list is required.

             Sample model for all items must be shipped to be tested and accepted as
        6
             acondition to put the Contract in eUect.

     2.3- TID', QUOTATION MUST INCLUDE THE FOLLOWING:
          2.3.1- Specification Assault rifle calib~r 5.56 x 45 mm fully automatic include the
                  picatinny rail adapter and magazine set ( 4/30 round magazines with connector)
                  as follows:
     No.                            Data                                    SPECIFICATION
      1                         CALIBER                                       5.56 X 45
      2                        OPERATION                                  Fuily  Automatic
      3                       RATEOFFTRR                               Not :ess than 900 r/min
      4      TOTAL LEKGTH WITH BUTT UNFOLDED                                    85 CM
      5        TOTAL LHNGIB WIIB BUTT FOLDED                                    65 CM
      6               Vi7EIGHT   (Wilhuut Magazine)                    Nol more than 3.50 kg
      7                 ¥/EIGHT (Wilh Magazine)                         Nol more than 5 kg
      8                   l\.fUZELL VELOCITY                         Not less than 940 m/second-
      9                     EFFECTIVE RANG                            Not less than 400 Mder
     10                     MAXIMUM RANG                              Not less than 1500 Mt:.:ler
     11                 NUMBER OF GROOVES                                          6
                                                                                                     I
     12                        Firing modes                         Smgle/Burst / Fully automaLic_




   00074313                                                              Ghanem-00072443-0004


                                  Ghanem_Sentencing_00000649
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 10 of 81 Page ID #:6070




          2.3.2- Red dot sight for Assault rifle caliber 5.56 x 45 mm fully automatic shall
                conform to Military Standard (Mil-STD-81 OF) and supported with the following
                specifications:


           No               Data                               SPECIFICATION
            1   Al.MIN (j DOT                                    3.5 -7MOA
           2    DOT TNTRN8ITY                      Auto adjust and manual up to 4 settings
           3    INTERFACE                                 Fits existing sight mounts
                OPERATING
           4                                                    -40 • to +55"
                TEMPERATURE

          2.3.3 TaGli<.;al Laser aiming module for Assault rifle caliber 5.56 x '15 mm fully
                automatic shall conform to Military Standard (Mil-STD-8 1OF) and supported
                with the following specifications:
           No                Data                              SPECIFICATION
           1    LAS.ER l'OWER / TYPE               6mw IR (835nm) / Smw visible (635nm)
           2    BORESIGHT Al>.TUSTABLE                         Must be exist
           3    MOUNTING BRACKET             Interface mounts with different submachine mounts
           4    ENVIRONMENTAL TESTS           According with mililary standard (MIL-STD-810F)
                OPERATING
           5                                                    -40 ° to +ss•
                TEMPERATURE


          2.3.4 Tactical "'light "illuminator'' for Assault rifle caliber 5.56 x 45 mn1 fully
                automatic shall conform to Milit11ry Standard (Mil-STD-810F) and supported
                with up to 125 peak lumens / l hr runtime




                                                                                                 ,




    00074313                                                             Ghanem-00072443-0005


                                   Ghanem_Sentencing_00000650
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 11 of 81 Page ID #:6071




                                          RFO
                         REQUEST FOR QUO'f_A'fION


       QUOTATION REQUEST FOR:


           FULLY AUTOMATIC PISTOL CaL9xI9mm
           COMPLETE WITH ACCESSORIES



           THIS (RFQ) CONSISTS OF:

            SECTION 1: GENERAL CONDITIONS
            SECTION 2_: TECH1\fICAL SPECIFICATIONS




         SIGNATURE (., ., --               )
         lvJAJ. GEN S1:4FF I ROSHDY ABDET..HAM.ID ABDELAZIZ
       DIRECTOR OF A l?MAMENT & AJ,!JNJUNJTION DEPAR.TMENT




    00074313                                                Ghanem-00072443-0006


                               Ghanem_Sentencing_00000651
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 12 of 81 Page ID #:6072




                                               SECTION 1
                                           GENERAL CONDITIONS
        1.1 - SUBJECT:
            A.R.E invites the recognized manufacturers to bid for supplying egyptian army with:
            Fully automatic pistol cal.9x19mm complete with accessoriec; ir accordance with the
            followine scope and requirements.
        L.2- SCOPE:
            This request for quotation (RFQ) to provide the Government of EGYPT (GOE) with
            Fully automatic pistol cal.9x19mm complete with accessories (Brand New).
        1.3-GENERAL CONDITIONS:
             1.3.1 - The offered weapons must be in conformity with specifications in section 7..
             1.3.2 - The quotation should include tlie following:
                    l.3.2.1- Full technical and tactrcal specification of Fully automatic pistol cal.9xl9 mrr.
                             complete with accessories according lo military specifications.
                    1.3.2.2 - Year of production of the offered weapon.
                    1.3.2.3 - Time of delivery.
        1.4 - Fully automatic pistol cal.9xl 9mm complete with accessories should be manufactured
               according to a military standard, the military standard for this weapon should be
               specified.
        1.5 - MECHANICAL CONDITIONS:
               Fully automatic pistol cal.9xl 9mm complete with accessories should withstarid all tests
               (Environmental - Safety - Performance - Firing ... etc) accor<ling to a military standard.
               Test Procedures for the weapon shoukl be stated.
        1.6 - The quo:ation should be submitted in original and three copies in English language and
               should be Valid for at least 6 months after dosjng date.
        1.7- The delivery shoulcl he within 6 months after signing the contracl.
        1.8 - Closing date is: / i
        1.9- Contracting a1tkles:             FuUy    automatic pistol caJ.9xl9mm complete
                                     wHh 2cccssories.
              1.9.1-.Delivery: the supplier undertakes to supply FCA.
               1.9.2- Warranty: A warranty av;ainst any deftcts for all supplyilllg items should
                      be offered.
        1.10-_M_QUIR.EMENTS:
                1.10.1- Operating tempe:-ature: -JO tr.+ 55 deg. centigrade.
                1.10.2- Corrosion: The supplier should c..:c:rtify that the materials, processes, coating and
                       finishes used in the weapon resist corrosion in conformity with military
                       standards. The supplier should sta~e accepting treatment of any rusly items,
                       <luring 5 years period of normal operaliun, 011 his expense.




      !__------------·-------------·-··------·-·---------·-

 I

     00074313                                                                         Ghanem-00072443-0007


                                       Ghanem_Sentencing_00000652
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 13 of 81 Page ID #:6073




      1.11-DOCUMENTATION:
               1.11.1 - Technical manuals.
               1.11.2 -Maintenance ~md operation documents.
               1.11.3 - Test and repair documents.
               1.11.4 - A copy of the :MIL. STD. of testing (Environmental - Safety - Perfonnam:e -
                        Firing ..... etc) of the requireu weapons and its main components including the
                        evaluation criteria.
      1.12 -   TRAINING :
               No traiuing for Fully automatic pistol cal.9x19mm is required.
       1.13   -INSPECTION:
               1.12.1 - Inspection should be witnessed by (2) Egyptian representatives for (7) days at the
                         company site.
               1.12.2 - Inspection must be according to the military standard including test and firing
                         for (Environmental - Safety - Performance - Firing .. .etc).
       1.14-CERTlFlCATE OF ORIGIN:
               Certificate ofOF.M "Original Equipment Manufacturer" MUST be submitted for all
               contracted items.
      1.1s-SPARE PARTS:
           A Guarantee of Continuous Supply with Logistic Support (spare parts) for at
               least l OYears .
      1.16-    TAXES & DUTIES:
               All due charges at the seller country will be horn by the seller & in-country charges
               will be born by the buyers.
               Payments; :according to contracting terms.




                                                                                                         .   ,




    00074313                                                                  Ghanem-00072443-0008


                                      Ghanem_Sentencing_00000653
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 14 of 81 Page ID #:6074




                                                     SECTION 2                                                    ...._,..       Ir       , ~

                                              TECHNTCALSPECIFICATIONS
                                                                     FOR
                           FULLY AUTOMATIC PISTOL Cal.9.x:19mm COMPLETE
                                       WITH ACCESSORIES
       2.1   -_SCOPE :
                      This request for quotation (RFQ) to provide the Government of EGYPT (GOR)
                 with Fully automatic pistol cal.9x:19mm (Brand New).
       2.2 -PRODUCT              QUANTITY:
       ,/No. I                  ---D;;;;~N .w-----·-··ro;;.-l
                              ------
        [i_J FulJ;::;:::~;;istol c;i.9x19mm ::;:;~:;;~::;:-·~----I -;,~
        GJ~~~~:-;;----~-m-w,--~----•1                                                                                                                 65 I

             3    Sho:i~;;::;~;:----                                                --------,--1-;;-
         GENERAL SPECIFICATIONS
            1- Caliber:                                              9x19mm.
            2 - Operation                                            Fully Automatic/ Semi Automatic
            3 - Rate of fire :                                       Not less than 800 r/min
            4 - Finish:                                              Black
                 5- Weight (Without Magazine) :                       ~ot more than 0.650 kg
                 6-Magazinc Capacity:                                19 Rounds/ 33 Rounds

             4    Recommended spare parts list is required.
                  Sample model for all items must be snipped to be tested and accepted as a condition
             5
                  to put the Contract in effect.
                                                         -·-·--~~-DM.J'aa--·lllQm!IG!ft.&.e/......
        _ _ _ _, _ _ _ , _ , . . _ _ _ _ "na,-iaa-lbl--...                                       ~   ...
                                                                                                       'l!,dltl"'3,ll-l,-.J-llfl(J.-'Ulf:..»llll"\01-lfl.-JW/w,I~




    00074313                                                                                         Ghanem-00072443-0009


                                              Ghanem_Sentencing_00000654
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 15 of 81 Page ID #:6075




         012ÿ45657
         012ÿ897
                               !"
         ##        $%#     &       ' (
         ') " * "+ ,'        -.ÿ0 1%
         2 ÿ13         &).     1            13'ÿ03
          3            #
         45565789ÿ:5697 ;+<;"+(
         =>95?7@ÿ:5697 ;+;"+(




    00074313                                            Ghanem-00072443-0010


                           Ghanem_Sentencing_00000655
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 16 of 81 Page ID #:6076




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        645

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000656
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 17 of 81 Page ID #:6077


   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Monday, October 26, 2015 12:10 PM
   To:                            Anna <anna@travelerhelpdesk.com>
   Subject:                       RFQs Rifle caliber
   Attach:                        166.pdf; 175 .pdf




   Hello Anna,

   Please see attached file for a new requirements for the Egyptian Armed Forces,
   please let me know if you are interested to send us an offer.

   Thanks




   6116itNIIJI ~" ~ - /6fTE/
   11 Aflaton Street. lsmailia Square. 5th floor.

   Heliopolis. Cairo. Egypt.

   Office : +20224157990

   lternational Mobile #: +37282432246
   Telephone# +201127999552/Viber, WhatsApp/MyChat

   US Telephone: + 1772675-4363
   ramithe@gmail.com
   Skype Address: ~~X~)@.!).!'!.'ll.~

    The information contalMed i, th s m!ssage it for the inte,ded addressee only and may eonb1n conhdent tal and/orprl\ileged fnformatlon. tf you are not the intended acdressee, this mesu,e w II s.elf des.truct: so
    notify the sender; do not copy or distribute this messige or dsclose itS co1terts to anvone. Any views or opi nions expressed in this message are those cl the author and do not nece>sar ly represent tho>e of CWE or
    of any d Its associated companies. No reliance may be placed on this mC$$ace without writttr conflrrratlon from an autho·iled representa~lve of the company,




00074285.pdf                                                                                                                                                                                Ghanem-00072443
                                                                             Ghanem_Sentencing_00000657
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 18 of 81 Page ID #:6078



     r- . .                                                                                        ..                                              .
     ;


     I
     !
                                                                    irr.( r ril~'
                                                                    .K ...
                                                                    ~  - ~-,
                                                                           ·~. !L,,.,,
                                                                                      ~,i··                  .t~
                                                                                           l . .... J' .........
                                                                                ....--.,.,.,._
                                                                                                                        nrrr:~--Ql1· ·A>it1·~___• __
                                                                                                                        _                               , (1                  -·~~'§'.{"\l\:(
                                                                                                                                                           . ,,,,......... ,~ .ll
                                                                                                                                                                               , .. .,...~'.J'J.~
                                                                                                                                                                                                ......




                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      'II
                         'u              !
                                            1 N
                          ,-, r\"'~,:r, .....
                             ....•,.... J_,\.
                                              r,
                                               ....) ::
                                                                ~        ,.., £., N'!'j'·• r, , 1 . ( ·,.,.,'I.
                                                          ......1.. ... \ ,J. ., •... .·<..-.1j'-.. !':1.
                                                                                                     .... .•.,
                                                                                                        .,.!:            ) r. ,.{. .r ....,, .''
                                                                                                            '~ ,~,:·al. ..,L
                                                                                                                       •..          ,{)~\,,, _,
                                                                                                                                                                                                                                                      Il
                            F (,."'l'
                         '~.....
                         ..              \ .. 1\!
                                 , ,···.·-()  ,.........       • L ,r~·r.rN'I
                                                      ··;, ·, ·r-i:-: .,1. ~                              f('. ..'-\
                                                                                                                /t T      <:• 1>·l,
                                                                                                                     ..,. '-)     ..:C'T'F
                                                                                                                                     _,. .. . .ff'/\'         . •N ,~..
                                                                                                                                                ... _ , l'' l()

                                                                                                                                                                                                                                                      Il
                                                                                                                                                                                                                                                      I
                S ffi'JVA. TU.fU£ (                                                                                                 )

                                                                                                                                                                                               fz
                                                                                                                                                                                                                                                      I
                ,.,,},f:<
                      .1.1Jy• . 1..     ~f"
                                 ('l~··,... r J,1'} ~ /..'ff,~j,
                                               ( '''',                        I>(fi'J.1')
                                                                          I I H. , ..) ,,.,/.. V    it)
                                                                                               J .t',.Jl.f..J                HE'''i'
                                                                                                                                 f, {f,;
                                                                                                                                        1 ,11·r p ·U'i:.>o'f,_'[ ;fZ
                                                                                                                                      . ~"'' . .1./ / ;t . '.J.,. . .. ~. ~I..,,,

          DlRECTOR OF t1R.1l!AAJ1':."NT ~~ .,-u'i1k1U:'\1I.11UNDEPA l?T.:1fRNT                                                                                                                                                                        I
                                                                                                                                                                                                                                                      I
     .                                                                                                                                                                                                                                                ·1
    k ..._.,.,, .. _   ......-    ..-       ·   - ...._. ....... ..._.-..J,A>N ........ , , _ ........_    •• •• - .. . ...- . ••••••_    •• y",,_....,.,.,..........- -......,_         _ _   -         .........._   _•. ,,....._.,JV;••·-.,...···--V:




00074286.pdf
                                                                                                                                                                                                                          Ghanem-00072443
                                                                                                  Ghanem_Sentencing_00000658
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 19 of 81 Page ID #:6079



                                                                 ···-"'"_ ..... ......        -           __- ....       .....                -_.        ........-_,.......,.. ,                   __ ____           .............-:.,,......................-,.................-.,~........~................___,, .............
                                                                                                                                                                                                                   ........ ,                                                  '              ~
                                                                                                                                                                                                                                                                                                                                                      -_
                                                                                                                                                                                                                                                                                                                                               ....... ...........
                                                                                                                                                                                                                                                                                                     ..................................................

                                                                                                                                                        ~f .,.,[ON.
                                                                                                                                                        1.:...:&., ...:-,.;:. .Ll.                                                                                                                                                                        !
                                                                                                                       _
                                                                                                                       GE:NERAL
                                                                                                                        ........................... ..   ............ ..--"'·-
                                                                                                                                                       CONHl'IJONS
                                                                                                                                                              .- ........._...                           ~




        }l , -,A,,--.,:;;'('()l)P
                           .... l. Jd;
    't'J./;s r~1.FJ,'.:s11. frF , 1UDL:wo,) (.l~F(); t;J p,ovJ,.k ~.11,, Guv~rnment i.)f f:(lY'fYr (G()f:.) >,;,)·th.
    ci.::<l/" l (i :·iflt ''fi)il,,;·r ~ " " V 1 <; <I'll' P:lh ·•1 : )"A·'{',l" <J\:•ji:d<> -~~: ,'> 1)!{",:;r'fl''
         ..., ., .11,.-...   , ""   4           ._       ,   ~., ...        ..,   ..J'-               t ·"-'"'-,,.,, .•.. .). ,:v1fJ
                                                                                                              . . ,· . A                   :''1"<1~-
                                                                                                                              t .. :. ,,J .,,_t(~~':\
                                                                                                                                 ..    ,,.. • .,.       i1'
                                                                                                                                                                 0
                                                                                                                                                              ... \:.,.'.~ .,)
                                                                                                                                                             -·· i·v:'>_
                                                                                                                                                      .. ·.. '°•            < 't'··, /·
                                                                                                                                                                         :IJ.tl         ,       "'. •, ......., , , ... , -·                                                                                                            <


      ( 4(:() ri)und mng~1zi.n,;s w11l.J {:ur:u,cr:t.rlr). r,.,;d do,. :111:;ht t.i.'!d\;td b::;~1r 2.imi,}if, r11d t,h~UG;tl ligliL
     UlUi"Ul•-'l'''
      "- • ' ,,.._,, •         :icco--din,;
                                   '                     t.:, :,)-tlw
                                                               • ·     • fr,;!.._ :;fih·'
                                                                                  • ,.          ?"t•t1· :jv~",' i:s>,r:~ a_.: :~pr :-,;.Fi 'Tl{ H\; ·; rn·,;1!'(i Nr,·,,;'1
                                                                                                                                          t   V     '    •    •    •    .'   ' · ·'   •'•,,.    ,.•..,       "   .. · ....     , ...    ,   -...              • ,       "'""       \   •   : ,.   :       '   .-.   V   ./



        l 3-·< TN FRAL CONl}{Tf
          ,,.        ....... f., ,:.'A,.,.,'"        - " - ~ ~ . _ . § , -.'.')'t\~·
                                                     #       ,    . .....            ,~:;.;,.o
              !····'i ·"-l · 'l'r'·1 1•.•. ,,rr    •..  r,,·l      ~<'""'   r."     ·1·).'•'~
                                           v ....t-....• ..... v. •> c.""t·"'•·\,) .... l          .-. 1··1 c·""'';,,-r,n:'·;,.·
                                                                                             .....hr            <1(\.', J., ...,t.,, .:,:Jf: ,::•><"
                                                                                                                                                       1·,,.,.,i; .... ,1<· 1') •·.-,··1>'.>"?
                                                                                                                                                  i,,it.,u\..,,·..,t     ... . ,,    .. t\,-t~ ._,               V'f;,       .••   • ~ , . ,..                                         ~          '~~~


                        l.3.2 ~ Th.i: qr1c,t;1l.101'1 dwnM indnd:~ Jie folicsving:
                              1. 3.:!. J... 'F\.:j f te,..l1rL~c:1l t..nrJ tt.it~ti~;:1I ~:1),1i.-;t.Iic(1ti~)~; ~rf. 4S~~rr3H rItJ~ Ctt[lb,·;: ~). )6 x 45
                                             , r:,-i: f:i)!v c"~lfn:·,i~:,,· 1·fl"l)1...-l,, fhr., ;_,-,V-•.;.
                                                                      •     AJ    ,          "'        ~\:"~:l1i"v
                                                                                                        ..)      ,,..,,.,.,
                                                                                                                  A.        •::i I'''!".,._,!'Zl"·
                                                                                                                          ,,.A) , ._.'"'"'"'-         '· ,·t·•·
                                                                                                                                               • -,}....,.
                                                                                                                                                         , ) ,l, (\ 4i'.O
                                                                                                                                                              ),     '• . .-,1' ''(''I"'::
                                                                                                                                                                       • '\.:.....,   ,Jt"\.(
                                                                                                                                                                                                                                       0
                                                                                                                                                                                                                                       u...\.~.,·         ,\,.~•                                                             >.   ,-._ 1:•\ ...

                                                                                                                                                        .A I'?') ... :< . i .. ....l''t:,..... , , ...... ~,~ .. ~: .. -~TI<'                                                                                           t·,L.... i:
                                                                      d 1<(-;:,•.l1..J.:.h g \:,' 1.-;.
                                                                      (lo- ' ) · ( " -'      '<r· ...          ...........11 '(:'('(>'
                                                                                                          · l lA,:
                                                                                                          ~,,.         .. , ..        .. * "':
                                                                                                                              :. ' ;,,•l       ,, n';u       '-'' \ "'.-.i-'~;., '; " ~\ " ""'"' ,.,: i:ti: _{,                                                                                           f~:-'\i';
                                                                                                                                                                                                                                                                                                          ,, ;, ...,
                                                                                                                                                                                                                                                                                                                                     "'l'
                                                                                                                                                                                                                                                                                                                                 ,;.'v, ;
                                                                            ff hi ·111 ,,,,,
                                                                      i. 1· i;.........           ;r,t•'°f!
                                                                                         ., .. 1 .••          ,. (1...,....
                                                                                                      ·"":•• ...
                                                                                                                                     1
                                                                                                                      ·~1 '{'()rc.t i· nr-           tr,
                                                                                                                                         .......: ....., ...~11
                                                                                                                                                          0
                                                                                                                                                            1•
                                                                                                                                                                1
                                                                                                                                                                  ,,
                                                                                                                                                                  • ~~A      ., '-'.!''"'.J.
                                                                                                                                                                     •.,...' "               t".....v<;,,,.,,.,..,,
                                                                                                                                                                                 ·'::· ' " ' ,.     ,, .. ! ' ' "' '"
                           l.. 3.2.2 .. \' f;,1, sJl prod: H.:J.ir~n Of the Ofl.0Nd ,Y~,-ll)tl.fl
                           1.}.23 .. flrne ef dr:1iv:.>r/.
     L4             - As:ltWL rifl<.) c.1liber 5.56 ~ 45 !!1,i~ fol.iy :.wt-.:;m:Jtk :·ndti,de h:;· 1:ncafrn11y ,1rn1 m«fl\Z!ne
                             ~;ct ( 1+!3(.1 r,Air)d ·11:tgazir..cs .,;:llh <.·<.1,11,l~der ), red de~ ,rghl, t~-:~ti,:r.il la,;er Mming :;.ud
                             t~ict1r:a~ iig1:!t ~llu.:.ninrxt,,r sb.t t:ld l·;~ n.1~nut~H:Hrrcd 1\tc(\rdir.:.~ ro ;1 niJJ.)_,·~-·11·y ~t~r,<l~r{L



                                                                                                                                                                                                                                                                                                                                                      '
                             ..-ti:rrin1.,>· <1-r:td t-:-tct1(;~-d fit~·ht dh1rr1in~tGr shot;.hl v,•1ths;~~n.t~ r,.H tt~st:3 (_;:,r,\.1lrur1n1c1)t~~! ... Sd.t::;t_y

                                                                                                                                                                                                                                                                                                                                                      I
                                           ..                                                            . ....                                                                                                                                                                                                                               y




                              ... :,,,~-,    ,:\r,·,·,··<11"'·
                                    ..... ,..J,... {.-.,~. "'" ., Fi;·i·,.,_.,
                                                                         "''-c,.; .. "~""· ·i"cr-1
                                                                                     .,,.,.'1
                                                                                      .i..    !.r\. .... -•;r_,~
                                                                                                  ...    v.. 'o ~-,           ~.,_) ........... ,._) -.•a,,,hy,l
                                                                                                                 c,,,.,.. <'•.,.,_;:;i·;,,.,;        ·· " ,)...... ..c.. ..... T~~1·
                                                                                                                                                                                  .. .• f'r"''(·dn1'·"~~
                                                                                                                                                                                           , . ......               ,\,· 1·1.~,
                                                                                                                                                                                                      . . .................. ...... ,~                                                                ~


                      81:vukl he st~~l·erL
                             \Vt~i.1p,m
    L<J · }h-: ,1i..:ofa.ti0n :,:lit;uld .:e sul:-nfitcd 1~ uil:·1?l ai:d lh!";;.,,; ,~:;pie" h E"igfo·h kngi1:lgt• ar,d
           ,;hrnh). b,: \!did far,..: fot1~1 6 rnont:1f: .1fti.:r clo~,hig date.
    1, "J, ...,. ,::...,t'Ji;:_. ,<-...:t.· 1:')''·-·,.
                                             :.vt:t5' :-:... ::1\.>,l:.U
                                                                ,.., : ,. ':.;~.,
                                                                           .., .... "'(;.>r.l
                                                                                       " >"'"tt.ul:~
                                                                                                 .........                            ; ...
                                                                                                                                      ~.:     -~...(
                                                                                                                                              1. ::dl         t,'l~ :-~.:.;.."-·, 81{;.J.3~.:. ...tf. ~~u:::,,
                                                                                                                                                             '': .. ,-:">:..,-~ ,: ... --~ ..,{...        ......                       ,..., ..... ....... l , ... .:
                                                                                                                                                                                                                                       v, .. 1.:., .. , ..... :...                                                                                    J
    1¥0 - (:hts}·=1g <lc1!c ~~;;
    !             .s   ,.
    , ,,,\).. C!:ntrfh:ni1;J
              "\                 ,, 1es: h\ .~~
                             ;it1H.:         """ ..,\~,L
                                                     r11 -r· n ,iaLT' "      t $' l}'rY} - ---~V
                                                          1 n.u-:. J~, \.,t; 1.Ji . H',h :,,~l} .,(',,

                             Al:TOMAfIC Wl l fl .ACCESSORtES.
                                                                                                                                                                                                                                                           ·<i~
                                                                                                                                                                                                                                                                . 1'. vi.,r.,·v.•
                                                                                                                                                                                                                                                           ,(• nHll                        {''(i'l'
                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                      j
                             ) .~\.l-)}dh>ery~ foe ;ruppli0·,- Un d.1:rh)ke~: (,3 SH}! ply FCA,                                                                                                                                                                                                                                                       ~

                             Jt}. .2N-.:5.Y.~J:.Dgi_n:.:. A W3rnmty ag<1in~! ,wy def{·<:ts for ,>.H s-:.tpplying iu.,ms slvrnld
                                                                                                                                                                                                                                                                                                                                                      I
!                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                      ;
I
                                                                                                                                                                                                                                                                                                                                                  ~

                                                                                                                                                                                                                                                                                                                                                      1
;:_..,.~•··~~-··· · - " "'' •••""""'"'"·"'"".,'~'·•·-•-A•• ••._,._........,.,.,,,.,.<1".-....~••••••-.'"···-•""•n· ~ - -




                                                                                                                                                                                                                                                                                                              Ghanem-00072443
                                                                                                                            Ghanem_Sentencing_00000659
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 20 of 81 Page ID #:6080


                                                                                                ;,:~<!<!«•,·«·,-......,., ... "' ··•·· ""-~''=-:<,:,,,,.,.::,-:,.,:;:.v,~:_.,,.,,,,...n,.,,,.,::,-~,-....,,._.. ,-...... "'·· ····.-.~,......,,..,-.,-..... .


 .:-i: .··.i :) - r.~J~.~.iiiBij\irj~~-~J·s:
                                                                                 •-•--•••-••••·•-                ·•••••-•••·--····-•••-•••,.•••••••••·•"'"'·-... ·-·····-••·uu-•··--•••••••• ••• ••.,• ••-••· • ••••• -.~-                    ...

                                                                                                                                                                                                                                                            --·1
                    u <)          1- Opern:fing                   temr'-\r:.i'f.:.,rc. ·· i {) to .;. 5~ d~;?•. ,:entigr ade.                                                                                                                                    j
                    ~ . HJ.Z-            •.::on:t;;-;l(·•i, : '!"Li-.· ~Fo,.~!kr
                                                                          ... t·
                                                                                     ,:Jh)u)d <.:<zrtily. )ult i..hi..~ mai.i::nah. .•rn\';,;,;sse:~. ,~,-..;;ti.n;;...... and                      ~
                                        f~-:\-~~,,.~     ~~··d
                                        :.,,~,_,;,w, · ,;;,          t··  :1---.. ·
                                                                      .:J : ,.._ ~, '~r1"" ·' rr.
                                                                                       ·~A>,;     .. .st ,......
                                                                                               ,.~...            . ,... · ;,,
                                                                                                           , ;;,~;>.\      •n :f   .. )""r,,n~")=
                                                                                                                              : l <....~              ·v
                                                                                                                                         , . :,;,. :,,t,: '('    ·· ",r::~ .J:..-J~
                                                                                                                                                           ,\;'~th
                                                                                                                                                               1(           "t, . .,.


                                       S1~.n<if.ifd!i~ '{'i-H..) S:1DftJ icr ~;r;.<,:ttk} ~}l.ltti:; kt.(;(;,f;r)i.in:tt 1rCilrr'\1Cilt of '3.'f...\> x:t~i~" ·j~tlfi$ ..~
                                                                                 •'                                                                   ,,             "..                                                                 V




                        dnrint, 5 year~, pu:1od irf nonn:fl (\peri·nlon, nn his cxp,:n'-,t'.
   1 11 ....f!.QJJ)l\fENTAJH)N:
           1. l l J . Tcchn ic<i.l ,:n~HHJilL .
            ·i . J 1.2 - :ivfainten~.uce. m1d ;".ipe;.·~1tir,u doo.11nl.'.nl.s.
                  LJ J .3 ... T~sf ·ind ·rcp<lir d:.>.:.u:rtH.'nii:.
                  1.11.4 ... A. copy ~)f 1t:1.. - !vi q . S l'D ,,f i~:.;tkg (Errv ,rnwr:eu~l ·- ~:..fi~'.Y .. P,;rkrr:,;iJ, ..t.: ..
                              T7
                              ,. .....
                                 \.; \.!"\ •'}
                                       "'i:,"· ... .:..,, ·,
                                               C,,.')                :h .. r(.·t}' ;r· ·( "V"' ·"'"",.. "Jt' ""J" .1 :4 . ·t·.......
                                                             •. )'!" t,,<.:                                                                                             r-•'\ >(I•>
                                                                            .-;,1 :.1, <.><, , <.::"V''' ,, ,., i,, ;1.:,; 1..,:1, , ,. :: :1..:1;.,, ,~, ,,, :H,,! , ,l,I.L,~,,
                                                                                                                                                                            'l'l.    , .. , .. ..
                                                                                                                                                                                 .:J..,                 -,''l!'\""")'( . • • .   ··'·~




       n ... 'f'f:t AIN"f{~'(
             1...~\.t}....·. ..l:" _.,.....:.
                 ~f:    trnining. l.<)r /\!'isitdi n                                  ,,e
                                                            \~<liiL~er \ .56 x ,.15 wrn rnHy ,;.:itc,1'l1:.itk ;rn~tu,k J:..0
                 ,::,r<').l:innv
                 .,            "
                                 ;.-md rn~1u.;1z.i1,1:
                                           ...         set {', 41'.H} rcH.:n.d nu1J;r,1.2.1n¢s
                                                                                   .....       wlth c;om-i~etc r \, r:.'d dc1. i/,ih,                                                                                ;,'                                -   ;,


                 ;,1-:tical h,:e, :-1in11r1g :.-nc it!.( fi,~;~? tgti i1 h.Hliin:'}f:'t fa 1-;;q,_iirt'.:i
   LB --JKSP.ECTlON:

                             vornp3ny sit~.
                  L: 2.2 .. Ir1si't·ctir,n mu..-;t b:: ~,c,:,or, 'ii:g t,~ t h::· r,,i1iU.t)' ''!a.rda.rd irdt:.<liJl{.! ~~-:~t :wd. l~ri.:1rd(:r
                            (fa1v lrorm,em,i; - ~;,fcr.v ... i'-.:rfom,:mcr.:: · Flruw... ,t:t,~).
                                            \.                                              ~           .                                                  ~




                 r'    0
                   ,...-'-
                             r •!!·;,_,, ..,. t_,·,1·(-~t~\.:i
                              .,)~\.:.....!..-.       ..f i . ;• !
                                                                   ·•f}1··1
                                                                      .     J1···,,;,J
                                                                            ~  ) :l- 0:J. f"'1t•1 1·p,·,·,""'~
                                                                                          ·c,."        l\..;.l,- ,\
                                                                                                             0
                                                                                                                 , : ...
                                                                                                                                                 ~r''
                                                                                                                 ~,,.,,.,:,·,-.~...v~1f··•·t<:t'1V.     ,(<,,'\.,,\.,
                                                                                                                                                                                    :v~iq~T "·t= 'i:·:":·.v:·1:t·~,,·~i
                                                                                                                                                                                ~-- ~-~: .":.. ,~.,.   ,,t,} V   •
                                                                                                                                                                                                                        t:.-,1 <": i
                                                                                                                                                                                                                       '•   ••     "'I;,."-   •"    •   ...) .


                 i;o11tr~:;: ted i t~:1:F;.


                                                                                                "'")n!~_' v,·;,j,
                                                                                                '   ... ,   {'    ,"       ·1   ••




          •      '°l~ ..t. V''!C ·~ V.. l) ~              J-"'f.t..$.~,,?.
   t .. lt: ..,. -~.. t~......1,. ..\ ·... ~, ..{~...t .. 5·· l
                                                                   ~-.- <:.' ~
                 t<,ll diie chn·i~cs :..it-HHt :<dk r {,,1.rn·ti--y wiH h~ hi,n.l hy l°ht' S•:lkr- & i,H'.,;u11try dJ:nge!,
                 ~-•-in he             b~}Hl      'l·:v the lniyu~.
                 ]>,.1ynH:Ht.~: a<::ct}nfa:11; w :;{)rr(..nct:l~if. tJ.-nu.:,.




                                                                                                                                                                                                                                                                 I
l.--..-..     · ···· ·- - "" ' " _ y . , , , . ,. -;•.-r.•J'_· ...... --.,.,..,.••-•• _ _ _. ..,.,,,._. . ...... .J;_             _. , . . _ . . ~ , -....-.,....   .,,..-~----.----•••-.••u..........-.-..--..• ••
                                                                                                                                                                                                                                                        .        j




                                                                                                                                                                                                                                  Ghanem-00072443
                                                                                 Ghanem_Sentencing_00000660
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 21 of 81 Page ID #:6081



                                                     -- ·-····...... ...-···----······............
                                      ................                  ,
                                                                                            . ---···................-......... ·········-···-···..···· .................      ....
                                                                                                                                                                           -...      --   ........... .



                                                                             §}\(~J)ON l
                                                         ".flJ.'HN tC-1> l, SPJ:fJ.EJ.GA.JIQ/:j:5.}_()J~
      ASS.·\.UU Rff.l C LAl.-1HEH 5.:~6 X 4~ .\l,:\l fTLLV .\lJTO~t-\TrC JNG.t;f)l:; THE ?JC.\Tfl\N'V
       }{Af,k/~Pl~f.JtJ(1\!)JL l\,i\/;_:\~ii1'1ffii.t+:Ytmnr\in ~iAT;X:ii/.ii"s\,j·c:iz-{:(;;,::;ECT()l{)
         Jl,_::)JJ)fff -S RJ.n:.. ,..'.LH,]J(6J,,J,/\.MiR AfMJNG Al\'Jl.XAC HC.;}J,,,J.,_(CIIL RLO;\,W~!:\(Iur·
    ·z. ·t • SC(H'K :
                     ,.;_:J,S
                        .,,.                 .. . . . .
                                !\,\1CtS:: 10rquntr.HLGl:               l.'f)"""'
                                                                            ,l 1./J
                                                                                                 ., '(.,                        ~ .... ,.,, . .-~,,,·,r )'"
                                                                                      ·::),Pf(~Vl(!I..' ~;'\(~ rcV~'.Tn!Pt•: I(>' ~<ti'<{ ,' ,i_~,_) :.:)
                      wh'h i\s~:~.u.:il rill.;; .;~1.lii>¢r 5.56 '( 45 :r1ra f.d.ly ,h:tr,nni.it ,1:Gh,<:fo th: p;;_,;.ti1,n;
                      'tfli ~
                          adaJ)t~r !.1nd Dr:-)OJ.:.z}rl~
                                                   ..       ~;et { 4!){) r(YlH'td 1·n 1~fi,:-l:i:j:nt"S
                                                                 ~                       ...            \Vit b COJ1n~w
                                                                                                                     ·t:t(~t' ..} ·r{'d (u:
                      ~ig[H, t:.i::tii;i/ lu~·~r t:.imi:!g rind iacti1,a ! light ilIL:..:11il1~~~'HrPnrrnJ Nn~)




 ••" " ' ' " - " ' ' ' _ " _ __ _ _ w,-v••"•-••·• -            - ~ -' " " " - - ' " ' " ' · , -.. M~=~•••"'"""'''"''"'''r '~"'"'      "'"·~>· • -·- -· .,••••·•-"•« - - ·-•




                                                                                                                                                              Ghanem-00072443
                                                            Ghanem_Sentencing_00000661
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 22 of 81 Page ID #:6082

                                                                                                                                   '•<(   .. .



                                                                                            ······----..················---·- ..············---------                                                                                 ''···· ··· .·. . . ····-··r-
                                                                                                                                                                                                            :rn[O:f;().! i(; ~ht/l
                                                                                                                          ,,      '  .  ,
                                                                                                                       .\• ....'\", ...... ''"l'I.)
                                                                                                                                    ' . . ,"         "   I '   . .
                                                                                                                                                               . ) ''f
                                                                                                                                                   - ,',· '...I!•  ,.,., :(
                                                                                                                                                                            1
                                                                                                                                                                         . . . .~""l)<i
                                                                                                                                                                                            !
                                                                                                                                                                                . -- ~.- , . <><
                                                                                                                                                                                                     I      . ' ·~ · .,.,
                                                                                                                                                                                                        "'"" f»
                                                                                                                                                                                              \..\,... "\'<:,
                                                                                                                                                                                                                      ': tv. . ,.'v··.........
                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                       .::,,,,;.:,l'
                                                                                                                                                                                                                                           .v · c: ·· "'..·)':'"




                     ;,.~.·~ ·raciical , 'Eght ".iiL.=.r.ir:r.1tJi ·•• r.:-:r i\~:-.r.1,Jh' ritl~         ~:fr her 5.Sf > -15 ,11,;_r; fot~,
                                     ,~uwrnYct;',; ::,il<.dt --~.;:1fonn \(.~ ;vFt iii.rry Su.1.1,ik!·d (Mil-~>'f'D-- 810/} :·•,d ~upr_._.Ttcd
                                     •xii.fr :1p rci 115 fkHk. i n::::~:n \ i \ hr ru11ti:'r:r




 .,.,, - •.,-.-.,,.,._ . ·, - - u , ,,, . .,._,.,.,- . . . . , . o ; , ,• ••'•- <'••• -- - · - . - • " .............., .,.,,.,,., _ __                                         .'.' " .. '"'" V••N•,o uo 'l' ••• "V U O"''' ,, .._ . , . , . _.. ,,,.,1,u,oHo••U-
                                                                                                                                                                                                                                                                    I

                                                                                                                                                                                                                                   Ghanem-00072443
                                                                                        Ghanem_Sentencing_00000662
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 23 of 81 Page ID #:6083


                                                                                                                                                                                , ... ;.. ,

                        . . . . ... . . . . . . . .                                                                                                                   .MJ'V.                  -Vol'                                                    ......--.......:..:...i
                                                                                                                                                                                                                                                                           <
                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                           .,




          !        ..-No,\/',ll,·~~--;YN,N".-.,-.".v.v~~,t,),.'\'Y'<f'.Y....,..v.,.,.. ...;.:;.,~ ..vw--.......,....-.~·.,.,_..,~"'i.....,~,N',;, . .1.-,,;;...,i;..e~v-:,vo,.~~""""'·-.--·"l'n.1'\.~11

           : f..T"j
           •
                     -a· ~- '~ ,. '~ ·1, ·:r·t~[) \t1 .1 :";. ~·
                t....L.tt, )! ~-i ii..• .t \ ..,    t     l !t 11...., 1~n 1'..:. 'l'f.') !L.1
                                                                                          f
                                                                                        ,·l,
                                                                                                            §"'<                         1
                                                                                                                                j '" " · '·
                                                                                                                                                                 ·(''•
                                                                                                                                                                   '~h.1 (' Hj n · r
                                                                                                                                                                         ~ X ,., .. LLl
                                                                                                                                                                                       V                                                        M
                                                                                                                                                                                                                                                ,.
          ! (''()IV{PJ
             .... · " ..(,t'"{''ff'
                            .     ..c                        ..i   .•    •   -vvrr~i:i  -       A,
                                                                                                          ACCF-~:s()I" IFS
                                                                                                         .( •'""   .....        ..,,    ..,; • ...,.i..   .   . ('    . .It..                                                                   ii
                                                                                                                                                                                                                                                ~:

          !                                                                                                                                                                                                                                     ~
          L····-············~w.,,,t~...,--. .. _..,-...........                                  :ico,,a,o1•.. eq,; _   -~~-"".9-.noeoeooo,10•'':P"""'",c.::r.y.•,.,.............. _ • ..x.~*""'v,n•o'!,1".".Vo·~;,yo.. ,x,,.~~"°~f




                 ':-.:......f.....
                 ,0:\               ,,.r·~.-·)·"' 1 .,.., .. ,, •·J -~·,·R·· ;.s-.: ~       1
                             :.,::::·' . ..:,::., ...,;,.':'!....a, . \_. ,..J\l.L,. ., , ,_., {_,
                          ,; ~                        .,   :(:          .... ,:-:                       .l ...             • ... { . } • :"""~
                                                                                                                                         ,
                                                                                                                                       .. ,
                                                                                                                                                  ·r1...J.!.
                                                                                                                                                        •· 'l.
                                                                                                                                                             . , ,.J'1-\J\'\
                                                                                                                                                              11···-..·,
                                                                                                                                                              1: ·o;     ·•.
                                                                                                                                                                     ., ·,..




                                                                                                ",

                                                                                                                                                  j
                                                                                                                                              /




   ........ - · · · ·······;,.-.,,_ ....... --.~---·~-~·"··~· - --                                   -·~--·..-".AN ······- -..-·· ·····•·i-•••o,••••.. ,,, ...,;- - - , . ~ ; , , ......... .......................,_,,_;,••• ..... ,._,.,._,   ....          .. .




                                                                                                                                                                                                                         Ghanem-00072443
                                                                                        Ghanem_Sentencing_00000663
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 24 of 81 Page ID #:6084




                             i\.. 1<..,1~ i11~,, itc~s tl1~~ r(~coi;n.t;,:::zd ·n1~n1.1t:~z~r:1rf·:s to l';i;J f.Or suppl;·i.nt:1 ,.,i:;yr:~ti<·;.:l arn:.y v1ft~1:
                             F1.:ll> uutom~~ t iC pit:t,·,J Cfi!Sx 19mm c1,.n:-rp h:t<' wilh ~1cc1:.ssorir; 1.n acci.,rd,tnc'.e wil11 ih~
                             f:;ih;;•/,.1,~ i:<:npe ~m.:.i req1,j ,\=:.r.hm!F;.
            1 "'}" ~'-'( '<("le~~)>1!';'
                •,AY               ! :.,~•
                                          ,




                             1.3, 'l The nffo re(l ·w•:npon~: mnsi· lw ;,., c,informif.y w1!h sp0cifal,,d(,,l:, in sic.ti.un 2.
                                                ¥




                             l.J.2 -.Il1t' ttuut;itfon_JllntJd. intlHd(• th!.! follo-,.,,fr.§.
                                                     1..:; . 2. l F:.;H t(h he t<~,~; tllH.~ t'tt.:t ?:~i1 5~ic.:!;. r,, :Hi.)11 ~)f ::t: -;y ~ut0r;~:i!i:' ri~!(~: f·a·. ~:"' {'} r,:::i
                                                                                  vDmplt:t,~ w. th a~::C:C:$Oti,:'> mx:.:,rdotg to iniliut'y sp'c.1 fom ,1,m~
                            1.3 .2.. ? ... ·\:·G~~r (!f prc\t1u.cl'i\">!t <Jf lhi: (,.ff·\>.r~~d~~..i)1xprtn..
                            ; .:~ .2. ~ - ..ri:Jj/~ ,1f cJ:.:.~li s,·0£;./.
           1~4 ·· Funv   . <iut<.)JJHltic.. ni~:ln1 .~<~t 9:,:l r,111111 ~c.,rnr.~lr-t¢ y..tirb t~cc;=;~r,<\tles sh =>·~.11c:: h(' r11~1.nufa:...':tu:r~:_,c
                                                                                               ~                                                                                .
                  <·l1:(:{)?'d intt t<) a ;11;,llb-l:y st;.-1nda~Tl,. rhe 1rl1l}t3.ry s~i~nd.ard '1~.).r :hi~> ,~':.:~ap,in :~h(,1tJJ b~
                 s~,~~ifi~-rl.
           .LS ;\·U.:CH?~NlCA.LCONH.!TIONS;
                         V




                 Ft~lly r.n1 tnrn.<1ric pistol caL9~ l 9r.n:r.n c.i.)n)p]et!! \\tirh ~.h:cesscrie:-; she:1:1(1 \.v}.th~>t::tnd all {,~~~t:'>
                                  rr:j\\.•1""7
                                  , ..... ,.;_•; .:. ... ,-~\;~l·"··~t_._....··d. -·
                                                     ....•,.v.,\.,•                                   ~-~i·~:-.1·,.r
                                                                                                      :...,(,..>.V'-,;          .... I\n;(-~·\t":':'~::-\7":f''("
                                                                                                                                     \_ •.,,/.,I , , .,_f.., , __.'Y •          n      li"1,:lH........
                                                                                                                                                                                       '    •  , .-.::..,...   •••
                                                                                                                                                                                                                     ~~·fr)     'JC(:t"'·1· ....
                                                                                                                                                                                                                      , . , . , <,.,-,-., ,\t
                                                                                                                                                                                                                                                       ·:r,}
                                                                                                                                                                                                                                                         .l(:": f')
                                                                                                                                                                                                                                                                •'-          '\
                                                                                                                                                                                                                                                                             ,.    r~J~H1"!T"")
                                                                                                                                                                                                                                                                                    • I .<.. ,' ;:t~rt,{·~~·."f
                                                                                                                                                                                                                                                                                                  •· · \.,,. ~.,._,

                                  ·r :.>·t Pr~r. ,::durcs f~;!" ~n~ Y.7~.;t-.t.pnr.~ ~')l}.:,uJd 1                                                                              1 ,)     stat=:d.
                        l"''    ··1't""',f'J,
                                !:
                         .:v 1._c              ....: ,~;.;
                                    ,.;:...,. .,;    ,.:~,,tit
                                                          .. • ,,;-i ·,v
                                                                     h. ............
                                                                                ,.,:•.:,,,. , 1,.-;,,; hl ,.,J;1~l,1:··!
                                                                                              ··1 ·:: "~                 ~ - ~ :.:
                                                                                                          , " .:.', ,i ,,.11:~ ,...r-..
                                                                                                                                    , f'··   ··1·,·~!'( ...... rr",,,
                                                                                                                                        t., t,tr!,1;...,
                                                                                                                                 i . ~ .....,                     ·-:::r·Q·l  ·,"na
                                                                                                                                                                        .1,,, -'·'                                                                                                           • ,,g'"'.. ;'>'· ,1\..... -;, •... f·
                                                                                                                                                                                                                                                                                            J·a:·)·:PF~;:"'

                       ~:i·t<.'i./i.l b¢ ~/,Jid (Qr ~~t 1:::. r1s1 6 r~1on~-l-1.;; :dt\)r (;loE}.n!J· daV.:.
           1.. 7 . . ih~· de~iv<:: y !::r-;c~:.11( bti w~~-l'3Lt.; (; t1J<}n'iJ1~; :::,t~r ::i~ni1.:.~ tl1c C(:11.rt,·;:
           l .~ - (.~l,1!,1 :1f~ ,:hH.r· -;~,~




   ~
   i
   ........ - .... - .•. .,......._ ..............................y...,._... __ .,, . . . ..... ,.... . ................... _._ ~,....._.,...._..... .    ...... ............
                                                                                                                                                         ,.   ~                 ~--,.,._,.,. .......... ....     ., ,__,,,..........~                                              --- ....................-............
                                                                                                                                                                                                                                        ........................... .,,,,,.,........                                         .,..,.,,.,.,,,. ..




                                                                                                               . . ···---"·- ----- -!SNll l!il- - 1Si18iffi88---                                                                                                                            Ghanem-00072443
                                                                                                                       Ghanem_Sentencing_00000664
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 25 of 81 Page ID #:6085



  r················..                         .._._ ...... _,,.... .....,. ____....... . _......... · - - - , · - -····. ·----··
                                                                                                                         .       ...... -                              .......- -..
                                                                                                                                                                                            .
  !
   i L.H .. t')f' ,.,, v>c 't'$'' l\T"S ' · ,.,.,·~J'·,F<,:·
                 JC (idn1,i ~ "'.A Ln. Pi:
                                                                                                                                                                                           - ... ...
   l              w,... ••• · - - - · - - - - •"• - -
                           'MM•


  1j        1,1.U. Te~)mic~l 1min).tals.
  i         1. t L2 -· tvf?LnLt n:m,;,; wd i~r-,:m~tio.n (kc1Hn<:>1:ls.
  !                           L H,?, .... ·i·e:ii {UJd t!."pid~ doc1..1mt':!l'L.
                                    1
                             ·•1-.t (. •A<4 - ./''-": cc::r.~.r (H• itH.>
                                                                      ·   i ''1
                                                                          ~   ·"1
                                                                               1 "' ~ ~-   s·r i·';. ot.· te~;t'tnf.;
                                                                                                                ·     t·1.H:';~r<;nrn
                                                                                                                              ·       ~11tH!• ···· <'
                                                                                                                                                   }ju..:ery
                                                                                                                                                        ·•   '"'- 1.-.a~~rf:-1rrn.t;.:1ce.
                                                                                                                                                                   1     ..
                                                Firrn~~- ..~t"·'} ot th\~                  rt~tjil.;rt~d '"·,.:V!..'<lJ'f<.'>:1~            :~n.d       1ts     .n.1a.in        c~:nnpoJJ:.:;r.t~; Jnctu<l.i.ng d1"~
                                                evul1.!<,tien ~:i.irei ;£?.



                             1.11.1 ~ h~r~dion ,;floul<l h-c r,ittH.:;s~~d by (}) ri.HHJ~.n ri.:pr:~Si'Utatives f,,r (7} c.~.r~ tl! tlit>
                                       .:i;mp:m::r site.
                             LU .'.? ~ b11p;•t•(on mnsf. tH~ 4\Cf:<'lH~iu~ ti} th~ m.H.itar1 MatHl~rd b}da.diug t?.~1 !tnd fi.riilf,~
                                        fo>.· (En.v'ir< mr;-~11bJ ·-· tfol'dy .... PtrltH·m:HH'e - fi.rin'.-~ .. ~1tr)
          i ~ • .. t<V:UTHi'V'
         A ".-.-   ~ : : ~ : -..~..:,..,.... ,':. .,.:..~,, ~~-
                                                                 1Tl' (V? OPJ.GfN -
                                                              " ":..!...-,,_...~.._.~?::"',, , , ~,::.,,~.




        l ,..<~r.:  . f I)~" n f~: l'l> \ n.1'{; •
               ...)   :::~.t.~.:ll!.~:-~......a.-{:~).-.~
                               .
                             /.._ (Ju:1r<;lnf.tt: of                    ('nnti.::n.t,)tt3         Supi:1:y '1~!'1tl1 L.OjJ'i:;f.H·\ Svr)p1.">:tt ( spot'{! pi.trt ..~) t~>r 111
                             \t~:,!,t l(i Yt31.11                .
       1.1( ..              T,\XES.. & J~Jn:w:s:
                             A l.l thl~·. d.arg$;'" .~t tl;t;". ~,dif;,r ~·v,rn tt·~, i.~·ill '/)e !wrn                                      hy Hlt'          ',tM1~r {5~ i)1 .. (·n-,1nlTy ,-h~n;es
                             w.HJ !w b{,.-.n b;t thr h.~yi.:r;~.
                             ??':,v::-:.:t':.:~t~s ~t "~;rd.in[ t1) ·:-'..~J~;-:;.t"till~ tf·ru.tc.: .
                                                       1..:)..




       .........................-..., ..,      ,..       ~-,,........
                                                                                                   -
                                                                                  "-···"--·-·· .........._____ ,, _ .... _......._.....,,.--........... __ .......... -..-_....................... ,,.~-- ................, .......,.--············.......,,_




                                                                                                                                                                                                                           Ghanem-00072443

                                                                               Ghanem_Sentencing_00000665
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 26 of 81 Page ID #:6086




                                 'rbi::c 1:e<.]U·~st f'i:n Cf;lOtat.K).n (RJ;(l) t'-) prcndd.e the <.~k;~ver.r.: cnerrt vf t.~-Ci\'' i'1"1· (C~!C)I~)
                          with .FnHy auwmj,~fo~ ;~i~fol 1:~,L~x 19mm. {Bnmd .N 1;'N).
                      ~>·n ('H') l "..., ..,~ "'' ·r ' A .._ r•r1,·r"' '
             ~~ . 1 · t. .!~ J.6. t ..- <>.-. ... •{ ' / l).r:t.. l~~ ~..) ,,, X:




  ~   ... ,, .. ,,,,,,,,,, .. .... ..,.,.,.,............,..,.....,.,., ,.....,.,..._., ,,.- ..•••..·.·,,··----,·,.,......... ·"" ,_ _,,,,_._.,...,,,.,.,.'Y'N,fV   , .... ,,,.,.. ...,...,.. ..,,,.~. ..,,.,,..,._or.,.,._,...,.--- -.......-.... ;. ......... ..... . , ,..,.,.,.,,..._._,,,,.,...,,,.. .,......... ,, .. , .




                                                                                                                                                                                                                                                                              Ghanem-00072443
                                                                                                       Ghanem_Sentencing_00000666
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 27 of 81 Page ID #:6087




          RFQ Data:

          RFO No.:

          Washington      163   London             Paris          Berlin      171   Rome        142
          Pyongyang             Tokyo              Madrid   117   Pretoria          Prague      115
          Bucharest       112   Beijing      120   Seoul          New Delhi         Ankara
          Islam Abad            Moscow             Athens         Brasilia          Abu Dhabi
          Rabat                 Riyadh

          Issuance date:        13/09/2015
          Closing date:         31/10/2015




                                                                                                Ghanem-00072443
                                     Ghanem_Sentencing_00000667
                                                                                                                                                                                                                                       RF Q# 2 /MC/ EST/ 2015-2016
                                                                                                                                                                                                                                        Af~·£~:1! =.,~')'.:'.,,;~.:...1:t.:•,·~:h-.::..:•:~\.!.. ;:~~J;...._~l,~;,;,.r:tj,,_;..J:~;ffl;~.;j ;,~... :~,:~~..~(Y»u:,!,;.~;..ilt~..;;'.,.; L._-~ ~·.:..;.... S~:Zd:1::8!.J. .,c, :,&t;,.:,;,~.AKft.!....:,m1!.' iG,:/l t.~..\ ,t.',:, .:~;'.,',:,.,s •_:;~; f,.( •'                                                   :.. ' l   '::~~:   te   =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :~




                             00074296.pdf
                                              ':;~ , -                                                       .                         "             ·                               , ········                                                               '. ' . ,                                             ,                                                                                     ··· . ·.·
                                                                                                                                                                                                                                                                                                                                                                           <.                                                                                  i                    :,.                   ,                                       i                                           ;,
                                            ··' " ,                                           tNu!N[ S-N...;
                                                                                                                                 ······ , - 1s.                  .. .         ~-u1.001 ,.._              j 2.S '                           T-:5S.  l
                                                                                                           ·       v;q
                                                                                                             t;_:;:::: ·::: ::::::::::::::: ·.::::::: :::::::::::::::::::.~1~5::?:::?~~·· :••••••••••• ~ : .. J-0·:::.T~:. ·: : : : :::: ~~;; : : : :: ~::::·1::: : : '., : : :.]"::::::I~ . ··:::,r,:=~·:::: ··:: ~
                                            "'       :Jo                                         i,~"''""'          1"<,;;11,,.                                       *"'.;i,;          1                j .;;00                                                        ;.,..-v.,.•.;,.v.;,<~-                  r,                                                         i                                  i ~ ..... ..,                                    ,                  J.t,                    ;                ;;,.,                     '                                        ~
                                             r:::: ·~.1-::! : ::::: : : : :::: : : : : :: : . ,~f~~~~~Rr
                                             1~     4                                                 (OC~; U1STRISUT!NG1 HJH                        !                                                                                                                  155-05-·U SB·,A
                                                                                                                                                                                                                                     ,w.,r:€~"W••WM•W.,....~wr--··is·~·--r-W••iti·····t·····················~
                                            ! - ~ , ••••••'- '~ •'••'•'•-'•-                                                                                                                            J      0'• '•-'"'-'' o'o'.•' ••'-   '" • r' •' " ' •'•'• • - ' " "' " - - '"•_ ,_ _ _ _ _ _ _ _. . . ..•                                                                                • • "•"•••'• '• '•• ••'•"" ••••• ""• ••• •• •• • • '" ' •' •l-'••• •'•SS'N•' " • ••'• '• ••• • •' ••' ••••••• •"'•••••••,•--i' • • • =--W,•,• • ~
                                                                                                                                                                                                              :um !'
                                            ii       '          l                                        GEA!UJ!UVJ~G                                                                              !          ·oo '                        ,,.     '                ·g       ... .- - OS 2.S9
                                                                                                                                                                                                                                                                                '                                                                                                                                      w5                                      i                                                        <PS                       .,                                          i.
                                                                                                          '.';,A "~., '' .'• •;, " "-                                                             '"  m•~~w
                                                                                                                                                                                                      '"i"w·  ; .      f             ,   . ~·:   ,.$-.,,,,,             ,wJ,'.;:I;~ · ,,,, • . -, -
                                                                                                                                                                                                                                                            --!- •::~---:M- :;,~~-.~~' -{                            wv      ·                                  ~'<>'

                                                                                                  GAR* rtmS,,) N !..OMPllts::;nf(                                                                                                                                                                                                                    ,;;.~G .J__                                          , .55
                                            I, t~:1---·~1- ·---· . '' '.                                                                                                    lSS·lJ~·t9J(A                ,                                                   ;-~!!..-i--~::::.·t..,.+,... .___J
                                            r 1....         L                                                            m·m x !'O!MTE:R ,m-.•w~··~                                                                                                !                           5.4.-l}~-067 ,."                            • C'   ···"'···t···• V,     ~o • _j                   ¢   .,.,,.,.,,,-,,,.1 '"5E~--j_S~)~ 5(fi L--. ....... J
                                                     i          I                                 son tow H~ONT GtAK t::A!it                                                                                                                       l                        .54•{HH!S44                                                                :rs l                                        T-55                   l ii :, .s2a 1                      t
                                                                                      ··~--·-·- NU'r f./.RMff BAND                                                                                                                                                             Sd-10--010                                                            WO
                                                     ~                                                                                                                                                                                             ~
                                                                                                                                                                                                                                                                                                                                             Ii                            i                        Y~~E~---........,......T.......°i..01-·-t··--·ifr~ ·t--·- -~
                                            ,," ••. ; ; ~                                                                                • n,;;:~•••= •••••••••.,,,••••y••o,w~-- ~                  •,W                   i>' ~                  :       • r <.',        ,t,.-,.,.=7-;•-;,,•••••••!-•••••ys•AW'WM"'"-{
                                                                                                                                                                                                                                                                              ,u• ~4 ~;-~•, •••••••••••••••••••••t••••••~•{~;;;-••-,•y                                                                   0)'"

                                                     o I                                                                                 i.. ............K
                                                                                                                                               ~...... . ....~-·~·               '
                                                                                                                                                                                 ~      -<,.,ll,1 I                    t .,.,·',J                : i!,i;:..;                          ;s.;        l                       ~                                                                                                                                                                             I
                                            I.··············!·····"--                            ------                     ,•,                                      ------t----                  ~                   ·-··-----······-··········1··············.·········· ...............................................~
                                            (I I                  -=-.•-m••,.VefASHERTOQT~WD ....,... ······················{ ······- ·······~Sti--lG: 0 2~~1~..... .,......-. ..t,... JOO ..... : ..... ......,.....                                    1~~                                                                                                                                        J-.&r~uwww.:,                                                                                       i24·~. . . . L............ ..t
                                            ff J.Z__                          SHAJT AS~fM6.~!,..,_                          1                 lS5--13·lOSi                      ,l SO_J_____                                                    .L....                                                                                                                                            ~)=.~?.fi .................... .A?t.....L...J!~~ .....J. ......_                                                                                                                          !
                                                    1l                                                                                      11PE                                                                                                   (                    1:5S"3.8--395B~S                                                     i       100                                                      \ lSJ i J.DS,4 l                                                           i:
                                                                                                                                                                             -··                                                                                                                                                                                        1i ......... T-!%      - - - - - ---+- .......,···-··-······--•
                                                                                                                                             PW!                         !
                                                            + ··-·-·····-·. ·· ······-·· ·····---· •--' .··---· . ._........ -· ,i. ......._............... . , ··-"-- --+--
                                                    14:···u .
                                            .Jl ·........                                                                                    ....                                                                                                  ~
                                                                                                                                                                                                                                                                       lS.S·l
                                                                                                                                                                                                                                                                         ;, -
                                                                                                                                                                                                                                                                              84 'l.$~·SA         w r.;                                      }
                                                                                                                                                                                                                                                                                                                                                     100
                                                                                                                                                                                                                                                                                                                                                      . .,.
                                                                                                                                                                                                                                                                                                                                                                         :           T .55                    : l~l-2 i. 30S6' ,                                                        {
                                                                                                                                                                                                                                                                                                                                                                         r---:--:;-;:-w.......... . .,. ....~~r·········;-;;·.~::·-.v.v..(.,,. ...·,~:···············j ···········•"',•·-,
                                            115·~-·                 ,wo,.o•••»>nX<,,..., . ~ - - -~ . ..                                    P~}~~                .                       -,.-,.,._._...,,.,.,,...,,~,..,~··»'""'""''"'.+.~~.:~~:~~»~                                     .. . .. «                                                        «•>'»•>•<•<-•••.J:?.::?. ...,.,~~-.....,...,).,-..}~f:-J- ;,091 ,J~--.,-1
                                            '      .16                                                                                      f.'-!H'.                                                                                               I                     H.5-lfH;il S~·-1                                                         100                     T•;;,:$                                                  ~
                                                                                                                                                                                                                                                                                                                                      ,,.tf"....,.AOO»•»F'                                           : '.rn? I ::nm: f
                                                                                   m,                                    ""~-~f~E ~'·,··~·· ·u. . ..                                                                                               t                  ·iss-~~~2SS~2                                                          ~ :00~-r -~~:·~..                                                                   h   •• • •
                                                                                                                                                                                                                                                                                                                                                                                                                                          ..-.-l.,.. _~:'~. . .r. :~~~ . . j...v. ...... ·,.1
                                                                                                                                                                                                                                                                                                                                             i                                                                                                                                                           !
                                            m~-
                                            ~       ...a
                                                             -   --·
                                            f-·is.. ,.,.. . . . .. . . . . . . . . . .. .. . ... . . . .                      ?WE
                                                                                                                              ~.i~{····································,···-·---·2
                                                                                                                                                                                  /                                                                                     .iSS-~-a.- nss
                                                                                                                                                                                                                                                                           1S5-3E-nSB
                                                                                                                                                                                                                                                                                                                                               .WO \
                                                                                                                                                                                                                                                                                                                                        -hoo'1-··       i ~....,~
                                                                                                                                                                                                                                                                                                                                                                                                        T-5 ~--r~1.
                                                                                                                                                                                                                                                                                                                                                                                                                                                               j              ....~..,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ;~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1.i(J~ :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1107-t··~-·'"········jst
                                            [ . : ~ ~•• .. · : :•••••, • •••••••••••.•.w ••, .... . . . . ..... _ . ... ...... . .          ~!?.E. ...-....,.......                   ,.w.... ........ .,,.•




Ghanem_Sentencing_00000668
                                                            ~                                                                                                                                                    .,..:~:::~,:'..t"··=·········iss.:·i i.~1S:Si-tt"···················1·'···· i"oi;······ · · · _-· ··· · ·· · ·,~·:s~·· · · :::~~:=:~J::~~?!~i~::J~:iiXi:::~1::.:~:::::::::. .                                                                                                                                                                                        J
                                            1 21                                                                      VA.LVf Rf DtJ:t:ING                                                                                                          i                        l S5-·38-~B:S6                                                   !       500                                                 T ~$5                      ! 1~::i 1 11.15 :                                     (;
                                            ,1-,                                                                                                                                                                                                                                         --,.--,-r------                                                                    ·- = • • ' •·•••••• "''- • ••••••• ••• ••••••••••••••• • ••••• •••••••• •••,-•,• •.. ••• w\"•• ••••• w .•,••.•• '"•••••• j • • w •• ••••w•• • w -i,


                                                                           m~=,w•,wASwmu••w ••·~.,~E,~~~•mm,,• •• ••mm,m~m,,                                             i                                                                                                 tSS•lS-S$S&                                                       I 1(}0 .~.                        w ... ..•.............   .T~~?.......................1.,......~?.~...,.,.~...J~!.~.....i.,.,.,..,._.., ,,,~J
                                                                                                                                                                                                                                                   i                                                                                                                                                                                                                                      ~
                                            I11 iiZJ- ,                                                                                     n:rr.                                                                                                                        1.S.S<Ji-itss.sy1:                                                          1.00                                                r,.55                      . 1ss i snn l
                                            '*"""=-:,•·                               · · ·. -                                                                                                                                                                                                                                                                                                                              ""-""··--·"'"'•!•••••'-•••· . ......                                     •., • .,.._..,.,••
                                                '"I·«                                                                                                                                                                                                                                   ct~                                                           k<'<c~                                                     >:-:f;:                            "~      " ...., .!.
                                             ij         ,,=,•" = n = · - - = - , - - -<';:<•<':                                                   -~---·•··-··•··'""••= i•                                                                                                • : :::; ~
                                                                                                                                                                                                                                                                          .               g,_,.,,.,,            .                            l!                        !                                .r .                                                                   "< ·l~,·,
                                                   ~~                                                                                                                                                                                                                                   ~ ,T.J>"'t:s, t
                                                                                                                                                                                                                                                                          JS..,.;.,..r...      .::.a:~                                                1,1#<,..•                                          ·                                          ,i.,,.;·J                                                        ·A,~ ..... , ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ..
                                            ::~                                                                                             r~K~                                                                                                                                                                                             l                                                                  <(",hr                       t                       !,. •••••·•••••••••••••••••l,_.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ~Z l~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,,1...
                                                                                                                                                                                                                                                                4
                                            ~      25                                                                                       Fl~£                                                                                                       ---          ·",··~fi'.s°J'i-iofiss=,,,,,,...... .., . r·· ·ioo··,·,,t-·----,T-5S                                                                                              ---r:fij-·j-"·'iiit··!'° ...........······t

                              G)                                                                        =·· 1                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                                                                           ·                            ..• v
                               :::r
                               n>
                               ::::,
                                            ~
                                            :·
                                            r·~ I  -:,;.,
                                                   ww
                                            ~1H=:~:===~;~=~:,=~,~-
                                                     .
                                                                   ~~:z-f-i~--- ,=~-;:;r::~'-ti~El~.
                                                                                                   J H=                                     !}f'M';
                                                                                                                                            '{' .)T'"<,
                                                                                                                                            fB"-f
                                                                                                                                                                                                                                                   t                     "' ~-':/
                                                                                                                                                                                                                                                                      1 :,,.,"S.'3 .,..Nl« .'1 !l"""
                                                                                                                                                                                                                                                                                        ;;rw   w~~CJ "'-~
                                                                                                                                                                                                                                                                                                        1'·\.
                                                                                                                                                                                                                                                                       1?.:;5-18<i11SB·A-··"-·;"'~~-rni··,"·1·,··~···-, ' "~5-
                                                                                                                                                                                                                                                                                                                                                     ""l>
                                                                                                                                                                                                                                                                                                                                                     -.,\,1,S ...,..                                      i:     "lt({.
                                                                                                                                                                                                                                                                                                                                                                                                                -vv                                            i~             1l'··•
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .: . . .~:.>
                                                                                                                                                                                                                                                                                                                                                                                                                                              "·-r--;:)~ ·-1--;-~·:;~i······:·······"··,··"•••w,~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -.\          ·;,,·;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     v,wt::.,:_,:J<-.            :··
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 :                                         :~£.;

                               (I)          ~      • • ••       9       .••••••• • •••••• •• •• • • • ••••••• • • ••••••• - • " • • • •• • ••• • 0
                                                                           1•--                                                                      ••• • ••••• • - ••• ••• .• .• .-,,.,.   .   ' •••• , •••••••• • • ••• • • • -      •• • • •       •••••••••-••y•~:::~~ . .; ~ .--.'Y' • V              :          •.o , ••u•.-•;v,, •            Jo.                  ~-~.;,-;;..                    (        -   ,'                 ............ .....   ~    . . . . .. : ~ : :."".(. . . . . . . : - • •• ••,• •~ - - ~,":•: : :, . . . ,~'::••• ,,,M,._,._.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .,.,..,,.,,,,,vJ,
                               3I           i ~{'}              I                                     ~H~t           J.f;l.'/S~O(K {\B.SOfiSER                                                                                                     !                   1ss.:1s.112ss-1                                                               100                   l                             l..S-5                                            1                  :l.SI)   1 H::i.4                                                  i                                         i
                                            ~ l $ ~,x.;o~» ·~                                          ·,o·e··:;a :l· xx fo··, ·,·;,,-:, ·,e·· ~~ ~ ~ ~ : » i . . ~~:'*.:sse.c:~.:::~~                                                                       » i,;~"~ : ~ ~ ~~ @ . ; ? ' ~'»-~                                                                                                                                                                                   ·=«~ : e : ,:.:.~                                                   ~~'*::::~~
                               0
                               0                                                                                                                                                                                                                                                           1 of 11
                               0
                               ---.J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 28 of 81 Page ID #:6088




                               I\)
                               ~
                               ~
                               w
                                                                                                                                                                                         RF Q # 2 /MC/ EST/ 2015-2016
                                                                                                                                                                                                                                                                 . ~· ..   ~   • .~   - ~~    ~······



                                                                                                                                 VALVE                                                    j                                              15S-S8--0S1                                                                  t             HiO                   t                  ···1\55······ ..                                                 l          ]{'f~-               !            3 Ufr ,                                              i
                                           ~t=nr
                                             ·----------=P-lf''f. . ··.-nu••·······~·-~:····..,                                                                                           ;                                        1SSNS&-12'asa···:·····--r=1u~T:· ·. · · · ·.·Y~s't; ..-==-ti~;;· ····1··--··11 L;·····:.·.·.--·· ·...·..._..)
                                           •x3                                                                                     '$ff<"'                                                ;                                   "'~~ '="~ t..,_,.l.::t'.i :>,                                                            ;                                  I                      ' S"       ~.t'                                               .         ,~.:                 J            ·>< .,,...                                          '
                                      ..,,,,.;.~                                        wwww•w.v •••••••••.u.a.•• •,.;:,. ......        :;,,v                                        ~h»""'"")"I'                             .,:...:;:-:,,,.,~,-"w~A-."'~-""A
                                                                                                                                                                                                                                                           t····.:~!,.O... ...                  ~ .,~:--J..._,. ~,;..;::,;';,.._.~,.,....,..            ., i ......." - - - ~ ~......... .. . ...... ;,, ...                                                                                                              ..,._,__...,... ,.,_J

                                           ~tr= -· ·--------,. ,. . .                                                            SE.Tttlt____                                       --~-.1,A,w"·· -··"'" 155·3~·13-1.5~-----..v,w• ~m ........                                                                                                            L ... -·--·T..S5  _                                        _,. ....,....:[ ..., _115•~ ... ~,_.2·1:~~·:. -~~ .... -,,. ......
                                           ::i;                                                                                    P!PE                                                                                            iss.NJ&-U45i .. ...                                                                              ·mo                   i                                                                                              Hi~                  ,            :;5.J.::>,;;.        i
                                                                                                                                                                            I                                                .l                                                                                                                                       -r -tt                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                !~
                                      -ii              I              ---···-....,-·,m• . ... . w;·;;T,~                                                               -----.. ., ................... i;·i:~ii~l7S"' ·--------i                                                                                                      ., nn                ~      ••ww-···--··:r::·5~:W-N-1AA~;;:-"'1-'·~1 .;-;;~--···tw······ ............fil
                                      - - - ~ -·" ' " -                                                                            > > '                     , _...,.. ..........        + ;:,;.,                                                                                     ,;::t   •w••······         .•.• ' . .,, . .    "'·N ; L . . ,_ _                              ' .,.'-' ...................,, ' ...~ ,,.                                        S ..~                      , -, .,,        '.,.,.-=.w,u,w~
                                     i '37 ,
                                     i»-~                           .........................
                                                                                                                   ?!?E
                                                                                                             --·-------~--·---,,_.,,.,,,....... ,                                                 ----
                                                                                                                                                                                                                                    lSS---3.~HiSZ.,A                                                                   i;            lC'i.1 )
                                                                                                                                                                                                                                                                                                                                 ...,.......,.......·'1·····--·····--- ..,
                                                                                                                                                                                                                                                                                                                                                                                 Tv5~-                                               w
                                                                                                                                                                                                                                                                                                                                                                                                                                               :i,.,,.,..
                                                                                                                                                                                                                                                                                                                                                                                                                                                     194...... ..,:.i..... , ...3141
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ...., .......1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ,,.....~. ....,.. , , :i~
                                     ~ ·1 i ·                                                                      Pt~£                           ·                                                                                   ·i~s 38 :Ps                                                                      =             ·1   ot '                                    ·-'!      sz::                                                ' , ;, t,. , ;H ,,,, ,                                              -.i
                                     i•                ~
                                                ,,............,. , _,_ _____;:,-,:,___.._..,..,. .............., '.                                                                                                                       w,           -      ~- "' ,.,.,.,, .....'-•••~'-4,-.                                       .$.,                  '.            ,_.......~,~·••••"".:' •• •.. -                 ••    M-+-·.;,(;.,                                 -~,___:.:;.~.'.;;:._;_NN•U'·~••r•••-~
                                     L~~····i-- GAHGE,?R.§.:~~Y~.s·I!.P..~. ~rr-u. i.so ~gf/ma ...L.......... . . .!?.~·31l--169A                                                                                                                                                                                       j J..P.Q... J....                         . . . . ,___]_A&.~;                                 __._,_._ ...~~~~-.J _:\!::i:~~ ....                             ..                        L.._.........J
                                     f     40 I                                                    ;JNil, ilfAlHHSf)VCTION                                                                !                                               $4-4-~Si-4-A                                                                 ;               SQ                  :                     T -$.:;,                                 l 1!.lG ' Jfi-0 !                                                                                                      ~

                                     er-r=_=--·;;;::J~IJSTI""
                                     1 43         L
                                                                                      ----=·1···· ···-..-~:_-==.t3~=F=r:~r=-==r~~~:-r-~~~T--·-=-1
                                                                                                                            C'!t!Narn                                                                                          1.$S-ss-rnasi:Hi                                                                         i          :wno 1                                          ·1· ..5.f.,                                                  :        i i. /                ,           ,Fo,;;               ;                                {



                                     F~ f:=~=--t.~wr~=-~-~::=:-=1:1~:-.. ...,;~~ -JJiRc--:±~tt!~:J
                                            41 !                                         GUN-. GHEASE.( PUJNGfft TYPE
                                     ,,_,,... ,......,J.,.,,_..._,_.._, ..,,...._._,....,m,,., , ...,,.,...•••.••."•.•• w•.•-' •....• ·••'-•'"••"                                   _,    !            -                             1!j'$•2.a.:610S6                                                              i
                                                                                                                                                                                                                                                                                                                  ~.,,,_..,_,
                                                                                                                                                                                                                                                                                                                       100 ... .,~i.....-...-                                                                                     ! 1M~l i               l
                                                                                                                                                                                                                                                                                                                                                                                                                       - - - · -----WN,m<•-ww, ...-,.,,,~J
                                                                                                                                                                                                                                                                                                                                                                                  Tv6~'__,..,.,.,,,.,,,......-.,\.. - ,12'~

                                            -: !        j si~\1·:..                  oH PlPti"-·~                           ·-+,... t~; l-·-,{~;l}--···-·---··-·!-.. .                                                                                                                                                                                                                                                                                   +H·····--[-···{!!:6······J-··········· ···-··1
                                                                                                                                                                                                                                                                                                                           ~          um""T•"············-.r--li2 __._...,,...,..                                                                                                                                                                 i_
                                                  T.
                                                     ro~W'.xl~lf~J:~~~:1,NG
                                                           ~E~~Hs_.,,:··i_,_:·socKFr     ==r              s~i.'ii~S955~-Ji;
                                                                                                    ·. .. s::!;:!!!:;A                                          r···--:;_xi·r·~i,~.1 ;"-"·"'"-




Ghanem_Sentencing_00000669
                                            Si :                     ,,,.....,,,,.,.,.,...,GRfASEGU~CRfV\ ~TYfP!                                        1                                      !                                         54-Z$·151S~                                                     ---r--tii""'·"'!"''""'--.--·:r .;2 "'"""'"'"'·"'·"'--·r "-'ii1 f11iii"T'"_.,..,........
                                     I·1',·-""sif'
                                           A                                             ==r·»M-·'····'
                                     E,2 ' . ····· ·                                                           ~'OS!', Ass.,,~~..!:Y...... .............~-     ~                          !_ . . . . . .. .. . . . . . . . , . . . . .
                                                                                                                                                                                          -                                              ;4,..zs.1sisa_...~,,,.....,.....                                                                 T~§-3-.. . :~::t··i.itJ~-                                          -«--,..-..                                                                    .1.~?-   f,~;·--:1.·.~'.. . .         ~:::.J
                                                                               L{}{'.:}P, U,).NNECrlN:u TOl.'\tlNG RO-f•i::$                                                              1                                        l·4•Z-S-.l0$·$.ij·l                                                                                100                   l     I                                                                             1         l.:d:                             1£ln                 :
                                                                                                                                                                                                                                                                                                                    J.!~:~~~{C]=.: :=:~=. 'f·,\$1
                                                     -                   ·                                          WR[N(.H'i.s~"i"·"'""___                                               j                    s,i-2i..1Gsa                                                                        -·--········-r····"i,ii'"'-j---w-·--···r=ii{···· ··.,·m·····t-·zi?: -1                                                                                                                   lt11S (··•-w,,,.                             ,,_i:i
                                     ~ 5~ r                        .................,.._,,                                  ~ETA~N~n                                                      ~       ·-=··-- ····1iis,1e1-··--se--~...a-9-.----1                                                                           l· iol """ . .... iir~·i;.·---·----r=·~ :··:; i- ~-1~.. 1
                                     i•••• ••:•••••..,..~---.,_........,...,,,n.v.-...~v.•>»••.•~.-......_..,._..,.., ....,..._,,,,,.1,·,,i. ~~                                           ~                                              -.-,.-.,..,,.,..,,.._,,, ,_. ........:,,_....,:, .,,,»:wx,,., .,:..,<Cok;«<f».""   .,..,,,,....,,.....,..._.......,.,                ............,.,,..,...... ,.•••.• ....,. •• ,, •• ,,., , ,,:.•,)'•!~   ~   ..,o:-,·~                                                            ,,w,,,..-.~-..,..,.,~~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ·•.,..•:..··i - - · •'•...""'''·,-.,._.,.~,........,.._
                                     ~      s6          1                                                                        GAS«f.-r                                                 ;                                          76~.,10-s.ae~z                                                                                       so                i                      s\11c:                                                        ,             1                  ,              ,,              i             ;;. ·.,            t

                             G)
                                     I " ;: : _-_                                                                           cm..~~5                         =:=:~--                       i                                         ,.;.1.~ _
                                                                                                                                                                                                                                          1-,0:._:t"_                 ~.,~ =::t=~~cJ:=;:::t:tJ
                             :::r         -L----·...                                w    . . . . . . , "......" " • •-      ••
                                                                                                                           f~~£ANER                 .                                     t-,-.. .. . . ..!.~!.~?:~?.~~~~.................... . . . . .~H......,~-..-          ,1.. ._.g. . . . .l. . -~~} . ... ..j.........:::~:> ·_...~                                         6 M~· ......... ,....
                             n>         $$ I
                                     1i_~a                                                                                  ~~HMNf.R                                                          r                                      t'ISS·OS-saz.ii         i         ~o 1                            £Ht.I.,         1                                               »~ I                                                                      r            ,.t~             ;                 ,,              i
                             ::::,
                             (I)     ~
                                     =$i: I ::·- -                                                                         - ,Gl\S!eET               n•· ·   ········· ··············--···-·-r                                         1S$-OG-·4Sa ·--·-···-r_ . . ..._i,jii''""''T·,--4'-'••· .v......~BMP                                                             i--;                                                                    1 .--~~ _ r=-?l.v.•                                                           _2
                             3I      L·.. .:. ;:.... , ..                                'W))tt:                         )c1·            1111 1   to'z?l'~~~).'>~l$?.~~..,;,;.~~~,:.:.»~ ~-o~.: .:.o.Q
                                                                                                                                                                                                     .), :tt1c.                                                                                   . . c11cx::              1::;cg,ic,:c ··                ~~~~~~-~~~~~:~~
                             0                                                                                                                                                                                                                                 2 ofll
                             0
                             0
                             ---.J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 29 of 81 Page ID #:6089




                             I\)
                             ~
                             ~
                             w
                                                                                                                                                                                                                                          RF~                                .2 / .MC/.EST / 2015-2016
                                                          1
                                      i:Sl2~                ~ -·s;;~~P£~i.~&\ll~2-%
                                                                                  ~ ·~
                                                                                     :
                                     ; 51                                  2xm .     !                                              tC.H}Pl/N$                                                                                                       :                                     i .i :m-14.2-1                                                                      !                                      j                                                       'BMP                                         1             it                              '.?.                      j                       ~1
                                     1·····;~1··
                                              N.,,--~~~'i iv. ~f fll:rn ,!iE:!o~:·co~ifi. -Ml··                                                                                                                                                               0         -' · -·            KV;SSM-3~5 ..,..........··
                                                                                                                                                                                                                                                                                        ··r:·· ~·~~· · ··t"--,---·~-~f1·t··· · .,-~~~r·--~·7····~-·,···· -·.~~l-~~,··~·~,
                                     ;, f2j                         ~i~t1,~f,..,iJf,;1tj     j                                                                                                                                                                                             s. . .1.01,s.:-.,          r                                                                         :!,~.;v.              ,.                                                          8M1,,                                    ;             1. t,            :             i ~)                        ,                       ., ,!                      t
                                     I····~      ._._........ . ...                        .v.«-                                       _ _..~................ ........ ,,_.,:.;,.... - . . .                                                                       ,v,y . . .. . . . . ..,,. . .. ..............- . -
                                                                                                                                                                                                                                                                                                         f      - ·........... ~.--~.., . ,. - ......... ..... ..,. . . , . - ~ . . . . . . ... .. . ..,. ,
                                                                                                                                                                                                                                                                                                                                                                                          ~·-,-- -···~                                                                                                                                                   ~
                                             ..... :}      :;                                                                            <:"'       ~ ~~~                                                                                                                                  ,    C                               ,.                                                                ~                                                                               ~ .¥, ,                                                ": :-,,,         :             ·: :'·                      :                      ./:-- ,,
                                     L~                                                                                               . ~:'.~~~!!.~.~--                                                         .,,............................. .......,.              ~·········-    7:6,~-o&-sE3!1fi
                                                                                                                                                                                                                                                                                   -----1-.    ..::~~--J~ ... ~                      l.. ... ..:::.::. . . . . . . ,..\_....::.::.........~.. ...... ~                                                                            o!\,r-                   ,._,,....                                      1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :_13.....
                                     I Gs .i;.... ···- - - - , - ······,···· .                                                                  mNG                                                                                  1                      t:r.5'-n-ai                        ·
                                                                                                                                                                                                                                                                                               .smJ    i,                                                                       i                     f                                                                           8J.,.1f·>                                ;             :~/                            :, :,,                      ,                       ) ·( ,
                                                 .......J..-..-=..._ ...,_.,_,.                                                                                 • ••••·~ · w••··~··• ••••••••••••••'•·•-                              i                 -~•·•..•"~                                                                                            _,..,.,..1 .....,.-.-.-~ - - - - ~···•••••• '-"~_.,...,,.....,,,.y -. ..,.. ....,._(                                                                                                                • •••••••••• ••••• •••s •••' ••••-"-•••••••t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                     ct      :SS !                                                                                         STrti>Ji                                                                                   '                    f'f.SvWA-5-S                   ! Jt~J ,                SMf·                ;                             l ·~,                             t                          .1~:.                                                                                                                                                                                     .{,'~


                                                  ...,.-.--,-·-                                                   - ·N--~·,··········· ... .... ...............,.-                                                                   1 ? ??·~4SS ·                                  .....! .Jon]._ ,.~,,,~--#MP _ __,_ :,~..,.·:% .......i. .,_                                                                                                                                                                                                                                                                             '.,i:·; ...
                                                                                                                                        uM1T.rn                                                                                       ,                                                   I    1&s-m41s  1        :BlV,P              : ,:;./ ;                                                1.i:Ji)                                                                                                                                                                  ·:i ::-                     ;
                                                 H1                                                                                                                                                                                                                                                                                                                       . ·J::,_ \,.,. 5:· _ji
                                     L3..t. ~~·
                                     ~                    ·t:                  ·:::··················--·--·...., ..........                     E~~;~·· .._., ...... :~~--~:~:......····-                                                            I ,_, . . . . ... ..~~~-~·]                                                                                        . .T.·.·.··3~!2!~- ~-- .:::==J~iiE.·.·.·.·.-.··.:·.··.·.·.=1., tC:I~.·.·.Ti.J.·.·.·.:.1·.-·_-·);li_"_"_".]
                                     r·, 'tt·                  ?tll,l'( Wffr,l {J'{AM{                           1                  765NU-SB.UO             ; :!.,Otl i               8MP              :. ·t vs'::, : .(( :,• :        .l        :l
                                     Ht·r·,·v····· ....          ·~iii>Ji.iie~nf~      --·--··· .,.,_ 1__ .,.................1'iis.~ii~1                   --1·······xa·····T-~MP            =w=w·.,=t-··:i·;-j-(-sc...,...•r."·- ·tm=•·1
                                     r--n1-~········ ··-·· TRAK w,iirV:iirMRVB!it:R PAO,,..,...,...,..,,....,..···1·············- 76~E1~,,.SB102~P····'···' ! :3&J r ····µ············a:r~·;;···-·- --1- ii:i······1·······i~;·· -T·"-H;······---:'
                                     J_,..,, ........,...---.-~...,,                                    h   M"Y                                               • . , •• . , , ..   . .... .. .. . . . . . .. .... . . .. . . .. . . . .. .. . . . . ~ · · · · · · · · · · ·   •••• •••••••••••••• •••• •          .w.·. - - - ~ •·w•·<·.,···· ·· •-'· --···· r·-··---··==·------····..· --·:···>·····--··- "· !---·· ._..,,.... ,. .. . ...,w                                                                                                                                                                                        w . •••            I
                                     ~ 13 I                                                                                     P'lATfJtlGHt                                                                                                         1                                  16~-~n-.sa:rns                                   l 4{) i                          SMJ'.J                                        l.      tz , ;; 1
                                     }v •••• • v ~ m -w .->.-s•                                                                       •              ,~      ••o,• • '•'YW •W•w                                                                      :                       ,_.,,,".• •••••••                                 ·--···••••!·"'- · · · - - t - - - -·- " " ' •w•.•••••••.•.•••••••.w,»•·•= ~···-
                                                                                                                                                                                                                                                                                                                                                                                                          : ·•).i.:)
                                                                                                                                                                                                                                                                                                                                                                                                               w·- -··= \•"•••••m.•••••.••m•••>•••,••••••••••••••• ••••.,i
                                     ~ "J'4 l                                                                              ~LATE)iE:Mt)ett                                                                                                           i                                   ms.1n~sa2.ti                                                                            !                 <\O                 !                                                          !M\<tP                                    ;            U')                  :          r.;;;>.                       j                        ,i                       i
                                                           ""~'~L                                                                                                                                                                                    ·. .._...!~~1-SB134                                                                                  ---+~...Ml!1;..___LLJ.L.t. . E.. j .._L .. l
                                                            ~-··r·· ......                                                                                                                       ·- · ··~f~·~·· · ·••y••·· · · +·W:.~r···+····· · !J·······-l-····}~\·--1
                                     I~: ~~~:~~ ·-- lEHFR~~:i(:~i~~t:·~\fefHEH                                                                                                                                                                                                                                                                                         ·--+····~--;
                                                                                                                                                                                              ~                                                                         1                                                                                                                                     n .....          ... . . . . . . ... -               ....... .              .....   .... .......... ., , •••• •••,.-- .............-            .- - - - - - -.... ....... ., • .••-- ~ . -.. ... .
                                                                , _ _ ,,...,,,.. ...........
                                                                i
                                                                                             .          ,,.,.,.......-.-...,. -.-, II
                                                                              RtG.li1 fnONTTRJWfRSfNG~Nhtli.!.
                                                                                                                                                                 ~- ·--·-
                                                                                                                                                     :-6$w3-l·S$1Z.:t           !
                                                                                                                                                                                  -
                                                                                                                                                                                         JD                SMP                  l  P;ii     i      8}        l ;.-:;;;, )
                                                                                                                                                                                                                                                                                        j:~: ~: :~:                                                                                                             +         1

                                     ~
                                     ~ 7S                       1··,···· - ··    COMPlf1tC~aih~~G tt.OlLER                     - - i --··············1~$-S.4N5S101       ·······t··. · · io-· ' ,._ .....,,~8~~,f;·····"····---1-t'i:;{-····r··-'-~~~i-tw,~-2;;·-~




Ghanem_Sentencing_00000670
                                                                                                                                                                                                                               _j      '. ~31'··~$S                              ....                          ...~Mf: _ ..,.                                                     :1__·~..
                                                                                                                                                                                                                                                                                                                                                                            -f . .J:.? . J..                                                                                                                   -~wi ~::~ ~ ... .~:~- ~-'.- , l
                                                                                                                                                                                                                                 ;                                                       i ?:>t, !                 aMr
                                     i". .,g.,~~1-.. ... · -·,?~~:~,... ,----·-
                                     !l-=•···11···•._.,_                                       _._..,........_.......AAN·i.1~i:
                                                                                                                     ...                        u                                              .,.. , . , •• .. . ., . ......., . . •.. ..•
                                                                                                                                                                                                                                1. . . 1~s-41-sa1,04 ........,........1--,-                      ~.._,,,•w•••»••••••••• •·~·- •-
                                                                                                                                                                                                                                                                                                                                                : u ,i,, ; ,,.,,.i 1 .,. i
                                                                                                                                                                                                                                                                                                                                               · : - -··-··~ · , -- -- ·.. :····--·········,.···(
                                      ~ gz                                                                               t!.NK                                                                                                   i        15S··nHS7~                                                                                                                              J:j           lJ
                                                                                                                                                                                                                                                m, , . .,, ....... ... ... -.. · ... , .
                                     . •• • • • • ••• · · ··· ·•-                                             ~                                                        ,... ....... . .. _.,,. ,. ,. . ;                                                                                ! ?&C 1 ._.,,,.,,,. •.•......:ill-~W
                                                                                                                                                                                                                                                                                                                       , ..., ..- . . . , . , ~ .m_.,,,..,. ....... ,.,,• -
                                                                                                                                                                                                                                                                                                                                                i ' "~' ! lt/} 1.~w,wn.w
                                      ~ il                                    PR£S5ER S.t NOmG UNITUPTu15-1'4J/f.'rn~
                                                                                                                  .
                                                                           ,.....,.,,..., w ., - ~ - - . , . , , . . . _ . , . . ,...,, ...o.v..· . . · .
                                                                                                                                                                                                                                                         .,                             .700..1f;•S81.S'.1
                                                                                                                                                                                                                                                                             ._. __ .,,.,,,, ....,......_,,_.,,..,.,.,.,...,,,,,_.,,.._..
                                                                                                                                                                                                                                                                                                                                                                                    ;f            lOC                     J                                                         BMf'
                                                                                                                                                                                                                                                                                                                                                                                            "N'/'.,...,.,.....,...,., .. ~ v,.,......_.,,,._..,__ _ _,,.,._ ..........., . ..,. ... ,; , ,,,,, ..........
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               :         (.~,.:.~   -.v;---~--~-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       l L'il.i i . . .,._. . .l,..,. .,.~· ··::[:.,
                                      r
                                     M=       E4                i               JNOK:A.TOR~ -?RESStl.Rf. GAUGE n-1:5                                                                                                                                  1                                  100·?{HH.n.ij1             I tm:;                                                                                                !                                                         SMP                                        :         a;\ 1 1 ·.i.1 l              lf      0
                                     1-·$$ !                         .StNO! N(3·uNn.aEClRiC. SPt.~OOMtrEi~M3v3{1'1·'·1 w • ..-                                                                                                                                                           70G.,7n•S64i7 , ..., ..,.A
                                                                                                                                                                                                                                                                                                                  ~r·.wu                                                                                           , ~ ,..,,,.,.,, .., , .'S Mf_.. A,...--·- ~                                                                           lt-•'.l :·,•.•··n~;'··~ r····~ i'··-~

                                                                                                                       A
                                                                                                                       W,_j --.
                                                                                 ~ T.?f~;:,.,..,.., . .,.........,. .,AW                                                                                                                                                                 'lM-7~-SB~_P.!...,.w                                                          •....      r               '.W[i
                                                                                                                           f                                                                                                                                                                                                                                                        j                                                                                                                                                                                                                                         13
                                      t~?.J"" ~ . . . . . . . . . . . . . ..Jt!E:REGVrn
                                      ~ ~1 j                                                                                                                                                                                                                                                                                                                                                         BiJ                                                                           8MP
                                                                                                                                                                                                                                                                                                                                                                                                                   ._!-c... . . . }~t~E~----·_L.?:~:·?: ....!.... ..:~Uv.::?:. _l1.......-~?.... J                             !         ?..tA.               i                                                                                            l
                                      :~y•• • ••••••• - .";••• ••• • ••............-....,_.....,,,o,y,o......,.,, ._,,,_.;,oo,o•• • ••••••••• ••                                                            ••.;.o...,.H."V'A'.' '"°•''"' ' ' '?'(•',l,',,._ .V.                                                                            ..                                      0                                ~ . . . , . . . . ...........................,. . , ., • •   ,~, • w •~ ,•• •• • •                        ,; '• ·   •••   •••• •••••0o•:•••••• •••••• • ••••.,•••• •~•••"'"""'''" '''''""'<_'
                                                                                                                                                                                                                                                                                         7,;)0.76,.,S,a.s.oa .,,.,,.,.,..«,-_.,,,., .
                             G)
                             :::r        aa. \ lNDl,CATO>R.iLECTtt:!C S:PEWOM\Trn,TY.Pl:: cn--ioi i           10(F16-·SB4i6                                                                                                                                                                                                                                                         ?             'i(1{l                   l                                                       GMP                                         !
                                                                                                                                     ~ - o , • • • ••' ••"                                                                                                                                                                                                                                                                                                                                                     ••, ••••,••••} ••••••••••••••••=·•·••'•;N. ·-
                                      tt--<'--•···-  ·•                                      ~ - m ~ ,.• .-..~..-..·.                                                                                                                                                                                                                                                    ,.-+••••••••••••••••••••t·•·--                                                                                                                               L1) : l.Vi·· - -• <W   : -•••w
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               :N ·--·<·1
                             n>
                             ::::,    t 13$ !                                                       C0ffT.~fO:H<M·5-CiA-t:i                                                                                                                           !                                  7~Q-7&·SB38.:l'.                                                                           l             :100                                                                              8Mf'-                                   ( } f:} : :!..:.15 :               U       [
                             (I)      ~~ · •• •• • •• •...,.V • ~ W • • • •· •••,..,.._ . ,.•.,....                                                   ,•v•AN••-:. · "'                                                                                                                         .o;,.,.,v •v•,;-•• .. ..- .. .... .,w,',      , . . . . ............_                    - -. -.-,. · ·~ . - · .- · · ..;. . ... . ... . . . . . . . . . . . - • ••.•.•••~ . - - . -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  · - . , -- ,- - . , . . . . , . . . . . . . . . . . : . . . . . . . . . . . . . -               . . . ........ . . . : . . . ... . .r.   ...-• .••., . . . . .. . · • .•,"(


                             3I       ll 90                  t                                    GENrnAron;rACHOMfTER A·4                                                                                                                            '1                                 l~O~'l"f;..SfHfff                                                                                        l<}D                                                                        BMP                                           1         ~fd. 1 ).19 :            1J     f
                                      § u 1~1              :1lti's:r %\W!lt*.r                                                   eUl M J/!!111:it,' '· . . .. .. .' . J                                    ,e:rn                     · ·e : e , ~ ~                                                                     .'   . . ....                                                                                                                      ·. ·              ~ ~ ~ M ~ k ( b ) , , . ' ( , W , ~.,.~ ~~
                             0
                             0                                                                                                                                                                                                                                                                                   3 of 11
                             0
                             ---.J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 30 of 81 Page ID #:6090




                             I\)
                             ~
                             ~
                             w
                                                                                                                                                                                               R F Q # 2 / MC / EST/ 2015-2016


                                               !l'l . •          , . _... •••
                                                                                                                 GASKH        •• • • •• ·._                                 ••n
                                                                                                                                                                                                         t
                                                                                                                                                                                                         •
                                                                                                                                                                                                                                 765-8,4.~0
                                                                                                                                                                                                                 •-u•-• • •-•uo · - ·                               OOHOo
                                                                                                                                                                                                                                                                                      300           l
                                                                                                                                                                                                                                                                                               ..... ~ . - .
                                                                                                                                                                                                                                                                                                                                3MP
                                                                                                                                                                                                                                                                                                                                ... ... - ... ....--
                                                                                                                                                                                                                                                                                                                                                                     1      2J3            l         121              I
                                                                                                                                                                                                                                                                                                                                                       . ----·~HOOO"H•••• ••-·••• - ! - · - - y •••••'O'••••••• ""••OO• ooo
                                                                                                                                                                                                                                                                                                                                                                                                                                   l,:      ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                 !
                                               9.!    l                               M'.GU!.ATOR VOLTAGE })H#1Q                                                                                         l                 700-'l6-Sfl.56D                                    I       100           [                            BMP                                 ;      l~~            t ns l                                   J             1
                                               'si-r-"· ·,oN'fACTOR>sooD'siu ¥M#600.· ~~....~~-                                                                                                          ;           ·~'"' io0:76-SB65~                                 ·-h~5E""-f                                 ~·-·""e·~1i5·-----"'"'T'"""2·~;-r-"1i~.·'""!"""'~' ;;                                                                   -·1
                                        _--~----..·-- warncH, N~irs.oi:- rnAci wEoG"i.s                                                                                                                  !"............... JS$-tB-sen1                           ....         i dHl ...... ,                            -s'i.:ir---·              --·-r·. . . z92 ·-r---i.-i,:-··. t-----~~·- ··1
                                                .......~ . _........ .........-..         •..... -        .............. ~.......                                                                                                   . ....................."                ~..................... .           ,..,.............. '  ..    .............:..···-·----~----···- -··_~· ···---~·-··-"Jo . . ,,•.-,.,.. . ;:
                                               9.S __ ..i 'llflENC~ AC~·~.~-~AKHE$ ANO l~~~~~}?f ~~~~.?.~.~....-,                                                                                                          7t!.i-~l:~~14l                                    ,i..".,;oo )                      _.............. ~!!'.~!:._____ . ,. ...j......JE. ~_._::..:.~.t~. .). ,.. .J?.......J
                                               % i              WRE!"i.(H, 1(}ti~1101RAC!{ ADJUSTlNG f<,1EC~l            !                                                                                                       76S·93-2a$                                   1 mo i                                             8Mf>                                l      1%:            !         H<l              :           .!4             i

                                                                                                    1
                                               sz                                                   NRf.r,KH, .H~32                                                                                      l                       ~·es-..s.3· 1s,3                            t W{J                  I                           8MP                                  ;      29;" i 1~c                                1           Jt,             !~
                                                ~           mn:MtGiit~·.--PlU.N(;f,ft-i''/f£·Cif"ccms1s-rrnrG~i-is~ 1                                                                                                      148-11-S~tM                            ..........-liOil                      ............,., SMP ._.............--r                              19;. ·-:-..          · ··132·--·r·-·--4-·"·---~
                                               - ·               ,., .......... -.-· " " - " " "'-'""'""''                                                              ----·                            •        ......                                   ••••••-••        •!                .......l..........- - - w · · " " ' " ' " "                            ;         . .      "•)---·-· - ·- -.. , ; - - -•-··-· - ~

                                              1ot1.J....-                            ., ......... ll.l~ft!CAT~~' .........
                                                                                                                 i____. __.......100.n-s.a2s6 ·--· L. rnu..J                          . 8,MP.___...~.......;is;±-J_..:J:~. ,.... L-.. . 'i.......J
                                                101 i fi!!ENSION, n:NNEt fOR ;:;;.oN<. .::-~O,llNGtA!\ SOX l                           1&5~9J-SB'l15        i lfJ0 1                    SMF                                        131 )
                                              - -. ~-···· . . _. . .- .                                                                ...                +.            ........... ----·--..
                                                                                                                                                                                   .. I · · ·.·· ...........-+-- !.•E
                                                                                                                                                                                                                 _ .......,l.................- ............: :::- - --!·
                                                                                                                                                                                                                                                                 ......
                                              ..~.g~-L-.............
                                                    1
                                                                     ... WtrtE,.Jl.2.f~~..r.~wtNG .. . . ............ .................!.~~~~-sa1ss _ ..... t. . . wo__L~---·""'. . .~~~f:__.~~·~,..~........~.~.~-- ~ ~~-1. . . . . .~. . . . }
                                               101                                                             "'RZ:!LY,:;t,                                                                                                      '!'U2;8K                                    ·        j"           '                           B"iF'                                       , ....,        '       ,~, · .                          .,            t
                                        .'''i~ I                •m,........                         Rt;Jl~~·~~~~E                                             _.,.......-                            ! .,,.......
                                                                                                                                                                                                       TL-1~1~·;0~/a~ii-                                                                                                           if>·       - ·I
                                                                                                                                                                                                                                                                             -4-.._ _ _::..__ .••
                                        ~---+                                   -..........                                                   ,.........-                     ............. -~            .........         . ......... i '"'ic~;-+---·----9~~--
                                                                                                                                                                                                                                                   +                                        -·--t "··~~-;---- 1i....·-~;- ~·-·'-t--·
                                                                                                                                                                                                                                                   . . . ., _____. . . . . . . . . . .·--r·--............                        .    ..........'*
                                        >l    lilt_J.......                         = ............. }RANf:E·~ #"'''"ft"                                                                ~.....l,.,...    'fU•?.'4:?.:~S-7\:i       ...... f. . . 1L4................._£$!:1E'. .............- ...4.......~Y.~ .....,.L,~W.,......~.~~.....J
                                              106 1                                                            litDUCtf?                                                                      l      lt..H>~$.!QOM-14-~                  l      so 1                 BMP                        :                 1 zn.2           14.? f                                   :.{l]                                      f

                                        £-t-_                                                    ·r~N'.F~:~.tji···                                                          _..=t::::.~"'ll-l244:SS5:??.. j                                                                                   j ·~~ r0~~;:::;=i:~~-::j
                                                                                                                                                                                                                                                                                      ~:~+=--~~'[: -:
                                        l ~~£
                                          . ··--_.. . . . ·                                              ~o~~~~ci:~~ .,.                                                     _. . . ·.-~:-~::;ii~?li~s~:ss f. . . . ~~ 1~-· . . . ~ :~;--.. .-~--.. ·:·t.j·- ---1-~~};~. . l·- -<~-~. . . -l
                                              110 l ,..........                                     """i{i'CiY~CX                                        ..,....... -....                          T. . . . . .-,. ~R ss-oo~rv"'"'"--t-:::;-(;--·- r-........ 8MP_ .........-...·-·r-·4i,;i"'"'f""i3iJ"'r-·----·;i·: ~-------1




Ghanem_Sentencing_00000671
                                              -~;ti"! . ...
                                              =                                        ··---:;~~~~~'.9TEGiltAYO~....                                                                                            ~~"""'"r·v·~3-SS0-14 .. .....                               j . so"H""L=y"s'ii~_-_=:-.. . . .r~. ~~!.f=J-i~L~~·.~.r~. . ~~·~]
                                              l li. 1           _ ......................... --·-                 1}01"'fl!...... ...                                             ,,........... ...                         5·16t.!!.:~~1%                               ,.J. .        ?~(}               .,., .......-.. - -    Bf~..........
                                                                                                                                                                 -==---J.;. . .                                                                                                                                                                            -.-+. . ,'.~?~...-Ll~~. . . .L....:k~·:::•._i
                                        I U3 1                                                   TLBE                                                7~5-·SS·SS3C4                                   I                                                                       1        ·wo                                       Wl!F                                 :      :.;;;l;        1      :iin.:.             l ~::,                     i
                                        .- iii;"i.....,...,, FRON! SFANt<·i.·~ :a~1z .........,............._ 1&~=!ii~Z.n oR 101-si~~                                                                                                                                        !        wo..--.                               --8~~1P_. .,......T.....,,;;~g'.--·:icii.....!..--;;;;....., .~
                                        lh··--:~:-,- ____. . . .,. . . . . . . . . .. ,~ ...-...· . . ,., . . ..~.......................~ 1.........                                                                       "7"    ....         ·:.··---......               "?..~..........         :              .......... -- ~ -.. _. ............. ~.--,.~                       ....,.. ~-.. . :·~·:·::-~~·-·-~..-..................~~- . .·-~
                                        i il>        t··-.- ······-                             GA.!!!,.L ··--- ..,                             .    ,6~:9§12520.                                                                            ,1. .....~1¥:~ .......1....................1.3Mr·.. y.......~ ..... ,.. _-!l}..:C.•.;....::.1.m. . ·.i
                                        i;.   116                                          S:t>:ClAi5PANNtR$.s.1,~                                                                                                     '16.S<:i.CC-112.               WD I                               r:~M~'          [ s:;~f      30~ ;.: '        \$                                                                                                         i

                             G)         ,~~;~L=·-·.·.·.:·.:. . . ... . ..,..~:·.~.~·-·. ·.·.§~ff~-·-···~·.·.·.·:·.-. .. .                                                                                    ·.·i~~~~-53101 O!\ ssi:~~~~7S?._J .....·)~§§.·.-.. J   ....~--B.tf.~.~·=:=. . . r·.:·.·.:·~~~~=~~---·~-.:.J:·~·.·.:·.·.:·i;_'.·:.·..-.-. ~.:l
                             ~
                             OJ         t.!;~.,l._................. O!VtC:\:,!~~Sf RZM~V-~~........-                                                                                                 1_........... 865~9~l·S061~.6 ...,.......-,J                                     ZCJO          .L....._,__ Gr.1f~.............--J...~.?.'.'.>F......l...J~}~.;.,..i1.}~.J!·_;'. LJ
                             ::I        lf 119'                                           R~MOV"lt lRACK''ri:IK                                                                                      '                      -~&:i':f!S' ··•                                '          · ·           '                           " · ~~,...,,                   ·    '(· •·                    ~       1•                    ,,,., , , ·,
                             (l)
                                        1 . ~ -      .j......                       .,......:..~!       "'       "·    ''> ' ......•. u.                     >     ~.            ..............-     L               .,.....~.. ~ . • ~fl/.1:i                   ._....... ,          .iiA)      ..,......., __~ : :.~.'............                              .2.::~'
                                                                                                                                                                                                                                                                                                                                                            ---1·-.      ........~.....•5.~~: f'.
                             3I                                        1st AND Rtvrns Gf.AR i.:oc~ SPRt~G                                                                                                                     !54..{)8-068                                             2~           l                          VT -55                                i       ;b            i          :k,
                                        L!20 1                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                                                                                                                                                                      I ".,,~n-. ~~-f~~
                                         ~           '.>'         .:.•          •             ·. 1 ..        u:11111     I'         ttNt          o::.    •~                 ·        · · ·.         ·        ' <~~~~ect                         1        ,rc:-.·~:ne~em: o * 4 i ~ ~-~,9::;                                                                         r . : . » ~•... ·.tt9::· ·m c n , , ~
                             0
                             0                                                                                                                                                                                                            4 of 11
                             0
                             .......,
                             I\)
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 31 of 81 Page ID #:6091




                             ~
                             ~
                             w
                                                                                                                                                                                  R F_Q # 2 / MC/ EST/ 2015:~_0.16
                                                                                                                                                                                                                                                                                              }Iif~~:(~~};t{~:~:'f:~~iPli~r
                                                                                                                                                                                                                                                                                               bl"~.,.(AfAtC
                                                                                                                                                                                                                                                                                               ; i~tm~1ti\~trtr.t~
                                           121±=
                                           _ ... ••
                                                             COMPlf.r£-AEOUCTlON
                                                    -·••••••-•••••••••••• - · ••
                                                                                 W!TlH)RIVE                         !
                                                                                   • • • • • ' - = - v ·••••••••• · -<--.--···- ··-
                                                                                                                                  lS-40·00! ..S-2
                                                                                                                                               ,
                                                                                                                                                                                                                                                                          '   2~              i,,.rr.ss
                                                                                                                                                                                                                                                                      •w•·l---···•..f---•v•••••••                                      ; 2-44--?.5~ I 1.;_L·:_._.
                                                                                                                                                                                                                                                                                                                            - •••••••• i... - • , • ( >••• •••
                                                                                                                                                                                                                                                                                                  •••• •••·-· •••••'.i - - .nu

                                         .-.-riir·-·
                                             . . ..-E,..,.. . - t.V~~r~;;•v
                                           :114
                                                                .. .. ..- ,_... ·--·-____
                                                                                      · .. . . . ·····!~~=}-!-;~
                                                                                                       .. .,         GEA~
                                                                                                             . . . ,_,__.,. . . . ...;j! ...._.. ··--······                            l,                         ;4-0..oc~-1~,                                            '.       1~~
                                                                                                                                                                                                                                                                                                                     ~~:~:-- +- ~~' . . ]. . . ;:: .;. . ..':''-i
                                                                                                                                                                                                                                                                                                                      \'1-f.!'.::
                                                                                                                                                                                                                                                                                                                                            ·---Y······ .. · - - · ··· ......
                                                                                                                                                                                                                                                                                                                                                  :      :nt ;                     ;uit
                                                                                                                                                                                                                                                                                                                                                                                                 t ··--· ..........,
                                                                                                                                                                                                                                                                                                                                                                                                 ,  a
                                           ui -··--                                                       ~···a.Aw C!.1,/ic-1···                                 .... ····-·--y-,.······· -·· :_g-40.02·3-:1-"···. ·l·······w-T......_ __v1::5;·-,,,..,..,. +-·                                                                                          lf'.;             ,,+  . . i4t --·:---·····;j"".....~
                                                                                                                                                                                                                                                                                                                                                                                                             1
                                      - ··· ····--·..······--
                                     ,. 12~ I
                                                                                                                   ········
                                                                                                                          - , .········-
                                                                                                                      !.f.HSV£                                                          i ··--                    1S-40·(l4~.-a
                                                                                                                                                                                                                               ...,..........-L.......... -_,......._.......·----····--··-i---···········
                                                                                                                                                                                                                                                ;      W    (                v-r ..s~            ! :t'JG t 2tP ·. 1·,
                                                                                                                                                                                                                                                                                                                                                                           ··-i-··-·-········--··-·..··-····1
                                     L1··1;-;t-1                                  ~··:;:rH                                                                                                                       ... ~~--4~0)7 ··········-··--i·········:t;;-r··-            ·r~·.c::~---,,, . . •:· ·······;~-r-·:;-,.·:;· ..• t--···:·-;:········
                                                                                                                                                                                                                                                                                                                                                  I           ,    ::..:      ..   ,_.. ~ ,      (         •
                                            (
                                                , ·······--·······-- C.'.J.W C•...~Y .... ...
                                                                                                                                                             ········--·--···1~ ·                                      .,.. -:,                  :    -...J     t                  -V                                 ~                                  ~
                                     1-\». r-·--····-········· · · ·Ni..rr                                                                   - -··-·······..     --r--                                                 1s·:4o~i~. . . . . . . . ..-;c·· · - r---..~h-:>-:)-···········-· ·r~·;·,·,·····r·-1,i:·-···r······ ·:s·""~
                                     ~ - · ~ · v • • " ' ·' - -·•••••••                                        "           ,-.;: :· · · ~ ' " • ••           ---··•v•••"'--y-----··•••••••••·--··--f·v•••••                                                                                     i . - ---,--· ••:_:• •·---·.,..v•••••-;-::-:--r-·••• ·::· -::~--::·:•••..•···i
                                     j     .t.2S, ·· - · ··········· - - ~·:Y,~~~.:A,'! - --······· -- ~·················                                                                                              t9~~~~??.4                                .......,j          10,....-L-..,,....:--'.!..:?5                      ~......... . -~!::. .... i.....f~~ ~.l.. .......~..~- -4
                                           1SO 1                        m STANCE RlN6                       l                                                                                                              94(H'J1S                                        1        W       I        \fl -fit                                     :      2:7(,                i    2,~s          ',     ;~ :!     1
                                           ii0····· ··----········'°i.tKKING·;~i°icE·····--·-                                                                        ====::..,,.,. . . .._                                 940.02e··-·····                                 I I6······ ·r···-···-·vf:rfo··-··r-·. ··i1·t-~ . ?..J"i°"··r·-··'z"it·····'.!
                                     -~;E ·= · · ··-~;et~~: - - ·-=_:: _-                                                                                                              t ::-                      -r~= -~·- ·· -!:JET : : ~~~- ~~-~E~~tT1r. :r~:;d
                                           ::.14 r                                                                   SliEVr                                                             l                         1~M -o-02a-1                     i  w l                   v-r .5.s,       ; 1'!.i t .vrn i ;.~ t
                                          iisr-····. ··-··--···. ······· a.EVnrii,~it                                                                              ······                    . .~--               19-4·0--0-0s.z .................-r- 1G·····-.-- ---········ rf-ss..······~-·i":;:·······r·~·t······;6-·i
                                          :;·:;:·I
                                           ,1,.,~'D
                                                                 ······---···········;l;A-;"'
                                                                                          WC. n
                                                                                                11<..i,,.;;··;,;·i·i
                                                                                                                   ·:.;:.~,
                                                                                                             U'~. ;,on    )~ Q
                                                                                                                                                                 .........              !: ,,.....                     "'°'-
                                                                                                                                                                                                                           .-~·;:;·~~...
                                                                                                                                                                                                                       ~ ·~~~v..            ··~..:(i.>'O
                                                                                                                                                                                                                                                            ············~;_    :
                                                                                                                                                                                                                                                                                                  /;.:···········-1·······.
                                                                                                                                                                                                                                                                                    ··-·--~¥'1 .. v.~
                                                                                                                                                                                                                                                                      I lv: ·····~·-·                              1 .._:-;·~·.:· l
                                                                                                                                                                                                                                                                                                                                          .:·;.: .... T
                                                                                                                                                                                                                                                                                                                                      .c...~4}
                                                                                                                                                                                                                                                                                                                            ;. ---r···;·:             :
                                                                                                                                                                                                                                                                                                                                                        ~
                                                                                                                                                                                                                                                                                                                                                        ...<.{
                                                                                                                                                                                                                                                                                                                                                               ..· ·1
                                                                                                                                                                                                                                                                                                                                                              ,f    l
                                          i~1           !        ..........---·-............. sF-ur fUNG                                                       ......                   ·.........·---1s·~o-041                       ·······--r-20"·-r·· ·········,1-r~5s··········· i ,·?.·;--:·-i-;;s;;··i-;·:~·······
                                           iie+·-····-·········-                                                   ····iivER                      · ·· · ·                   · · ···-+--..· · · ·                   1s=N4c~15-4··--·---·t···..-- lo -+········--·\;1..:Jr;---····: n · ·····t··~··. l····-~:o-·-- .
                                           ij9-·1=······-                                            lEv~WlTHSHiir               ···-- 1 --·· -                                                                    1g-40~1i.i1s         ....w··110····-+··-·-··:;-:,t.5s ......·-t-·i·;·:···-r-·2·;'i····t--;ii"··· ····t
                                                                                                      Ao1ffsrfr~G RING ,.,····----•·n··--r                                                                         iS.40--010 ,.......-r······ii';······r-····. ·········;;,~T-$5·······-·-t--·--·i;H·w··i;··~ ···-r · ···1~;······.                                                                             l




Ghanem_Sentencing_00000672
                                     .-·11io··
                                        ·-· · · ~····--...
                                                    , ,. ,,,. ,. . . ..                                                              . ... .. . . . . . . 3.:,                                                                              · ··-                 ,·.w.·r                     ···~····-···-·-···-· - · -·..···+                       ···-,.-,·-t···-··--'"'?·············-
                                           .i.~L :t
                                     --!~! I---··· -..· · ·" ~o~~~ri~~~~~,.~ ······ ·                      ~         .    ·.,S<.n.....t<Q
                                                                                                                                                                                    -·                                 ::j~~~~
                                                                                                                                                                                                                       ;,;.,.:;$'''"""ft;     .                            3        4.))                                      ' v ,}
                                                                                                                                                                                                                                                            ,. . . . ".+~~·~·······l···--t)~;·!;-·- ··-··i--{I·:······+-·+i·. ··l·-·····t ---1    l      #,   .~ , .          i:   .>~ . .. ;.   {      ."f..,    i
                                         ' ··. : ; - ~ • • • • • " · · - . , . , . , . . , . ...,.,.,,,                    1-", . ·:::·········                                - - • · · - ·· - · • • .. ,,.-          ~                      - ···;.····                  ~••••••· ····· : . : . · · · · ~   ··•v··- -
                                                                                                                                                                                                                                                                                                                      .•- . .•·•••••·•••·         ~   "-""',.:::· ........ -y·--:--.-:.:-•·•···1---···- -.....,..,
                                           .J.~~··t--m·~"'"'                                              ,••••••••-~YASdt~ =•••••"•                                 m••••·--+--.-. •                                  ,:;.J-4!l-{.J~~•••••••• • = t"~.~~m-4---....... >/ ; v!lf!_..                                                              I ,...'.:.~::.......i--~-·•+ .... . ::.:~'"•·-~
                                           144 ,                                                   tMTfflME.PIUN Gt.AH                                                       ;                                    :tS•4CHi-~9·l                                                     Hi           '.                  \rt ~:Vi                      . 1) ,? l ;~.:J 1 (. 1 i
                                         ~··                                                 -·· · · · . .....                                                                                                                                    ::----··.                                                                                      ·!········~-..-:-.--1--····:......... ·t·- --······t
                                         .,45 , ······· ·- - · · · · - ·                                             SHH>!... _ ---···                                                                                                                                                                                ".!..                                                  L •.~.....L. ..,.~"-···'
                                                                                                                                                                    i                                   . . •e...... -·'..........,o r-.-:;:··-~
                                                                                                                                                                                       ,..... . . . -.~1:,.                             .. .-·· :s,..........--1.....!:.'..:c •...
                                         ..14G          ;_y------········_                                               N1...rr.........                      ·······"····--··              "' _ _ .1S··4C.H ..~s-;._=R!
                                                                                                                                                                                                                       _...!v                                                                 .......... ~r-55 .................L..I.:'.L.....L... ·1?.L'... ,...\~L....f
                             G)
                             :::r    ~ :141 1.. . -                .......... ····- co~~,?,:~9.-~];.f=Vf~.............,....--,,···· ·r·· -                                                                             1!::1?.~1s3                           ······· -              ?~L.....i ...........Y.!.·.~.5-~_...,.....L.,. . ~.!_tj_,,,~~·~···· ..L..E.:~ ....J_
                             CL>     ~ .148                                                                                                                                                                      1S4-•W·OSZ-S                                                       ;)·~        ~                     ;,_; 'fvS5                    1 ;;::: ~ 1 :<i S ] B:::. i
                             :::,
                                                      I·-r···--··········----- · etn.:r    · - ·-···-·················-"······ .                                                                                        -~··----·-                          .......                    •... ····'·-·-----···-···                              ,.....i ....----,~-···-···· ·······'··· - ···········...;
                             <I>
                             3I      1··: ~. .~---..                     ········-·A"-i!!.'.~~~.~--Y-•·········                      J.._                                                                              1~~0--0B~                             ...........L.~. L..,.~.I.:~.~------··l:_....t?.'.~.......:.•..~ ......L.......~.'.:~. . . .!
                             0
                                           1SO   ]                                                                   SOOY                                 j                                                            :ts.t-4-0·114                                       l        ·to         ;                     vr .Sf.i                    ,      Z'li>                     2S4           1     L'[;       f
                                           J r•t:                       ·                                  ·   ·r•    tt~•••••mm, ·~~• -- r+.:cuce~'"'•wQ;,cm:ttn                                               :c:i          11:c1 e · 1·s                     1 " 1 1 i c 1 ~ ~~.1c:~11·:a;i:arn~1:,:~ ~ ~. - . ~~ ~ ·~
                             0
                             0                                                                                                                                                                                                      5 of 11
                             -..J
                             I\.)
                                                                                                                                                                                                                                                                                                                                                                                                                       Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 32 of 81 Page ID #:6092




                             .s:,.
                             .s:,.
                             w
                                                                                                                                                             R F Q # 2 / MC / EST/ 2015-2016

                                       ij~Ilf(~tifft:l;,f~~~t}~le,~i!E_~J:~!ir~:i:1:!iji;,~j~t~t~ff~;rtjjlJt~'{:ij?rt~,!~~~Jj~~:~l~~;:
                                       .15l             i~·-v·-·"-····
                                                                     · - RI~.~-··   -······· __ )                                                                                 .... 19·4~.~~~7                               ........
                                                                                                                                                                                                                                       ~~i_q.J_                             . .D~~-···'·                                                                                                   1i~......~..- ~,?.?......                 i
                                          1Sl !            R£it         ON
                                                                 CVU~JDf~   MAIN POWER W!N(H      OP
                                                                                                  l                                                                                    1S-S0--07S                                      t                                  i ;;f,9                                                                                               1          ;:WJ i 1i;.;. ·' ? j
                                                                                                                                                                                                                                          ·w 1
                                                                                                                                                                                                                                               . . . . .-~:vrr:~55(::::=~.r.:
                                           ~~l ~            ·~~·==:... .                 trti·~·~~~ EA~·L.                                  •n••··.·.·~-.=i-··. ·=··-···-1i~io:.0~£_. .,.. 1:=·....~L..L::·.·.·:. . . ytjf .__: ·.·.·.·.1.~·.~.~~§~~-.·.:·.·.r~·· 1;?·.·. ·.·.1:·.·~-·.:~.- ~~~~~]
                                          1S~.T'"·.,.......... ·-•--········~~~!~.L,. .......>---······.j.......                                                                         ~ - ~ :..-,,_....i------2., ...... }___?,.~IL,~,~> •••··••••_J._.v)~i. _=1'... .....;~;:'.,-j-...-.-~••••»J
                                          1ss·1                           '<3!2N£RATCR                           l                                                                s1s~2c-..10.-0H•B                                         j       .:5                 SHlLK;~.                      Tl.~            :U)()      '  :;~,        ~                               <
                                          :;--t--~ ····---~·--·-;;_.. ,. r-.r •··· ..         ················---j··-·······                                                      l: -        ~··--;--:·· -_:;:----··· ..·····--.-,                      --+·! ···---:;::-; --;·;·::;;:_- ... - :t"--;.:·.:·····" :-···-:····· ·-j--:/..........}
                                          ~:t.,i·· _.,.., . ·-···«··~;'-U::;;;f~:,.,;v··········--•··- -········· 1
                                                 ;J J                                    ..;f'll!-"''-'..> •   H.,,i:;1:.                                        ,
                                                                                                                                                                                  ~:::: lG1~
                                                                                                                                                                                   :>x> v
                                                                                                                                                                                            . . . . ;~!'.·L~·t;·':--.,····t ····<.-(~ ., . .+-·······<··•~...,i,..,....,.~_.·{····"··!
                                                                                                                                                                                                      ::1-1.--u ::a                       •    ,. j,,     :                       v·.              ,,,,._                                 :              ;,;,                                  "         -L... ,,                    j
                                          .l                                                                                                                                                          ~                    ,,,,..,.,,----r~··•••""-.,-···-r·-••...                                                   -········••o<r---···:·:···•'""~~···::..••··-·                                           i     •·::_··;···•••••"I
                                          -··• · -·-·· _. . . . .. .:;..--.-,.,::;.~-··•-•••··"...,._,. ~,, _ l
                                                                                                                                                         :~~t~1):~~ . . ··+)(:~t-+-.. ...._.,_..~v.,-··;-··::-
                                                                                                                                                                                   .- ,
                                          1s~.t---······-··--·... d<H~;!.? i                                   rd~~········- -...........·--i---·-· ~1sN10·:h·OOa·~----+···· !;.Jv ...+..,. ~~.~~~-A _ .........J. __ ~.L ... )._...!_......(... _..q .....                                                                                                                                                                       ,t
                                          159
                                            f··------                                 ~~~~!Y~:~''·~..........-                                           ...... )                  ?..~~.;_:HA                                 -····4-~?.. .....'rl--~······~_!!t..J(,A,                                                 ... ....;......... .:.!..---i--v•~-······'·1--.!..?.......J
                                      , 160                                                      "VALVf.                                                                           S1S·l~-4l;)v2::il                                        I lClO              StHU<.t·\             i   (:·i '    0      1 .?.\   s
                                       .,.....              • • • • • - • • • • • · - • - • • • •. .••'"'-=-.v••••••••                     ••••••••
                                                                                                                                                                 ,•    - -·-•••••••• •••..                          •                      •<--•--••••,<...---·••••·••·-•-••••-•••••••;..___N••••t•·•-•N••••'••M-•••·'
                                          161           !                                        \fJV..Vi..                                                      l                 51S~10.40-:.B3      l .1.00 i                 SH!U{.A                  (       ,,;    ,     SI        l .i;, i
                                        -iii"1'"······-··w·-·wci·:fA~li                                                   ········" j ········-740:04.saun ·····--r···1t'o'J"·····-----··- i.:K                                                     -·····~········1·-~-~w.. ··--~----1······ ·1.·i··--·--1                                                                            r


                                              ; :;;·-i - - · · · - · ········ ··-·-                 ..-·              ···-·                ·t - ···-······--···-·              - ..·--······~---'" ..,·-·--···········-····--..·l···----····:·-···--·t-- ......                                                                                                                                                       ,s     -




                                           l~---··•••••                    '"""~~.!!·   :;ANK,,~v•••··--=···-• 1                                            .!..~~6..!04•J              _,.,~.--1.....}~~ _) __,. .•••· ...-.£~_.., ·•••••••···-~•m•••:.}._,,-+-·· ....:~...••,..L.~.:.........i
                                      ~
                                      ·· 1~ 1                                    SCRHN HLifR                                                i                 "140·-0-5-SS14l                          ! :iQC i                      8K                   1 ~'l.          :     .        ,       .,       l
                                          -····~•••••···_..._._____, ........ ,.., . -......,. ..,.                              .•                          ,....                 •••·-                  · - - - - . . .-· ···-.>-v•••••··.,.......        ~      ...... ,, .,, ....... _-...,..v,,,, ,., .. .,.. ...         ~                ....·,,,,,.~-.,.,..,,.. ..,, ......................, .. ,..,.. . , .... ,,,, .....   ~




                                          f.J:        ! ·······- · ---·· · ····" TH~~ri:~o?t·"                                ,,......                 ,.+.-v· · · 1:~~~:.~~~~7... .         --f-.           . .!iii-~····--··---·-··:·~. .. . --..+··· ;; ,--,+···· ;: ---l·. · · ··t-31
                                           _ ....L...--·-········M-·,-·'                          ··~----·-······ - · · ····!····                                 - - - · - ·-·                    ···-!-······-······!·-··--··-··· - -········-+-··--···· ·--,-········-···--!--.················ .
                                                                                                  0
                                       .- ·i!~+--·············-..· ·--                   a;~ilKa~c~ : ~~-------····- - - ~~---                                                       ··········-f-··--·· i6. l
                                                                                                                                                                                    ::~!~~!:;!:                                      §~--·---··· ·····j-~{:·,.··j--J;-···-t·· }{·· · · ·i
                                        "ia,-···~~)Nrootie'viR swii.mmfl~.-·--······-+·······i4n,.17.5fiis1-1 -···--r-;w···                                                                                                 ·······-BK-·· ······---i"·······ii-"T······2(> -·r·····.:::;----!
                                                                                                                 & ....             ····· ,           ..........·-.:.:-:;-::-·~...            -·····--r--:-~--·-t--·        · · · --·--.············-~--v-···;::--r···---·j7'"--···r············ ·-·-1




Ghanem_Sentencing_00000673
                                                 .... ,                                                                                                    .14v·"'-1-:.S....o4-i
                                                      I- --··--::.-·····--
                                                               -··· ~T.ROU.f.'1tR_n
                                                                                         . ;· -· · ...9coc ;··';.~~~-                  --·-'                                                  ,.,......,._?c.. ,.~---·········-· RK m••········---·L .... ··:~ ..•..,.4..~·· .. ,. ··---~·- -·· .. .... ..J
                                           .,. .,H ;                             , *~""'""' <->A•'D' ·,                                                          i
                                                                                                                                                                 "",iO •t N"-" .c                ,s    :        s·~   l              r.H/                 ;       ·,·}   '               l     ·>"-       !                                                                            ":-<':.
                                       .a~A :                            n '" lC:.       "-~"''°"                                                                                                         -.._c.<                          :        ;)t$                                  t;if\.                                          ,               ..                    I      ,t:,          f      .,(,,       ~
                                       ~ > ~ • - N H • • • -••• · - - - - · - • · - · - • • • •                                                       0000                         ••••v•                               " ~ - - - --       ,•              --4: ·--~·                 o•oo , , ............ M - • • • • • • o . - . . . , . . V W , ~ - • • • - • ..._......   "'f-"•-••••     •••""s--••••o•oo,,,,,,,,,,


                                      ~   l~~.J-,.·=·---········· ORNER 5~~!.......
                                                                                                                                                         ±= ~., ~,.:
                                                                                                                                             ._. .. ·····-            -·········· 141.Vi,~~!~~  ·· ~.~..        -j_.. . . . . ..... m~~... ....···~_J.,.......fL._..,+,.._. .J~ ·---·l·· ...::.--i
                                           13 I                  GEAR SrHH GA!l                                                                                  1                7'40·19·Sii·l    -:-;i:,            •             St(              .        c:      :       l.~'.:   ,
                                         ---..+-------········--·----~--                                                                   .....                    ······-···                  .......    ---+···----········------···--·-·····                 ....;--·············-·: -·········:,
                                                                                         ANP iitWzR:st ~!EEC                                  ......... ......•.. ;
                                      f]z~.L     ...........- ~                                                                                                                ~··· 140-·l9·.~L__,.,..,. , ~ £ ... ...1----··-···!?L~.-..........-L..?~. --L_?i.....- I·--···}.?:....... J
                                      ins    L.. .._ .....,. ........3.,~~.~-T1US~..~__,.........•----..· ··+·· 14{?:ZS..116.A_ -···.,·······±··'······ $D ti ······-~-~t·--····--!.- :1-..~.....l.. - . ~-······1"·······-::_--i
                                      ; 11tj [                             5TflHltR                     .+--     14*-33-76                              sn ,          SK           i ·1--::: I .p , JC· §
                             G)
                                      :ii·:;·--·----··-----···-,,.";i~.'ii~-;k. ar.~;;······-·-·"--··-·~,f·-..-1~is~ssw3 ....... . !woat··--r--·-·········eK- ·········,-v:··i3 .. ··t . . ~1 ;;... · ·-················;
                             :::;
                             n>
                             :J
                             ct>
                                      H~~ [.-:--=-=:- :~~-:=~:=-- -:· - ;~~
                                                   6J .                                            ,'Vt.,.-                                                      .                                        -
                                                                                                                                                                                                                               ·::~1----~~:-=::+=~r=r-
                                                                                                                                                                                                                                  t                 .Jv
                                                                                                                                                                                                                                                          ~: -
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             ..l
                                                                                                                                                                                                                                                               t::-',,. ··i                ~,-                                           '             ., .;,,,                               .,,                                    ~
                             3I       1··"ia~l»--·-v···-ANYi.s{jRGt.VA.NE_,,.....                                                            »                  t·,•              740-.4i~:\~U3S~z°-V" .....~s····(··-.                 --···a~:. . ·---.                                                                  ···--···+··. ;.;;.~}-···'.·····~·· .. ···- si
                             0                          •            ~               a                   RW •               f :1 "7*.i!I                        ~ M.1         H          1:                                      o     t v M'   ~   ~-      ·:Le10"' wM o:c        • =:sec.u~:,.~~-o :                                   J          » •. o u~                   111   <rMII         l   ~m   • ) .e.·11.·.,.~~~
                             0
                             0                                                                                                                                                                    6 of 11
                             -.J
                             I\)
                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 33 of 81 Page ID #:6093




                             .l:,..
                             ~
                             w
                                                                                                                                                                                                                           R f Q # 2 / MC / EST/ 2015-2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ~              "w;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       }tr..;~~ -~ ;~i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :mlT.EM·ji
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ;~f~tt{~:.:.t;::::.
                                                                                                                                                                                                                                                                                                                                                                                                                t       Ml         i            a      r                \"C-:: :~r ·r-x.... . .,. . ·-..: =-~~
                                            ttilil*1i .,,,~i:f~!iii!ii[JiitiiltJ
                                                ~ J__,. . . . . . ..                                                        TORISO~ ilAR                                                        ·····-..·-···-.                         j                           _!~-4~-.?n    .........                                  !            s~......-t. --·····g~---- --l·--}~~ ...-l-_:..1... . . . J.........:::_.f
                                                                                                                                                                                                                                        1
                                        .. ~                                                                                     COCK                                                                                                                           140- sn~S8225                                                I                                                        l :;{) l          :,~ ;                   ,      ~
                                                                                                                                                                                                                                                                                                                                       » ..........
                                            ·                ,r--·------·                                        .....,, .....--,,·-··---·--·-
                                                                                                                                             --··.............................                                                          !                                   ~·--···                                      ~                so ~1r - --~ ·..........]K
                                                                                                                                                                                                                                                                                                                                                                   ---- -~-,.~-l.............-·--...., ... ...........!----···-------,-1
                                                i s~ :                                                                   t ow1~G HOOi\                                                                                                  i                            74.!l-SONl ~l                                      jl                sn ,                 BK              1 ~;.);.,;· i 53 i 11.: t
                                                w,-r-                                         ·-··--                 tATI'.Y . .•.                                                                             -···-,                                                ,4!>-,o,m                                      · ·- ~--r. ---SK......... -¥r---··;:;·;--·---r-·                                                                                    si-···--r""""i·;;····--1
                                             •••••-~                           v-..•••• • • • · - - - - Y • • • y • • • :---- .··;•;;.uo,,,·,                                                    -.,.,;,.,._. ,.,. -., ,n i                                    _..._.'. ;:                ~   ,>;       ....   ,,,00,,, ... ~ " " ,'' ':•••• '1°"'-              --~·-\.:,;·;--.--•,--o••t••••--••;··::·:•~'"-'"';::•;" "" 1--·-::.-•·• •t
                                                ;:; ,"-w__._.......... . . . .,_~~: ;:~~Y,.,.,. .,.,                                           1                                             , . . . ,.!                                                                                                               ............ ~~~ ................. ,•·t---~·~;--· '. -· ~~;:; -t-"""i'~:'""'"i
                                                -   · .... . . .. ,.------·~···· ..........
                                                                                                                                                                                                                                                                ]~~?. _.;.~~:~
                                                                                                                                                                                                                                                                          . . . . ..
                                                                                                                                                                                                                                                                                     ;9 _..... . . .t··•"•t. . ..~~~~
                                                                                                                                                                                                                                                                                                                 . . ~------·---···--------··----·---,. . . . . ---~------···-····<------------- ···-· .,
                                                1.87 1                              WA~nt[                                                                                                                                                                                                                        i           ~!'(                ! L'.B I 5f:b 1 1
                                                                                                                                                                                ·------··········-~!                                                                 rso-.so-oas
                                        , ;·'.······..t------ .....................-                                                            ~..;..,...                           .......,..--                                       , ~·---·---·-                     .    : .........·. ---r. .....WU
                                                                                                                                                                                                                                                                                                        . . . . ..4-~,.............. - - ..-----..t··--·--~
                                                                                                                                                                                                                                                                                                                                                          ..:·:-~-·---~- -"'.:;:'.::::·.. ···t·.,.............. · --·!:,
                                                                                                                                                                                                                                                                     1
                                               1-~ ! .... . . .....
                                            ,·--···-J.                                                                                   SAR                                       ....                           +,........                                          ;:~~sr;J!{·"                                           l··--·--fn°                ! ·-·.- ·- ··:~-----······--·                                               '.~~; --~
                                                                                                  ,_.........
                                                                                                                             (OR'iici~-------·                                                 ,............... -;.--.,.. .......                                                                    ..........-             .                        .......... _ __
                                                                                                                                                                                                                                                                                                                                                                                     --+-------~-~-: ·-+-.. ~;:-···--j·--··--·..·.,............
                                                                                                                                                                                                                                                                                                                                                                       .. . - .......~.......................;......                            J
                                                190              !                                           ffQQt: 1.' on:omng f.1.!ii                                                                                                 i                            1:.i0-S0·37S                                            [             SO           i                         ::sK                          l      1~;1         (                   ~r;            !              h!                 i
                                                ~?~"·!·~- .. . . . ·-~·-·                                                       w--~?R;SON·····-·::~:::~::::·: . .......                                                    __.r:::~---·····
                                                                                                                                             7S0-~1-~4s·- ~·-·--=r-::~ii". L·-···--~=~:··-~~:·~·-=--·r··--··1~T··.·-~::r~-~}-~.~~~r:: : :·~·-·. · -~,
                                             19~· · 1·-··          ·.·               t OC!<............................. .... '    .•. _____ 750-~l-l SO ...........-0.!::.,.,... j..............   p_~..... .................L .... 1~.;;;, ~ ,MJ~..........}........:-....'"{                                                                                        .v_   __


                                             1!J3                 't'ACHOM:frHHi r.NERA"fO~                                   '           140-ZQ..SSl .SS*-             !    SO !                                                                 ! .:.-.i i ·;,-, f
                                            -·- -· . . . .-..            .,. . . . . . . .            . . . . . . -. -r···--                       . . ----- -··--·,.r-·· -----.---· -· ...-----ht~.· - -.......... .l(..... ;;::~   ·-----· .......,~ ..........................~-··-··· "

                                        ..~=·I ....
                                                1% i
                                                                - -1:~!.ron~';R~~.·;,~_:;WRENCH
                                                                                           AOHJ.STMENT
                                                                                                                           ·=c!             TRACK
                                                                                                                                     .-7~~;J~--·· L~~ i ~~~~j:a~                                  SK&OT
                                                                                                                                                                                                                             t·Ai}J               i
                                                                                                                                                                                                                                                          ,~',~t '{   140-91-81                                              ;           WO
                                                                                                                                                                                                                                                                                                                                                      t ..                               ·-62                         :;.~i:;              ;.(it :          ;,'/          i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ~i
                                            -···                                  ........... .. ·     -          - - --.. ..............                                        ,. .,....
                                                                                                                                                         ····--·- ·- · -•-•••••---·-r-·                                             + --                                      .... ....                                                                          •w ....                 . .. . .........       4            ........... ·--.-~..,.......................':'
                                            =~!~.t=l . . . . . ~.RENCH~~} ~...9(. AOJV5.!'.1El'lT                             /...   ... 74°"93~ ·-·· ___ j . 200:j- f!'.'ll.OT:_ll?... j_~ l, . 2!._.J_ .'':..J.
                                             1ss                       WRENCN fO~ :SHAHS:i                                    i                r~r-110                  ! ·.m\J                   BK&OTN62                    l ,~;i;                    1tn '.                                                                                                                                                                                                                       /i.>             -~
                                                -   ·-           •   -~····                                _a. . . . . . . . .~ -...... -                    . . . ... ~.   .                             · · · · · · ~ · . . ... . .                                 · - - · - -                                        , . .,...,N                        •••••••~ . -............. - .•- . ...,.., .............-                              ........• ··- ..1··--.. . -····,-· .... ,:, .
                                                1gg
                                                , ,.-,.,,.,...
                                                                 f---             •••
                                                                                      WRENC!-l,,fOR
                                                                                                _,,......,,
                                                                                                            ROAO WHEEL          ~ur
                                                                                                                  •••• •••••••• • • -·                                                                                                      000,0•• '...
                                                                                                                                                                                                                                                                     i'40-.!.B--2 29• "" •                                   0
                                                                                                                                                                                                                                                                                                                             l •••• •we      1         Sl<&OT ·62                     '        .Hn i ·H n
                                                                                                                                                                                                                                                                                                                                      • - ~ Y • •-•~--- - - • • • •• •• • ~ • - · - ~ " ' ' ' ' '' ' ' 0.0' .,_,,._~-.................,,,, ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :              .n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,,,·,, , ,;.._.., _.._N,1'.••.y •i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i
                                                200 ,                                WRfNtH fOR oRAINlNG 0 1t.ANCHUE                                                                                                                                           140.s;-ssaao-1                                                i       ·we i             BK&OTNB~                       i ~~,1 i 101                                                                      1             3<1                J




Ghanem_Sentencing_00000674
                                                         ¥------·---                                        .                  ... ......                             .....................~                                                 ......                                                                              ......... .                      ·---·-· -····--------------··--~-_. --~,. ..............----:
                                                2_(1~1-                                                                            -                                                                ····                                '                   ..... J.Jl!.t.93-SS140                             - -·-.                    100 ...               ····- Sil&QW__ L !~L-!.....2C..' ... J _       ......~.'.·. 1
                                        · 203                                                                                                                                                                                                                                                                                                                                                                         }•M           ;                              !
                                                                                           . . . WRENCH             HAt CH DOORS
                                                                                                 . . J.PE<:1Alro~~l\icl<.9.:l.S.14                                                                                                                              74o-,s~SBl70                                                             WO !                          aKt:OT,62                                :                                      JC'L             <1}         l
                                                ..........                     .. .... ...... .                               .. .............. ., .. ..... -...                             .......- -                                 .                  ·---·-
                                                                                                                                                                                                                                                                                                                    !:                   ~ ......... ·· · -· - - -·· · · · · · - - - - ····· ...... i ......                        ...............              --!-----...........<
                                        ; ?~..                                          ........................ _i"OWfNG RO~t                                                                      --······--·--                       l                       1~~:--93~SS104                                  ..........   l. 200                     [ ....... ,._ BK&q_T._:§.;___                       =wr··-:?g.....J..._ w;. _j____ _;..                                                        .l
                                        t 10.5mi~-m
                                                  .... ...,_.·n,.,.................. Pl~!. ASS'f -                                                                          <                                                                                  1<11l::9.~~61lll                                                 200                            •..•.•!!!<MT:~~                                   '.~'........ ?~.~: :!• , . . ., . .
                                                                                                                                                                                                                                                                                                                                                                                                                                     ....J.-......~:L .....f
                                                                    uM1.n.£ Fon. row1NG Roi;.~
                                          200 i
                                                                                                                                                                                                                      -t·--                                           1i1-0,.93.91
                                                                                                                                                                                                                                                                                                                             l ioo                                    BK&.OTNS2
                                                                                                                                                                                                                                                                                                                                                                                        ·-·./--2:l .•H~~,_                     1;;;:, 1 :: .1
                                             ··-·--· .....-,... ...........                                            -~,.,....- - - -..-·..                                                                                               ·······-···                                             .........                1          ...........                    ..........--- ·-----.......,,................ ___,_________  ... ··+ --·-·-'i
                             G)                 201·-t-·                                          _. . . .      iiand pun,p !!,':!.~-1.~                                                                                                                                                                                                                    •.• ·-           OT-GI.........
                             ~                  ..,,..!>                                                                               , "                                                                                              •    o""-                                                                                          -r:          .                    ... ... ··"'                       •      •                                     •          ,                                $
                                                                                                                                                                                                     ....... _ i_- ·-······-··-~)@.-..~ ~""'OO<IA
                                        ~ x!,v<>                                                                                 .}• 'om,      11..r:msfl<                                                                              j                            ,~11<.r.·..1.U- v t.                                                                                                                                                          '        .'. .:.
                                                                                                                                                                                                                                                                                                                        J..l .. tOG
                                                                                                                                                                                                                                                                                                                                 :;.,;                  l                    U    l ·• t>.l
                                                                                                                                                                                                                                                                                                                                                                                                             _J.! ;";.:·.'''... . . . .'.:. . . .}.~~---L:_._·:.~2. Jt
                             OJ
                             ::I        r 20S                                 .. ....                          .... V;;;tiHG!' 1/mft.......                                                                            ........         r..                         800-10:0i1S                                              [........$1) (.,............... Oi-62. . ._,.......,....... ~~                                           :h---i···----i.. · ··~/! ,r-i
                                                                                                                                                                                                                                                                                                                                                                                                                                    . !.~f:..
                             (l)
                                        *                        t ...                              .........-~.                                             •--------                            ..............                                                     .....-                                         ......                             ·+··-·----------·-..······--·------·""··f                        .         ..-.... .........                    .                   .....,..,.f
                                                                                                                                            •·folder                                                                                                                                                                                                                         (ff-62                                    62           ,                                  i              :t,
                             3I
                                        i
                                        i ;no (i                                    a       &«f~~· ~ ~ : « 4 M C ~~ ~ ~ ~ : . i , o , , # ~.¥'.m.• rn
                                                                                                                                                                                                                                        I                           soo-1.2N03l -1t:iU(ff                       "
                                                                                                                                                                                                                                                                                                                             J: iOO                     :
                                                                                                                                                                                                                                                                                                                                        ~ ~ " < ' ! » . m ~ o ,: rm .                 ;: ···   :c~·         ~1J;:a1uuou c ~ n11M•
                                                                                                                                                                                                                                                                                                                                                                                                                                                    .ts.::,
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ?et!"1¥1tt)   U W.l.!~~~ m,o.,.o). lo~!-."!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         t
                             0
                             0                                                                                                                                                                                                                                                7 of 11
                             0
                             .......,
                             I\)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 34 of 81 Page ID #:6094




                             ~
                             ~
                             w
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 35 of 81 Page ID #:6095




                                                                   Ghanem-00072443
                           Ghanem_Sentencing_00000675
                                                                                                                                                                          R F Q # 2 / MC/ EST/ 2015-2016
                                                                                                                                                                                                                                           0                     0
                                     , . .,           j ,    .        ,.       ~J;~~~;V,(~f, 1~~11:~~]i~:~f-~1f"' ...                                                           I    ..               .         M                  '   ~       . ,. ,   ~                   .   •       '         J      ·~         r                 ,, ...... '                 ,.!      .              . , I,. < .            .    . .! ,        -, - .. • ,•.       ~

                                          241        r                                                           tatd1                                                          I                                   aoo-so.164                                               1··-100                     r -ot~s2          ·--r       i   212!                  1.12                  4     .
                                         --~......                                                     ······--·,..,.,,.··········--..······- ··· ·-...)r,                                                                                                       ........;......~....,.-:--......~·······-·-----·······.- -·---·······-~v-··,·•.•••h•••r-"""""' .. .........,,.-·,---···--~t
                                     t 242+---·---                                                              9()TT~- - - - - -                                               '            ..... 140-ll7::5_1l1ZS·l ...                                                       I _iE()O                  I ___9!:•< ··-----1---~'.9__L.1I~. Li:.~'                                                                                                    l
                                                3                                                      SP!:OAl SPANNE~                   1                                                                      OOG-93-013S                                 10U i.           01 vol              ' f;:;;~• 1 :;.i_.:u. 1                              l        f
                                                      .     . .... - . , . , v , . . , . , , ..... _           .........- - ·_          ........~ · · · · · · · ··- - ~ -- - . - . - . -..~                         · · ········   ··--·~--i·-· · -···~-_, ........ ---~··········--···-·t········-..............~---... - . . ......... ~..........- -......,;:
                                              ·4 !                                         SPECfAlS~AN~Jffi5;;.;;5{)                     l                                                                     acc-g::s~ow-1                           1 100 }               {H-~2               l     ,.,~~, j ·11.lt.c: l                         ;:,~       \
                                                  :~r·-·•..                 •••u••••·      · -;._;••.••••••--·---•·•-;•---..•••••••--f••••-•••-•••                                                                 . . .:-·•·•- - . ,,. .,,•,--...,...t••••••-:~•f••·• •••-~•-•:,;--~•v.•.oo,A,;Ar--·.:N . . '.~.•••...-~--•·••••.o.••-•••-r·- - .-. '>#''••t
                                     ~ .24:
                                                                                                                                                                                                                            8
                                                  I · · ··"fi~ctf~~~~t~;,:;~~Kt~~:~i);;~·~···-·······+                                                                                                       ·a~~~o'l1:j~4s ··········t-                    t ·-·· · · - ~~-~:i·--······t··W•;;.: ······(. m·t···· ...
                                                                                                                                                                                                                                                                                            i;~~..                                                                                                      ?~::/ ~,·-·t
                                               ·i··r-···· ··-.--········ _ ao····~~-··············--·-······-i-----
                                              >t._. .                                                                 . ,,.                                                     l                             .,,..;•• 1..in~o1s···········--t~N·..·~;:.- r······--··,~·:r ,,·.· T"'·····.. ·····1·······--;.'.~·:.······-r-~,c,-::-:····-r-·""7'._..... 'f.;
                                                                                                                                                                                                              """""' ·                        ! .t:v I                   •' • ,).(               •        • <.,.          !     :> ,     .      ,.        ;,                                            .J •.
                                     . iaf --······
                                     Ri                                                                  Cc1~~;;;;,~·--·-·-·-,. f                                                                             800-101•8,l~                                       -····· :                   1co·-r-·-··                       OT~~2..           --··-··r-·                     ?!. J       ·T····1~i--r. ·····7-~i
                                         ·"24~··r···---·······--·····~;;(t~~;-
                                                                            .                                                             ~-········--=r=
                                                                                                                                                   ·. · · · .                                                Zfm..10.i~.1115
                                                                                                                                  ·,·····--r ·····io r. . ..---OT~e2-·--···········r··· 71~;-·····r"·~···,.1·---·$=····~
                                           ~,,,,__...L-.              - - • • • • •· · - ·••••••••••••••-                               ..••...• •· · - • • - ' •                   --                                •-                            • • • • " - , - • • • + • • - · - • •·-                             · ...          ••••••••••••••••••••- -•~••••· -N•• • • • ~ = • •••••••••••••t


                                      . zso t··-·".--!..~ £1!: CO.~:!.~in. n. OPL                  ,_,, ,....,...,_ SOM·13J_;-oro. ···· ··+!....~~.:__1r_. ___l!:~~~~:.~.}~.-.L.·····---~,··-·-~J............-. . i                                                                                                                                                                                                                                    !i·
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ..

                                     · 2:'>l i            iU:l\1101'£ CONTROL ROPf.                      :          50M-137.1-000                 SO          ui> flAADi: i,                               1            .                                                                                                                         K                 [                          1
                                              , ........~ ......, , , _..... ,.,.,.,,..-... . - - - - . , . _........- . , . A l ' . , •··- ; • • • • • · · ··~                                           ,,, ....
                                                                                                                                                                                                              , .,._.,                          ,.... .....~ ...... . , . . , . , . _ ....... ,,- - -·-                         ...   .............. ......... . .. ,.,.,,,4-.,,.,,,,,.,.,.,,,,.www~.,., .. ,,,,............ .,,,,..,..,,N,.,.., •,,,...-•
                                                                                                                                                                                                                                                                                                                          1
                                     . 2jl··i·--···..···~EGUlATI!~.§..EQVlP~!EN'f U~U!. ·············--··+          ~~·140~~~-....~ - ~ -..t........ vr tll~~!~,,, .J.-... . [. ... -...!·········-----!
                                     ~           l _.. . . . .                                                             · !~~-~·· · ·-· ~~:rim:~~~•·-····t········t ·~t········} ·---1••••••··{·······-~
                                                                                                                                                                                                                                                                                                                                                                                    1                                                   :s:;.·
                                                         -·-- p~:::~f--····,.,-v•• ••··T·· ·.....'" saw-i2-oa.4······---!·
                                         -·iss~: r-············                                       ;:~~~! . . . ~.·. ·····:;-u~-r·0To"\w
                                                                                            MfCH,\NKAL)UH ~·uM·P--········· ~                          ~.... . . .r-iii ········r---J"ci~······r....- ··t
                                               ., ..... .;.. . _ _• • • · - • • • • • • • · • -•w••·                     '   , . ....               -···-·-·••••••··r--,··•                 ··~··•-<••-·•---·j                                 ·~··-••·-··· ·--·""-·-········1··=··········-"''·•··--····t··- - - · ·•}···•·- - ·
                                     H
                                     ~~j~:::_,;;;;,t !.<>'~~~~~-;g,n.,..;,;rJ-=:i · _ ~~;~=== 1:::· ~;_··t- ~ ~~~J~-=t~i;;i::~~j ~ '.~= :j
                                     ~-~····-~····..··                                                                   1
                                                                                                        .fA~~~~5.vH~<-!:~~~~- --·--····· .
                                                                                                          30:3-0G-;~~-J.~~L                                                     i.......30!-0&·1~..~.'...
                                                                                                                                    ....-..::'.J)JN9.........-...L ...J~; ·-·--....:~:t ...J..................                                                                                                                                                                                                                                       .J
                                                   ·-¥····· ~i:~~::-······-·-- +-- -·                         PtN,,    l ~ .L Y.'1.f:ti(l_j_JL i--':' L.... j                                  304-IO·t...




Ghanem_Sentencing_00000676
                                     !
                                     lz~Wl !·--····                                                          . . . --.  .+ ::J·······r ·····~~-i -··-i··-···1r····+ -i:i t __..,. . ·-·I
                                          2s2                                                                                                            ---···--··-r·-···········-·100~1; ..
                                            ·-----~·· s!iit~:~:J~\?G . . . ...i ·- - 1!~~:si·····-
                                     ! l·····-·m·······"wsiiiN~ii~,e~ ~~~ti.......                                  ·-i-300 ····1 -····v12....iSiii--1·······-i~t······-i-;-···(············---·-;=
                                     :-~:r--~·==:~~
                                      -F- ---:~H:~:;-----                              ' ;.r ·~: ~~ ~=~~f-l-~FT=~;
                                                     ~~:5;: _ ,_- ~ =i=::· . ::m- - · ·+~t-----        ·-r--..--. .. . ... . .. .... ..r=j
                                                                                                                                       ,. .~._. . . .!
                                      ~·Y·-·······-·····~SE, ~·~.~!!. ,ts!ly ........ ······--········-·_j____,_                                                                                                        3308~26~...-...............~~.~~··-·· 'i12...,.~.~£-·-·······                                                                .........:.:_.J.........~.l'~............ ~
                                     j l~~..L--·····-·---··___!l!.~~!!Ng ......... ·--~······· i .,.                                                                                                                3S~~..:t46-1 .........---l.._..~•.9.~ _i ·····--··@                                                 v··i ~.J~N ~-············)._          ·.>~~·-· ... _l --~.1:! ......J . . .......- J
                             G)
                             =r      i-£6? l·····--·······---2~~~~~~.~~.~.~!-,,.........- -.L1                                                                                                                      .}.~U8¥233 -······· ............,......                                 ~J. .__                     Vi.~.,.,€N(~ ..............!. ... ~::~~. . . . .i..,..-1.:,,,,~,.;..........- ....J
                             II)     i    }Ga                                                          ~fYAiw~RsrttNG                                                                                                ~~oa. -:<%                             ·me ,                                                       1· ' ·H> inr·              ,. ...,,, · ···· ·                                       '
                             :J
                             <t>     ~'1--···-            - -'-······ii;·i~ZG. ...........~--·· ·--t--                · ····----t-··i\ioT···· .      2~6                                                                ~;cis:;3,                                                                                       -~~ ;· ·.      --···--y--···· ;;; '. ........;;; !"'-·······--·-~-,
                             3I      ~21or··--··· ··-······pu·~1Pii:i~.1oo"'·····--··"·~r··-····       ·······
                                                                                                             s gm'~:ii~         D~i6-··4-·······
                                                                                                                           ......               ;,Tf'u'iiG···· ·--r---~1~i"···-1---;:.:'./······4-··· ·········I
                             0       f., ·· ·                                  o          . ,.,.,,, _.. ...    ••~,eM"             • tt    ·   · au·,ow x :(wo      ?M¥',....            ··,s;9.11~        i!IS :                  Mttt "rtr«(O              t       t ~o           •       •"ISS: .   ,·ou, ::::   et · 0~>0iGru~ · •o1c. 1                  1     t          ~~~l'W»'>Y•"N:-..~»it,~..,__..,0...,~,&
                             0
                             0                                                                                                                                                                                                         9 of 11
                             --.,J
                             I\)
                             .i:,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 36 of 81 Page ID #:6096




                             .:,.
                             w
                                                                                                                                                                       R F Q # 2 / MC / EST/ 2015-2016
                                                                                                                                                                         ;                    •    O   ... • . · ,,,., ._.,,. ....
                                                                                                                                                                                                                                 ~ ....   <   •_,_ . . . _ . . . . . . . . . . . . . . . . . .• , ( •. •.-..-..•.".... , , ..•       ~•'-".,.•C•. , " -"~ • - .:0.
                                                                                                                                                                                                                                                                                                                                 1....                               •   J,, '•   "• • ~---• .:• •     h..V,,oo•,>!.. .• . · • -•-~•H ','h",   t.... ,,,,..,::.•.•.A :• • ·, ,i • ,, ,• _-,.,•   u , ' · . •. •   l    U•.. \.~· ,•, 0 . ·,, ,   ae;.

                                                                                                 ,lj~rr,,r:~-iii::?~ij:ti:i!~J,i:j~{iliiiit1~~1i!li                                                                                           1
                                      l11                                          i~.~~_ke, left                                  I ,- · -       ·····--                                              $$4l ~il~~-~                                                                                                 ·---'.           -~-·l·"         V~?.,J~}'.~fL,,,n·-··-··j... ___i~-----···t.~. . .                                                                                -q(~~-r=~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               :.-~-.J
                                                                                                                                                                                                        327,12.6                                                                                                                                                             ·        ;:       i                                                                                                                                                   ~
                                                    i1 ·····- ---·······}VIANfOLO,
                                                                               GASitH                                                                                                                                                                                                                                                        300     V42 EHG                                            :,:l'                                                                               1
                                      113 t.                      .............                          ~······--~:i°C;;- -~··..····--                                  t··-
                                                                                                                                                                         _
                                                                                                                                                                             -                                   i'i'o~oi·                                                                                    ·-·                          rnm~·--t-~~f''fff-!G
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                    -  ..·-·---t-s°i·····-}·---··-IB·
                                                                                                                                                                                                                                                                                                                                                                             _                  .
                                                                                                                                                                                                                                                                                                                                                                                                              ..                                                                                           -r-.• . . .- . -·- ----~I
                                    1 214 t -                               -·· . .                               ~t~;;-·           -........                            i ....._......_                         1so.0I                                                                                      .... ..1.. iooo                                         r. -.                v1 ~;'"Eifri--·-w·1.....                                     ·~ ·r . .ii. ·--,-·--· ··-· ···· --·-1
                                    t~lS   ' -~:.: = --.   ~-:-·:--;;;;;c=--.__ : -                                                                                      ! -··=·                                l~_:t< -·-                                                                                 --~-1=v· f:fF!L-tJJ~~-C:~~==1=~=1
                                    I :;?~ .L---·········-                                     g~.~-f.~.-'.:r.:ci~pm P~~:K.......                                  --···-'-···--·-                               ,h5--3~,                                                                             .                          H~~--.~--Y.~: ;(:,./}~G ____;·-----··~-~·-i-·----·--~L...J __________1
                                                                                                                                                                                                                                                                                                                                                                                               1
                                    i  ~i~ f---·-·- · · ·· ··~ t-~iiT~7:~·-v
                                                                           At.v~                                                                               --·-----t-··--                                                --·--0~'"·~-~~                                                                                      1s~o-·····:            --··+·· - !! ---l--····}[·-l-·: :~~.:.___i
                                    ' . 279                            ruii'.--OfOlt. SUPP!_.Y-TO.CAM5HAIT..·~                                                           J             ,--·---B00..5201~i2~"1
                                                    I -·---
                                                                                                                                                                                         a;~~:}tf::~~~1t·· ·---r-so-t·-----------vl)~E.Na·---···--.,--··
                                                                                                                                                                                                                                                       ;;·:~ -·--·i- ·~1--·····r----·-········· ·1
                                    . ~-.,- ~ -ilioi<i"tiEANtR'fiinRTol'o -----··- 1                          ioo-swr..ot-s"1--t"M,,-·${)--A 1 ··-\:;s··iNG-····---T··· $!~--· r· J t~ ···r····-·-:~i"····-·1-
                                      ~ --t----·---· · ---·- ··----·-·-------·. --···---·-----·--··· -~·---·--•••-••----·---..--- --..      •-+-···--""-V"•--··-··- ·--·,·---·-·-----••••• -+---·-·---••• •---·--l••-•-••••A•:-f                                                                       •••"•- •V~ , • - . -
                                    ~ - -·-                                                     .             run£                                                       :                         soo. .5n-4101s                                                                                                                1              $0                       1                 V6 ENG                                              :            s~               l            .;; "J.                  ;             :1::              ~

                                    1-i:}t-· =· ··:~I~[~:~:
                                                  - ·- ·-·
                                                 ----·   . ·-·-
                                                                --·. ·- ·- -·- 1--::   :~ii~::      - -- .f ~~ +-=·t~~-
                                                                                                   . -------·-·----·-;-;;-i---··-····
                                                                                                                                                  : ;1 l :: :1
                                                                                                                                      ·-·"--·- ---·· ····---·········-- ..........--·-----···-····-· ----· -!
                                                                                                                                                                                                                                                                                                                                                                                                                                   =r                                                                   +-:, :
                                                                                                    lNJf.CTION !~6€                               .-•m• __,.___                                     ~U:lJ--5?,H•~4S                                                                                                                                                                         Vi::,_                                                                       ._.j.. ...                                                                f:
                                    IJ 23~ .l__ ·······--                      .! ..... ...· - - -           ·--·!··-···•~-~--------· ,EN_9.:_,_"·······-·-·~:L ___ -.::.-~L.,•,•=v-v.,. _,_ _
                                     ·.~--·----·---·-···                                            1.~~§STlON ·w,~-~-···                                               -~---                       soo._5.~r.-05s ---··                                                                                                         t              .S~>____ -" l                               V_§_f:~~~G --····----~---····· ':':___ ~,,-.....~~ ---J~                                                                                              -I
                                    ., }_~~--l--•m-,----!~?.~s·noNJURE................_·----··-·· i. ... _                                                                                         ioo~s.~.3T-~S                                                                      -,.....              __:.,_J~--····]!.·M-------~?..,,,§~,····-··--··J·"-'"~"..-,. ..-..1....               -t                                                                                       <t<.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,      ' " - ~ . . . . . . . . . . . . .. . . .




                                    -, ll11 '                         A-€-SU.-1                   l                                                                                                5-51,H)t~S~:1.30                                                                                                 J'   ZZJ                  AH.>5-SJ               ·i :,         I t, j            j                                                                       f
                                        ise-r-· - -·- - PAO,f: ~ GINE
                                                                 lOWf.R, fRONr -·---· ·-·· ·-=1=···       ·-''                                                                                     6S{NJ1-s°i1~1                                                                                           ~----·········100 (··---·········· A.1C -fi- -- .·---·····1!: i ··--i;1r-i-----·----.--.. ~
                                     ,,..                     -~.......                   ------······-- -----· ····--                                        ----·-"                                         ·-····                                                    -·---···-·"· ·-···----·----·-··-~· -··-·-·'                                                                                                       ------·- ~ ,........ -r---·---·-·······t-"------··----·-1
                                                                                                                       1                                                                                                                                      9
                                            ~!                                            ~ ~N
                                                                                             A
                                                                                             .•             ~·o~ ~sts"t..                                  ··-·-······ .                          --~s?!f·1~f!!!
                                                                                                                                                                         !                                                                                                                                                                                                                                  -;;,                               ,          ,0.. ..... /       ;          "'"".
                                            ~   ,                                                   ~to: ...no        1      ~                                                                              '3V
                                                                                                                                                                                                              .,;:,,o ~          ~
                                                                                                                                                                                                                                                                       =---· ····· !'. /.,.. !               A ~ <i. ...
                                                                                                                                                                                                                                                        -··· · ·· ···+-~~2~---·····t·..-{'?~------!----···-·····---1t                           ~~~·· · - .i ---·~·J:~:·:~




Ghanem_Sentencing_00000677
                                    - .-i:.91.,,
                                    aI ·                             --·---·-- ----··r,iiiiM, r.'<SSY --······                                                 -·--·- r-                             tfs0-14·SBl1i°-·····    i -i~i' ! -·------ATC•ii~i-··-····--··r------i.so·-----··ia~·· -,---·--·-···-··--1
                                    t"'~~:·+- _,._ _                                           - -· ·-      covrn.......                                ·······:         J                        ...._6S<t·14-1a·······-·-=r-···;·~ -..-·-~ssi--------·-r-····1&-t·-:-·-3s&·-·+-·--····-------t
                                    ~                                             -········                 .,.        ---       --··-----·-··· -                            ·--···                            - --:-·······-·                                                                                  --·- ·                           -~ -~.. --··                                      . ··--·.::·..- ----·y-···-··:--;:--1··----.--·:..-1------------·-··-I.
                                            ~.L                           · -~or<J:~~~,~iN,Ne                                                             ~~=-L                                                                                                                                                                                                                                                                                                             !·1.WL.'.=::J
                                            :lS                                                            P!PE ASS"l                                                    J                         (lSO-l S·SB1t2                                                                                                                :              !>U                                              1'Gx5$                                        i          1                                                        i                              i
                                                    i
                                                                                                                                                                                                  -·tt:~t!l.:_ :-r..;~_:;-i ;}~:~:
                                                                                                                                                                                                                            -~
                                                                                                                                                                                                                                   _:t ~;::-I                                              / 40$
                                    ¥z9(i···' ····-•--.--··-------····~iP'f AS5Y ·-····---··---·----·-·····- ---·-r-·-···----~ 6~0-1s:saiis                                                                                                                                                        411--~··---,---······-·-··-1
                                    ~ 291           l ······--·········---------P.iPi.'"issv---·---·---•A                                                                                         ...SB143
                                                                                                                                                                                                                     ·-r-·"io_ _. ,··r·····--··-·--·--~tC-5ii""'-"''''--"-·t~·~;·-·----r----
                                                                                                                                                                                                                -w·-·t-··. so r----·····-~TG-~-;_;------·········-·1 ~i~-;--····r--··;15 - ~;-----··········------..:,
                             (j)
                             ::T       2.98         l --------······ · ---- -PiiiG_"____ --                                                         . --·""
                                                                                                                                                                         II ,--·- ,,___6Sl.J:.lS
                                                                                                                                                                                         $'"0-21·.:;.;------ ----·-··---r-·----~;t)····--z-·--/rf~,~,.                 -·---r ·····-~+------:·99~:- - --r·· ..• -.......-1
                             n>                                                            H,,,_ ________ ,,,...........
                                      ...... . . . . . -r--,-.. . . . . . .....,............                                           ,.,.; ...,....                     1 ,.,.,)..      ::). ..,.,.::_                                           ,s..                                              c;,, . . . . . . ,0,,.,,,-,.
                                                                                                                                                                                                                                                                                           1... ... ___             ~---···· ··i                ~                        ~. ........... ,_:.:;,.........:::::::~::~ .......................-~..::.;: ~.......                         ~             4:.._:.~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,.   ......~.....
                             ::I                                                                                                                                                                                                                                                                                                                                         1
                             <I>    .: zgg i                               ?t ?EA55Y                                                                                      I            65()-ll, SS241                 1 so                         lf.·c.ss                ; 7.                    62{)                        f                                                                                                                  i4          '
                             3I     !,········--·· - .----·-·······-·····- , - - _·-·-·               -~--···                                                             '                      -- -------·- · · ···~--,···J----                       · · ····-·--·     -,. . . · · ·-·- ~---------··· · ·--·"'-·---,
                                    ~  :ieo      1                                    HMm ASSV                                                                            j            SS0-24,SB1.Sl                  j so                         t.\ Yc.1s                        n:.G. 1 a1::. ·                            i
                                                 i,,:                                                                                                                                                                                                                                                                                                                                                                      :9'KSf~~~~"°';
                                    b ·r ·
                                                          Wffl · ROAD R¥GHT   •  t > ~MIMWM< :cc 1:WM OW»:                                                         ~         :Htmu+w S>....                                          w                                                                 (                                 · ~1',;0*1 :i :f 1 0# ''9" ...,,)»C;Co=em:·i: e:a a                                                                                             o);                      ~a,~~....." ' 1 ' ~
                             0
                             0
                             0                                                                                                                                                                                               lOofll
                             -..J
                             I\)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 37 of 81 Page ID #:6097




                             ~
                             ~
                             w
                                                                                                        R F Q # 2 / MC/ EST / 2015-2016

                                      ='- T~,:~1~                          ~~·;,'.t"l'~i"'w;"',"~'.,~,. .~,. .
                                                                                                            r----~
                                      301 I                      GASKET                                                                                            371   1721
                                                                                                                                                                   371
                                                                                                                                                                         - -
                                                                                                                                                                         1691
                                      302    i                 STRIP GLASS                                                         100    l      A TC-59
                                      303 I                   STREP EDGI NG                                       650-29-488       100           ATC-59            371
                                                                                                                                                                         --
                                                                                                                                                                         1692
                                      304 I                    SAPPORT ST                                        650-31--58291     SC            ATC-59            417
                                                                                                                                                                         --
                                                                                                                                                                         1056
                                      305    !           SWffCH , TYPE B-45M                                     650-35-SB163      100           ATC-59            468   1214 '!;
                                      30«n                  UNIT CABEL                                           650·3S·SB424      so            A TC-59           470   1263 '~
                                      -   -:                 - -- -                                                                                                                        ~
                                                                                                                                                                                           \I
                                                                                                                  712-10-1<278     50            A TC-59           S02   1262 i
                                                 - - - - - -VOLTAMME
                                      307
                                      308                   RO PE, WIRE, A5SY                               :,   712-27-S8137      200           ATC-59
                                                                                                                                                                         - -
                                                                                                                                                                         1410
                                      309                SHACKLE, TOWING ASSY                               '    712-27-SB183      200           ATC-59
                                                                                                                                                                         -1412-
                                      310                    EJECTOR, RIGHT                                      668-07-SB104      50
                                                                                                                                                    - -
                                                                                                                                                  ATC-G
                                                                                                                                                                         -105-
                                                                                                                                                                                  l
                                      311                     EJECTOR, LEfT                                      668--07-58105     so             ATC-G                   106     r
                                      312                      PANELASSY                                         668-35-SB13S      20             ATC-G            595   1324
                                                                                                                                                              .J                           ri
                                      313                    SET PANEL W IRES                                    668,-3S-SB147    ! 00            ATC-G            599   1328              :i
                                      314              P5TO N RING OF THE 1 ST.STEP                               AKlS0-017       1000        AK-150S COMP                T-3         3     '
                                                                                                                                                                                           ·I
                                      315              PISTON ·RING   OF THE 2 nd.STEP                            AKlS0-018       1500        AK-1503 COMP                T-3         4    U
                                      316                     SCRAPER RING                                        AKlS0-019       1000        AK-150 S COMP               T-3         sJ
                                      317              PISTON RING OF THE 3rd.STEP                               AKlS0-020        1000        AK-1 50S COMP               T-4         ~
                                      318                      PISTON RI NG                                       AKlS0-021       1500        AK-150S COMP                T-4         .q
                                      319                     SCRAPER RING                                        AKlS0-022       1000        AK-150S COM P               T-4         5
                                      320                     SCRAPER RING                                       AK150-071        1000        AK-1 SOS COMP              ·T-4         G




Ghanem_Sentencing_00000678
                             G)
                             ::r
                              ll)
                             :::,
                             <D
                             3I
                             0
                             0
                             0
                             ...._,                                                                                   11 of 11
                             I\.)
                             ~
                                                                                                                                                                                                Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 38 of 81 Page ID #:6098




                             ~
                             w
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 39 of 81 Page ID #:6099




          RFQ Data:

          RFO No.:

          Washington            London       159 Paris      151 Berlin       195   Rome        158
          Pyongyang             Tokyo              Madrid   134 Pretoria           Prague      132
          Bucharest       124   Beijing            Seoul         New Delhi         Ankara
          Islam Abad            Moscow       135   Athens   81   Brasilia          Abu Dhabi   110
          Rabat                 Riyadh

          Issuance date:        08/10/2015
          Closing date:         25/11/2015




                                                                                               Ghanem-00072443
                                    Ghanem_Sentencing_00000679
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 40 of 81 Page ID #:6100




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        646

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000680
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 41 of 81 Page ID #:6101


   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Thursday, October 29, 2015 11 :04 AM
   To:                            JBL <jbl777@gmail.com>
   Subject:                       RE: SOPMOD Para Rifle 5.56X45
   Attach:                        166.pdf; Procedure of doing business in Egypt .docx




   Dear Jean,

   It was good talking to you and hoping to for us to start some business in Egypt
   soon, for now please see attached file concerning the tender for Egypt, also I added
   one more file for the procedure of doing business wilh the armed forces in Egypt.

   As this is a small tender, please try to work it out for us to start doing the business
   with the customer.

   Thanking you in advance.

   Best Regards




   6fl&NIIJJ , f t , ~ - /6,r.B/
   11 Aflaton Street. lsmailia Square. 5th floor.

   Heliopolis. Cairo. Egypt.

   Office : +20224157990

   lternatlonal Mobile #: +37282432246
   Telephone# +201127999552/Viber, WhatsApp/MyChat

   US Telephone:+ 1 772 675-4363
   ~mit_~!llail.com
   Skype Address: caravaname


    The lnformation contained i"I th s m!ssage is for the lnteided addressee on1y and may contai n confidential and/or prl\ilegtd Information. If you art not the Intended acdre~see. this: mess.ate w ll self destruct so
    notify the sender; do not copy or distribute this mes.sage or d sclose its coiterts to anvone. Any views or opinions expresse1 in this me~age are those d the author and do 11ot nece;sar ly repre:->Cnt tho;e of CWE or
    of i!tflY d its associated companies. No reliance may te plicec on i hls message wtthout writter conf1rrratk>n from an autho·tied represema:lve of the company.




   From: JBL [ma ilto:jbl777@gmail.com)
   Sent: Thursday, October 29, 2015 6:34 PM




00074130.pdf                                                                                                                                                                                 Ghanem-00072443
                                                                              Ghanem_Sentencing_00000681
 Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 42 of 81 Page ID #:6102


To: JBL <jbl777@gmail.com>
Subject: SOPMOD Para Rifle S.56X45

If your are interested by a complete SOPMOD upgrade kit for the
Galil or any assault rifle, we can offer you a Z-Rail conversion kit. No modification required
to the rifle. It takes about 5 minutes to install it including the option for the
M203 rail option.

See attached dcoument

Rgds

The Hon. Jean- Bernard Lasnaud

General Equipment Co.
Fax:+33821463077
Email: jbl@generaleguipment.info

Chat & Phone PC to PC free:
Skype: jb-lasnaud
MSN: jblexp@hotmail.com
Gmail: ibl777@gmail.com
BBM: 58E32D07

US State Department Arms License: K-5943

Visit our website: www.generalequipment.info




                                                                                   Ghanem-00072443
                                     Ghanem_Sentencing_00000682
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 43 of 81 Page ID #:6103




                                    RFQ

                     REQUEST FOR QUOTATION



     QUOTATION REQUEST FOR:



               ASSAULTRIFLE CALIHER5.56X45MMFULLY                   1
               AUTOMATIC INCLUDE THE PICATlNNY RAIL
               ADAPTER AND MAGAZINE SET ( 4/30 ROUND
                l\'.IAGAZINES WITH CONNECTOR), RED DOT
                    SIGHT , TACTICAL LASER AIMING AND
                       TACTICAL LIGHT lLLUMINATOR

      TI-TIS (RFQ) CONSISTS OF:

          SECTION 1: GE~RAL CONDITIONS
          SECTION 2: TECHN1CAL SPECIFICATIONS




       SIGNATURE(                     )
       MAJ. GEN STAFF I ROSHDY ABDELHANflD ABDELAZIZ
     DIRECTOR OF AR.MAMENT & Ail1MUNITI0N DEPARTMENT




    00074132                                            Ghanem-00072443-0001


                           Ghanem_Sentencing_00000683
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 44 of 81 Page ID #:6104




                                          SECTION ·1
                                     GEN.KRAL CONDITIONS
     1.1 - SUBJECT:
     A.R.E invites the recognized manufacturers Lu bid for supplying cgyptian army with:
      assault rifle caliber 5.56 x 45 mm fully automatic include the picatiIU1y and magazine set
      ( 4/30 round magazines with connector), red dot sight, tactical laser aiming and tactical light
     illuminator in accordance with the following scope and rey_uirements.
     1.2- SCOPE:
     This request for quotation (RFQ) to provide the Government of EGYPT (GOE) with :
     assault rifle caliber 5 .56 x 45 mm fully automatic include the picatinny and magazine set
      ( 4/30 round magazines with connector ), red dot sight, tactical laser aiming and tactical light
     illuminator acconling to the list ofthc required items as per SECTION 2 (Brand New).
     1.3-GE~ERAL CONDITIONS:
          1.3.1 - The offered weapons must be in conformity with specificalion::; in section 2.
          1.3 .2 - The quotati on should include the following:
                 1.3.2.1- Full Ledmical and tactical specification of assault rifle caliber 5.:S6 x 45
                           mm fully automatic include the picationy and magazine set ( 4/30 roun<l
                           magazines with connector ), red dot sighl, tactical laser aiming and tactical
                           light illuminator according to military specifications.
                1.3 .2.2 - Year of production of the offered weapon.
                1.3.2.3 - Time of delivery.
     1.4 -Assault rifle caliher 5.56 x 45 mm fully automatic include the picatinny and magazine
           set ( 4/30 round magazines with com1c:c:or ), red dot sight, tactical laser aiming and
           tactical light illuminator should be manufactured According to a military standard.
     1.5 - MECHANICAL CONDITIONS:
            Assault rifle caliber :S.:56 x 45 mm fully automatic i,1clude the picatinny and
            magazine set ( 4/30 round magazines wilh com1ector ), red dot sight, tactical laser
            aiming and tactical lighl illuminator should withstand all tests (Environmental - Safety
            -Pt:rfonnance - Firing ... etc) according to a military standard. Test Procedures for the
            weapon should be stated.
     1.6 - The quotation should he submitted in original aml three copies in English language and
            should be Valid for at least 6 months after closing date.
     1.7- The delivery should be within 6 months after signing the contract.
     1.8 - Closing date is: / /
     1.9- Contracting articles: ASSATJLT RlFLE CALIBER 5.56 X 45 mm FULLY
           AUTOlVIA TTC WITH ACCESSORIES.
           1.9.1- Delivery: the Sllpplier undertakes to supply FCA.
           1.9.2- Warranty: A warranty against any defects for all supplying items should
                  be offered.

                                                                                                           ,


    00074132                                                                  Ghanem-00072443-0002


                                     Ghanem_Sentencing_00000684
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 45 of 81 Page ID #:6105




     J.10 -   REQUIREMENTS:
              1.10.1- Operating temperature: -10 to+ 55 deg. centigrade.
              1.10.2- Corrosion: The supplier slwulJ cettify that the materials, processes, coating and
                     finishes used in the weapon resist corrosion in conformity with military
                     standards. The supplier should state accepting treatment of any rusty items,
                     during 5 years period of normal operation, on his expense.
     1.11- DOCUMENTATION:
           1.11.1- Technical manuals.
           1.11.2 - Maintenance ~md operation documents.
           l.11.3 -Test and repair documents.
           1.11.4 - A copy of the :MIL. STD. of testing (Environmental - Safety - Performance -
                    Firing ..... etc) of the required weapons and its main components inch1ding the
                    evaluation criteria.
     1.12-TRAINING:
              No training for Assault rifle caliber 5.56 x. 45 mm fully automatic include the
              picatinny and magazine set ( 4/30 round magazines with connector ) , red dot sigh,
              tactical laser aiming and tactical light illuminator is required
     J.B-TNSPECTION:
              l.12.1 - Inspection should be witnessed by (3) Egyptian representatives for (7) days at the
                       company site.
              1.12.2 - Inspection must be according to the military standard including test and .firing for
                       (Environmental - Safety - Performam;e - Firing ... etc).
     1.14-CERTIFICATE OF ORIGIN:
          Certificate of OEl\'I "Original Equipment Manufacturer" :MUST be submitted for all
              contracted items.
     1.1s - SPARE PARTS:
            A Guarantee of Continuous Supply with Logislil.; Support (spare parts) for at
            leasl 10 Years.
     1.16-TAXES & DUTIES:
              All due charges at the seller country will be born by the seller & in-country charges
              will be born by the buyers.
              Payments: according to contradiug terms.




    00074132                                                                      Ghanem-00072443-0003


                                       Ghanem_Sentencing_00000685
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 46 of 81 Page ID #:6106




                                             SECTION2
                              TECHNICAL SPECIFICATIONS FOR
       ASSAULT RIFLE CALl.B.EH 5.56 X 45 MM FULLY AUTOMATIC INCLUDE THE PICATINNY
       RAIL ADAPTER AND MAGAZINE SET ( 4/30 ROUND MAGAZINES WITH CONNECTOR},
        RED DOT SIGHT, TACTICAL LASER AIMING AND TACTICAL LIGHT ILLUMINATOR
      2.1-SCOPE:
               This request for quotation (RFQ) to provide the Government of EGYPT (GOE)
                with Assault rifle caliber 5.56 x 45 mm fully automatic include the picatmny
                rail adapter and magazine set ( 4/30 roun<l magazines with coJU1ector ), red dot
                sight, tactical laser aiming and tacfoal light illuminator(Brand Kew).
      2.2 - PRODUCT QUANTITIES:

       [E£]                                                                                II QTY.
       D                                   DESCRIPTION
              Assault rifle caliber 5.56 x 45 mm full)' automatic include the picatinny
              rail adapter and ma2azine set ( 4-30 round ma2:azines with connector
                                                                                           6
       [TI Red dot sight                                                                     280
       [TI Tactical LASER       aiminl?:                                                     280
         4    Tactical light illuminator                                                     280

         5    Recommended spare parts list is required.

              Sample model for all items must be shipped to be tested and accepted as
         6
              acondition to put the Contract in eUect.

     2.3- TID', QUOTATION MUST INCLUDE THE FOLLOWING:
          2.3.1- Specification Assault rifle calib~r 5.56 x 45 mm fully automatic include the
                  picatinny rail adapter and magazine set ( 4/30 round magazines with connector)
                  as follows:
     No.                            Data                                    SPECIFICATION
      1                         CALIBER                                       5.56 X 45
      2                        OPERATION                                  Fuily  Automatic
      3                       RATEOFFTRR                               Not :ess than 900 r/min
      4      TOTAL LEKGTH WITH BUTT UNFOLDED                                    85 CM
      5        TOTAL LHNGIB WIIB BUTT FOLDED                                    65 CM
      6               Vi7EIGHT   (Wilhuut Magazine)                    Nol more than 3.50 kg
      7                 ¥/EIGHT (Wilh Magazine)                         Nol more than 5 kg
      8                   l\.fUZELL VELOCITY                         Not less than 940 m/second-
      9                     EFFECTIVE RANG                            Not less than 400 Mder
     10                     MAXIMUM RANG                              Not less than 1500 Mt:.:ler
     11                 NUMBER OF GROOVES                                          6
                                                                                                     I
     12                        Firing modes                         Smgle/Burst / Fully automaLic_




    00074132                                                             Ghanem-00072443-0004


                                  Ghanem_Sentencing_00000686
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 47 of 81 Page ID #:6107




          2.3.2- Red dot sight for Assault rifle caliber 5.56 x 45 mm fully automatic shall
                conform to Military Standard (Mil-STD-81 OF) and supported with the following
                specifications:


           No               Data                               SPECIFICATION
            1   Al.MIN (j DOT                                    3.5 -7MOA
           2    DOT TNTRN8ITY                      Auto adjust and manual up to 4 settings
           3    INTERFACE                                 Fits existing sight mounts
                OPERATING
           4                                                    -40 • to +55"
                TEMPERATURE

          2.3.3 TaGli<.;al Laser aiming module for Assault rifle caliber 5.56 x '15 mm fully
                automatic shall conform to Military Standard (Mil-STD-8 1OF) and supported
                with the following specifications:
           No                Data                              SPECIFICATION
           1    LAS.ER l'OWER / TYPE               6mw IR (835nm) / Smw visible (635nm)
           2    BORESIGHT Al>.TUSTABLE                         Must be exist
           3    MOUNTING BRACKET             Interface mounts with different submachine mounts
           4    ENVIRONMENTAL TESTS           According with mililary standard (MIL-STD-810F)
                OPERATING
           5                                                    -40 ° to +ss•
                TEMPERATURE


          2.3.4 Tactical "'light "illuminator'' for Assault rifle caliber 5.56 x 45 mn1 fully
                automatic shall conform to Milit11ry Standard (Mil-STD-810F) and supported
                with up to 125 peak lumens / l hr runtime




                                                                                                 ,




    00074132                                                             Ghanem-00072443-0005


                                   Ghanem_Sentencing_00000687
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 48 of 81 Page ID #:6108




                                          RFO
                         REQUEST FOR QUO'f_A'fION


       QUOTATION REQUEST FOR:


           FULLY AUTOMATIC PISTOL CaL9xI9mm
           COMPLETE WITH ACCESSORIES



           THIS (RFQ) CONSISTS OF:

            SECTION 1: GENERAL CONDITIONS
            SECTION 2_: TECH1\fICAL SPECIFICATIONS




         SIGNATURE (., ., --               )
         lvJAJ. GEN S1:4FF I ROSHDY ABDET..HAM.ID ABDELAZIZ
       DIRECTOR OF A l?MAMENT & AJ,!JNJUNJTION DEPAR.TMENT




    00074132                                                Ghanem-00072443-0006


                               Ghanem_Sentencing_00000688
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 49 of 81 Page ID #:6109




                                               SECTION 1
                                           GENERAL CONDITIONS
        1.1 - SUBJECT:
            A.R.E invites the recognized manufacturers to bid for supplying egyptian army with:
            Fully automatic pistol cal.9x19mm complete with accessoriec; ir accordance with the
            followine scope and requirements.
        L.2- SCOPE:
            This request for quotation (RFQ) to provide the Government of EGYPT (GOE) with
            Fully automatic pistol cal.9x19mm complete with accessories (Brand New).
        1.3-GENERAL CONDITIONS:
             1.3.1 - The offered weapons must be in conformity with specifications in section 7..
             1.3.2 - The quotation should include tlie following:
                    l.3.2.1- Full technical and tactrcal specification of Fully automatic pistol cal.9xl9 mrr.
                             complete with accessories according lo military specifications.
                    1.3.2.2 - Year of production of the offered weapon.
                    1.3.2.3 - Time of delivery.
        1.4 - Fully automatic pistol cal.9xl 9mm complete with accessories should be manufactured
               according to a military standard, the military standard for this weapon should be
               specified.
        1.5 - MECHANICAL CONDITIONS:
               Fully automatic pistol cal.9xl 9mm complete with accessories should withstarid all tests
               (Environmental - Safety - Performance - Firing ... etc) accor<ling to a military standard.
               Test Procedures for the weapon shoukl be stated.
        1.6 - The quo:ation should be submitted in original and three copies in English language and
               should be Valid for at least 6 months after dosjng date.
        1.7- The delivery shoulcl he within 6 months after signing the contracl.
        1.8 - Closing date is: / i
        1.9- Contracting a1tkles:             FuUy    automatic pistol caJ.9xl9mm complete
                                     wHh 2cccssories.
              1.9.1-.Delivery: the supplier undertakes to supply FCA.
               1.9.2- Warranty: A warranty av;ainst any deftcts for all supplyilllg items should
                      be offered.
        1.10-_M_QUIR.EMENTS:
                1.10.1- Operating tempe:-ature: -JO tr.+ 55 deg. centigrade.
                1.10.2- Corrosion: The supplier should c..:c:rtify that the materials, processes, coating and
                       finishes used in the weapon resist corrosion in conformity with military
                       standards. The supplier should sta~e accepting treatment of any rusly items,
                       <luring 5 years period of normal operaliun, 011 his expense.




      !__------------·-------------·-··------·-·---------·-

 I

     00074132                                                                         Ghanem-00072443-0007


                                       Ghanem_Sentencing_00000689
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 50 of 81 Page ID #:6110




      1.11-DOCUMENTATION:
               1.11.1 - Technical manuals.
               1.11.2 -Maintenance ~md operation documents.
               1.11.3 - Test and repair documents.
               1.11.4 - A copy of the :MIL. STD. of testing (Environmental - Safety - Perfonnam:e -
                        Firing ..... etc) of the requireu weapons and its main components including the
                        evaluation criteria.
      1.12 -   TRAINING :
               No traiuing for Fully automatic pistol cal.9x19mm is required.
       1.13   -INSPECTION:
               1.12.1 - Inspection should be witnessed by (2) Egyptian representatives for (7) days at the
                         company site.
               1.12.2 - Inspection must be according to the military standard including test and firing
                         for (Environmental - Safety - Performance - Firing .. .etc).
       1.14-CERTlFlCATE OF ORIGIN:
               Certificate ofOF.M "Original Equipment Manufacturer" MUST be submitted for all
               contracted items.
      1.1s-SPARE PARTS:
           A Guarantee of Continuous Supply with Logistic Support (spare parts) for at
               least l OYears .
      1.16-    TAXES & DUTIES:
               All due charges at the seller country will be horn by the seller & in-country charges
               will be born by the buyers.
               Payments; :according to contracting terms.




                                                                                                         .   ,




    00074132                                                                  Ghanem-00072443-0008


                                      Ghanem_Sentencing_00000690
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 51 of 81 Page ID #:6111




                                                     SECTION 2                                                    ...._,..       Ir       , ~

                                              TECHNTCALSPECIFICATIONS
                                                                     FOR
                           FULLY AUTOMATIC PISTOL Cal.9.x:19mm COMPLETE
                                       WITH ACCESSORIES
       2.1   -_SCOPE :
                      This request for quotation (RFQ) to provide the Government of EGYPT (GOR)
                 with Fully automatic pistol cal.9x:19mm (Brand New).
       2.2 -PRODUCT              QUANTITY:
       ,/No. I                  ---D;;;;~N .w-----·-··ro;;.-l
                              ------
        [i_J FulJ;::;:::~;;istol c;i.9x19mm ::;:;~:;;~::;:-·~----I -;,~
        GJ~~~~:-;;----~-m-w,--~----•1                                                                                                                 65 I

             3    Sho:i~;;::;~;:----                                                --------,--1-;;-
         GENERAL SPECIFICATIONS
            1- Caliber:                                              9x19mm.
            2 - Operation                                            Fully Automatic/ Semi Automatic
            3 - Rate of fire :                                       Not less than 800 r/min
            4 - Finish:                                              Black
                 5- Weight (Without Magazine) :                       ~ot more than 0.650 kg
                 6-Magazinc Capacity:                                19 Rounds/ 33 Rounds

             4    Recommended spare parts list is required.
                  Sample model for all items must be snipped to be tested and accepted as a condition
             5
                  to put the Contract in effect.
                                                         -·-·--~~-DM.J'aa--·lllQm!IG!ft.&.e/......
        _ _ _ _, _ _ _ , _ , . . _ _ _ _ "na,-iaa-lbl--...                                       ~   ...
                                                                                                       'l!,dltl"'3,ll-l,-.J-llfl(J.-'Ulf:..»llll"\01-lfl.-JW/w,I~




    00074132                                                                                         Ghanem-00072443-0009


                                              Ghanem_Sentencing_00000691
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 52 of 81 Page ID #:6112




         012ÿ45657
         012ÿ897
                               !"
         ##        $%#     &       ' (
         ') " * "+ ,'        -.ÿ0 1%
         2 ÿ13         &).     1            13'ÿ03
          3            #
         45565789ÿ:5697 ;+<;"+(
         =>95?7@ÿ:5697 ;+;"+(




    00074132                                            Ghanem-00072443-0010


                           Ghanem_Sentencing_00000692
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 53 of 81 Page ID #:6113




   WƌŽĐĞĚƵƌĞŽĨŚŽǁƚŽĚŽďƵƐŝŶĞƐƐĂŶĚƐƵďŵŝƚŽĨĨĞƌĨŽƌƚŚĞŐǇƉƚŝĂŶƌŵĞĚ&ŽƌĐĞƐ͗
      x ZĞĐĞŝǀĞĂŶZ&W
      x WƌĞƉĂƌĞĂĐŽŵƉůĞƚĞƚĞĐŚŶŝĐĂůŽĨĨĞƌĂŶĚĂĨŝŶĂŶĐŝĂůŽĨĨĞƌ;ŵƵƐƚďĞŝŶϮ
         ĚĞĨĞƌĞŶƚŽĨĨĞƌƐͿ
      x /ŶƚŚĞĨŝŶĂŶĐŝĂůŽĨĨĞƌǇŽƵƐŚŽƵůĚĂĚĚĂϮϬйƚŚĞĐŽŵŵŝƐƐŝŽŶŽĨƚŚĞůŽĐĂů
         ĂŐĞŶƚ
      x DĂŬĞĂWŽǁĞƌŽĨĂƚƚŽƌŶĞǇůĞƚƚĞƌĨŽƌƚŚĞĐƵƐƚŽŵĞƌŽŶǇŽƵƌĐŽŵƉĂŶǇůĞƚƚĞƌ
         ŚĞĂĚŶŽƚĂƌŝǌĞĚďǇŚĂŵďĞƌŽĨŽŵŵĞƌĐĞƐƚĂƚŝŶŐƚŚĞŶĂŵĞŽĨǇŽƵƌĂŐĞŶƚ
         ĨŽƌƚŚĞŽĨĨĞƌ;ƉůĞĂƐĞƐĞĞďĞůŽǁƚŚĞĚƌĂĨƚƉŽǁĞƌŽĨĂƚƚŽƌŶĞǇͿ
      x ůƐŽŝŶƐŽŵĞŽĨƚŚĞŽĨĨĞƌƐǇŽƵǁŝůůďĞƌĞƋƵŝƌĞĚƚŽĂĚĚĂŶŽƚŚĞƌϯϬͲϯϱйŽŶ
         ƚŚĞƚŽƉŽĨƚŚĞƉƌŝĐĞƐďĞĐĂƵƐĞŝƚ͛ƐƌĞƋƵŝƌĞĚďǇƚŚĞĐƵƐƚŽŵĞƌŝĨǇŽƵƌĐŽŵƉĂŶǇ
         ŝƐƋƵĂůŝĨŝĞĚƚĞĐŚŶŝĐĂůůǇƚŚĞŶƚŚĞǇǁŝůůƌĞƋƵŝƌĞĚƚŚĞĂŐĞŶƚƚŽŵĞĞƚĨŽƌ
         ŶĞŐŽƚŝĂƚŝŽŶŽŶƚŚĞƉƌŝĐĞƐĂŶĚƚŚĞϯϬͲϯϱϱǁŝůůďĞƵƐĞĚƚŽƉůĞĂƐĞƚŚĞŵǁŚĞŶ
         ǇŽƵƵƐĞŝƚĂƐĂĚŝƐĐŽƵŶƚ͙͙ĞǀĞŶƚŚŽƵŐŚƚŚĞǇŬŶŽǁƚŚĞƉƌŝĐĞƐǁĞůůďƵƚ
         ƚŚĂƚ͛ƐƚŚĞĐŽŵŵŽŶǁĂǇŽĨĚŽŝŶŐďƵƐŝŶĞƐƐ͘
      x ^ƵďŵŝƚƚŝŶŐƚŚĞŽƌŝŐŝŶĂůŽĨĨĞƌƚŽƚŚĞŶĞĂƌĞƐƚŐǇƉƚŝĂŶŵďĂƐƐǇƚŽƚŚĞ
         ŵŝůŝƚĂƌǇĂƚƚĂĐŚĠ͙͘͘ŝŶĐĂƐĞǇŽƵƌĐŽƵŶƚƌǇĚŽĞƐŶŽƚŚĂǀĞĂŶŐǇƉƚŝĂŶŵŝůŝƚĂƌǇ
         ĂƚƚĂĐŚĠƚŚĞŶŝƚŚĂǀĞďĞƐĞŶĚƚŽƚŚĞŶĞĂƌĞƐƚĐŽƵŶƚƌǇǁŚŽŵĂƌĞŚĂŶĚůŝŶŐ
         ǇŽƵƌĐŽƵŶƚƌǇ͙͘/ŶĐĂƐĞǁĞƌƵŶƚŽƚŚŝƐŵĂƚƚĞƌǁĞǁŝůůƉƌŽǀĞĚǇŽƵǁŝƚŚ
         ĂĚĚƌĞƐƐŽĨƚŚĞŶĞĂƌĞƐƚŐǇƉƚŝĂŶŵŝůŝƚĂƌǇĂƚƚĂĐŚĠ͘
      x ĐŽƉǇŽĨƚŚĞĐŽŵƉůĞƚĞŽĨĨĞƌŚĂǀĞƚŽďĞƐĞŶĚƚŽŽƵƌĐŽŵƉĂŶǇĨŽƌƵƐƚŽƉƌŝŶƚ
         ŝƚĂŶĚƐƵďŵŝƚŝƚƚŽĐƵƐƚŽŵĞƌWƌŽĐƵƌĞŵĞŶƚĚĞƉĂƌƚŵĞŶƚ͘
      x sĂůŝĚŝƚǇŽĨƚŚĞŽĨĨĞƌŚĂǀĞƚŽďĞϯͲϲŵŽŶƚŚƐ
      x dƌǇƚŽŽĨĨĞƌĞǆĂĐƚƐƉĞĐŝĨŝĐĂƚŝŽŶƐĂŶĚĂŶǇĂůƚĞƌŶĂƚŝǀĞŝƚĞŵƐ
         
         
         dŚĂŶŬŝŶŐǇŽƵŝŶĂĚǀĂŶĐĞĨŽƌǇŽƵƌƵŶĚĞƌƐƚĂŶĚŝŶŐ
         
         
         


    00074142                                                            Ghanem-00072443


                              Ghanem_Sentencing_00000693
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 54 of 81 Page ID #:6114




            
            

  

  

  dŽǁŚŽŵŝƚŵǇĐŽŶĐĞƌŶ

  ZĞĨĞƌĞŶĐĞη

  
  dŽ͗     ƌĂďZĞƉƵďůŝĐŽĨŐǇƉƚ

           DŝŶŝƐƚƌǇŽĨĞĨĞŶƐĞ

           ƌŵĂŵĞŶƚƵƚŚŽƌŝƚǇ

  ĂƚĞ͗ 

  
  
  
  
  
                                              32:(52)$77251(<
  
  :HWKHXQGHUVLJQHG;;;;;;;;/RFDWHGLQ;;;;;;;;;&RXQWU\
  ;;;;;;;UHSUHVHQWHGE\JHQHUDOPDQDJHU
  ;;;;;;;;;;
  

                                                    $87+25,=(
  *DWHZD\WR(J\SW&RPSDQ\&DLUR(J\SWUHSUHVHQWHG%\0U2PDU$EGHO
  $]L]0RVWDID=RKHLU\WRDFWRQEHKDOIRIRXUFRPSDQ\LQWHUULWRU\RI(J\SW
  GRLQJ WKH 0DUNHW UHVHDUFK VXEPLWWLQJ RIIHUV DQG QHJRWLDWLQJ DOO IRU WKH
  SXUSRVHRISURPRWLQJWKHEXVLQHVVDFWLYLWLHVRI;;;;;;;;;;;;LQ(J\SW
  
  
  3RZHURIDWWRUQH\KHUHZLWKLVYDOLGXQWLO'HFHPEHU0XVWEHYDOXHG
  IRURQH\HDU
  
  



      00074142                                                              Ghanem-00072443


                                               Ghanem_Sentencing_00000694
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 55 of 81 Page ID #:6115




                        $XWKRUL]HG6LJQDWXUHSRVLWLRQ
                        1DPH 6LJQDWXUH 6WDPS
                              




    00074142                                                Ghanem-00072443


                           Ghanem_Sentencing_00000695
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 56 of 81 Page ID #:6116




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            647

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000696
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 57 of 81 Page ID #:6117


   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Tuesday, December 1, 201510:38 AM
   To:                            Dave Daniel Rachimi <armedpi racydefence@gmail.com>
   Subject:                       FW: RFQs Rifle calibre
   Attach:                        166.pdf




   Dave,

   Attached file for one of the requirement for Egypt Armed Forces, please let me
   know.

   Regards




   6116itNIIJI ~" ~ - /6fTE/
   11 Aflaton Street. lsmailia Square. 5th floor.

   Heliopolis. Cairo. Egypt.

   Office : +20224157990

   lternational Mobile #: +37282432246
   Telephone# +201127999552/Viber, WhatsApp/MyChat

   US Telephone: + 1772675-4363
   ramithe@gmail.com
   Skype Address: ~~X~)@.!).!'!.'ll.~

    The information contalMed i, th s m!ssage it for the inte,ded addressee only and may eonb1n conhdent tal and/orprl\ileged fnformatlon. tf you are not the intended acdressee, this mesu,e w II s.elf des.truct: so
    notify the sender; do not copy or distribute this messige or dsclose itS co1terts to anvone. Any views or opinions expressed in this message are those cl the author and do not nece>sar ly represent tho>e of CWE or
    of any d Its associated companies. No reliance may be placed on this mC$$ace without writttr conflrrratlon from an autho·iled representa~lve of the company,




00073093.pdf                                                                                                                                                                               Ghanem-00072443
                                                                             Ghanem_Sentencing_00000697
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 58 of 81 Page ID #:6118



     r- . .                                                                                        ..                                              .
     ;


     I
     !
                                                                    irr.( r ril~'
                                                                    .K ...
                                                                    ~  - ~-,
                                                                           ·~. !L,,.,,
                                                                                      ~,i··                  .t~
                                                                                           l . .... J' .........
                                                                                ....--.,.,.,._
                                                                                                                        nrrr:~--Ql1· ·A>it1·~___• __
                                                                                                                        _                               , (1                  -·~~'§'.{"\l\:(
                                                                                                                                                           . ,,,,......... ,~ .ll
                                                                                                                                                                               , .. .,...~'.J'J.~
                                                                                                                                                                                                ......




                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      'II
                         'u              !
                                            1 N
                          ,-, r\"'~,:r, .....
                             ....•,.... J_,\.
                                              r,
                                               ....) ::
                                                                ~        ,.., £., N'!'j'·• r, , 1 . ( ·,.,.,'I.
                                                          ......1.. ... \ ,J. ., •... .·<..-.1j'-.. !':1.
                                                                                                     .... .•.,
                                                                                                        .,.!:            ) r. ,.{. .r ....,, .''
                                                                                                            '~ ,~,:·al. ..,L
                                                                                                                       •..          ,{)~\,,, _,
                                                                                                                                                                                                                                                      Il
                            F (,."'l'
                         '~.....
                         ..              \ .. 1\!
                                 , ,···.·-()  ,.........       • L ,r~·r.rN'I
                                                      ··;, ·, ·r-i:-: .,1. ~                              f('. ..'-\
                                                                                                                /t T      <:• 1>·l,
                                                                                                                     ..,. '-)     ..:C'T'F
                                                                                                                                     _,. .. . .ff'/\'         . •N ,~..
                                                                                                                                                ... _ , l'' l()

                                                                                                                                                                                                                                                      Il
                                                                                                                                                                                                                                                      I
                S ffi'JVA. TU.fU£ (                                                                                                 )

                                                                                                                                                                                               fz
                                                                                                                                                                                                                                                      I
                ,.,,},f:<
                      .1.1Jy• . 1..     ~f"
                                 ('l~··,... r J,1'} ~ /..'ff,~j,
                                               ( '''',                        I>(fi'J.1')
                                                                          I I H. , ..) ,,.,/.. V    it)
                                                                                               J .t',.Jl.f..J                HE'''i'
                                                                                                                                 f, {f,;
                                                                                                                                        1 ,11·r p ·U'i:.>o'f,_'[ ;fZ
                                                                                                                                      . ~"'' . .1./ / ;t . '.J.,. . .. ~. ~I..,,,

          DlRECTOR OF t1R.1l!AAJ1':."NT ~~ .,-u'i1k1U:'\1I.11UNDEPA l?T.:1fRNT                                                                                                                                                                        I
                                                                                                                                                                                                                                                      I
     .                                                                                                                                                                                                                                                ·1
    k ..._.,.,, .. _   ......-    ..-       ·   - ...._. ....... ..._.-..J,A>N ........ , , _ ........_    •• •• - .. . ...- . ••••••_    •• y",,_....,.,.,..........- -......,_         _ _   -         .........._   _•. ,,....._.,JV;••·-.,...···--V:




00073094.pdf
                                                                                                                                                                                                                          Ghanem-00072443
                                                                                                  Ghanem_Sentencing_00000698
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 59 of 81 Page ID #:6119



                                                                 ···-"'"_ ..... ......        -           __- ....       .....                -_.        ........-_,.......,.. ,                   __ ____           .............-:.,,......................-,.................-.,~........~................___,, .............
                                                                                                                                                                                                                   ........ ,                                                  '              ~
                                                                                                                                                                                                                                                                                                                                                      -_
                                                                                                                                                                                                                                                                                                                                               ....... ...........
                                                                                                                                                                                                                                                                                                     ..................................................

                                                                                                                                                        ~f .,.,[ON.
                                                                                                                                                        1.:...:&., ...:-,.;:. .Ll.                                                                                                                                                                        !
                                                                                                                       _
                                                                                                                       GE:NERAL
                                                                                                                        ........................... ..   ............ ..--"'·-
                                                                                                                                                       CONHl'IJONS
                                                                                                                                                              .- ........._...                           ~




        }l , -,A,,--.,:;;'('()l)P
                           .... l. Jd;
    't'J./;s r~1.FJ,'.:s11. frF , 1UDL:wo,) (.l~F(); t;J p,ovJ,.k ~.11,, Guv~rnment i.)f f:(lY'fYr (G()f:.) >,;,)·th.
    ci.::<l/" l (i :·iflt ''fi)il,,;·r ~ " " V 1 <; <I'll' P:lh ·•1 : )"A·'{',l" <J\:•ji:d<> -~~: ,'> 1)!{",:;r'fl''
         ..., ., .11,.-...   , ""   4           ._       ,   ~., ...        ..,   ..J'-               t ·"-'"'-,,.,, .•.. .). ,:v1fJ
                                                                                                              . . ,· . A                   :''1"<1~-
                                                                                                                              t .. :. ,,J .,,_t(~~':\
                                                                                                                                 ..    ,,.. • .,.       i1'
                                                                                                                                                                 0
                                                                                                                                                              ... \:.,.'.~ .,)
                                                                                                                                                             -·· i·v:'>_
                                                                                                                                                      .. ·.. '°•            < 't'··, /·
                                                                                                                                                                         :IJ.tl         ,       "'. •, ......., , , ... , -·                                                                                                            <


      ( 4(:() ri)und mng~1zi.n,;s w11l.J {:ur:u,cr:t.rlr). r,.,;d do,. :111:;ht t.i.'!d\;td b::;~1r 2.imi,}if, r11d t,h~UG;tl ligliL
     UlUi"Ul•-'l'''
      "- • ' ,,.._,, •         :icco--din,;
                                   '                     t.:, :,)-tlw
                                                               • ·     • fr,;!.._ :;fih·'
                                                                                  • ,.          ?"t•t1· :jv~",' i:s>,r:~ a_.: :~pr :-,;.Fi 'Tl{ H\; ·; rn·,;1!'(i Nr,·,,;'1
                                                                                                                                          t   V     '    •    •    •    .'   ' · ·'   •'•,,.    ,.•..,       "   .. · ....     , ...    ,   -...              • ,       "'""       \   •   : ,.   :       '   .-.   V   ./



        l 3-·< TN FRAL CONl}{Tf
          ,,.        ....... f., ,:.'A,.,.,'"        - " - ~ ~ . _ . § , -.'.')'t\~·
                                                     #       ,    . .....            ,~:;.;,.o
              !····'i ·"-l · 'l'r'·1 1•.•. ,,rr    •..  r,,·l      ~<'""'   r."     ·1·).'•'~
                                           v ....t-....• ..... v. •> c.""t·"'•·\,) .... l          .-. 1··1 c·""'';,,-r,n:'·;,.·
                                                                                             .....hr            <1(\.', J., ...,t.,, .:,:Jf: ,::•><"
                                                                                                                                                       1·,,.,.,i; .... ,1<· 1') •·.-,··1>'.>"?
                                                                                                                                                  i,,it.,u\..,,·..,t     ... . ,,    .. t\,-t~ ._,               V'f;,       .••   • ~ , . ,..                                         ~          '~~~


                        l.3.2 ~ Th.i: qr1c,t;1l.101'1 dwnM indnd:~ Jie folicsving:
                              1. 3.:!. J... 'F\.:j f te,..l1rL~c:1l t..nrJ tt.it~ti~;:1I ~:1),1i.-;t.Iic(1ti~)~; ~rf. 4S~~rr3H rItJ~ Ctt[lb,·;: ~). )6 x 45
                                             , r:,-i: f:i)!v c"~lfn:·,i~:,,· 1·fl"l)1...-l,, fhr., ;_,-,V-•.;.
                                                                      •     AJ    ,          "'        ~\:"~:l1i"v
                                                                                                        ..)      ,,..,,.,.,
                                                                                                                  A.        •::i I'''!".,._,!'Zl"·
                                                                                                                          ,,.A) , ._.'"'"'"'-         '· ,·t·•·
                                                                                                                                               • -,}....,.
                                                                                                                                                         , ) ,l, (\ 4i'.O
                                                                                                                                                              ),     '• . .-,1' ''(''I"'::
                                                                                                                                                                       • '\.:.....,   ,Jt"\.(
                                                                                                                                                                                                                                       0
                                                                                                                                                                                                                                       u...\.~.,·         ,\,.~•                                                             >.   ,-._ 1:•\ ...

                                                                                                                                                        .A I'?') ... :< . i .. ....l''t:,..... , , ...... ~,~ .. ~: .. -~TI<'                                                                                           t·,L.... i:
                                                                      d 1<(-;:,•.l1..J.:.h g \:,' 1.-;.
                                                                      (lo- ' ) · ( " -'      '<r· ...          ...........11 '(:'('(>'
                                                                                                          · l lA,:
                                                                                                          ~,,.         .. , ..        .. * "':
                                                                                                                              :. ' ;,,•l       ,, n';u       '-'' \ "'.-.i-'~;., '; " ~\ " ""'"' ,.,: i:ti: _{,                                                                                           f~:-'\i';
                                                                                                                                                                                                                                                                                                          ,, ;, ...,
                                                                                                                                                                                                                                                                                                                                     "'l'
                                                                                                                                                                                                                                                                                                                                 ,;.'v, ;
                                                                            ff hi ·111 ,,,,,
                                                                      i. 1· i;.........           ;r,t•'°f!
                                                                                         ., .. 1 .••          ,. (1...,....
                                                                                                      ·"":•• ...
                                                                                                                                     1
                                                                                                                      ·~1 '{'()rc.t i· nr-           tr,
                                                                                                                                         .......: ....., ...~11
                                                                                                                                                          0
                                                                                                                                                            1•
                                                                                                                                                                1
                                                                                                                                                                  ,,
                                                                                                                                                                  • ~~A      ., '-'.!''"'.J.
                                                                                                                                                                     •.,...' "               t".....v<;,,,.,,.,..,,
                                                                                                                                                                                 ·'::· ' " ' ,.     ,, .. ! ' ' "' '"
                           l.. 3.2.2 .. \' f;,1, sJl prod: H.:J.ir~n Of the Ofl.0Nd ,Y~,-ll)tl.fl
                           1.}.23 .. flrne ef dr:1iv:.>r/.
     L4             - As:ltWL rifl<.) c.1liber 5.56 ~ 45 !!1,i~ fol.iy :.wt-.:;m:Jtk :·ndti,de h:;· 1:ncafrn11y ,1rn1 m«fl\Z!ne
                             ~;ct ( 1+!3(.1 r,Air)d ·11:tgazir..cs .,;:llh <.·<.1,11,l~der ), red de~ ,rghl, t~-:~ti,:r.il la,;er Mming :;.ud
                             t~ict1r:a~ iig1:!t ~llu.:.ninrxt,,r sb.t t:ld l·;~ n.1~nut~H:Hrrcd 1\tc(\rdir.:.~ ro ;1 niJJ.)_,·~-·11·y ~t~r,<l~r{L



                                                                                                                                                                                                                                                                                                                                                      '
                             ..-ti:rrin1.,>· <1-r:td t-:-tct1(;~-d fit~·ht dh1rr1in~tGr shot;.hl v,•1ths;~~n.t~ r,.H tt~st:3 (_;:,r,\.1lrur1n1c1)t~~! ... Sd.t::;t_y

                                                                                                                                                                                                                                                                                                                                                      I
                                           ..                                                            . ....                                                                                                                                                                                                                               y




                              ... :,,,~-,    ,:\r,·,·,··<11"'·
                                    ..... ,..J,... {.-.,~. "'" ., Fi;·i·,.,_.,
                                                                         "''-c,.; .. "~""· ·i"cr-1
                                                                                     .,,.,.'1
                                                                                      .i..    !.r\. .... -•;r_,~
                                                                                                  ...    v.. 'o ~-,           ~.,_) ........... ,._) -.•a,,,hy,l
                                                                                                                 c,,,.,.. <'•.,.,_;:;i·;,,.,;        ·· " ,)...... ..c.. ..... T~~1·
                                                                                                                                                                                  .. .• f'r"''(·dn1'·"~~
                                                                                                                                                                                           , . ......               ,\,· 1·1.~,
                                                                                                                                                                                                      . . .................. ...... ,~                                                                ~


                      81:vukl he st~~l·erL
                             \Vt~i.1p,m
    L<J · }h-: ,1i..:ofa.ti0n :,:lit;uld .:e sul:-nfitcd 1~ uil:·1?l ai:d lh!";;.,,; ,~:;pie" h E"igfo·h kngi1:lgt• ar,d
           ,;hrnh). b,: \!did far,..: fot1~1 6 rnont:1f: .1fti.:r clo~,hig date.
    1, "J, ...,. ,::...,t'Ji;:_. ,<-...:t.· 1:')''·-·,.
                                             :.vt:t5' :-:... ::1\.>,l:.U
                                                                ,.., : ,. ':.;~.,
                                                                           .., .... "'(;.>r.l
                                                                                       " >"'"tt.ul:~
                                                                                                 .........                            ; ...
                                                                                                                                      ~.:     -~...(
                                                                                                                                              1. ::dl         t,'l~ :-~.:.;.."-·, 81{;.J.3~.:. ...tf. ~~u:::,,
                                                                                                                                                             '': .. ,-:">:..,-~ ,: ... --~ ..,{...        ......                       ,..., ..... ....... l , ... .:
                                                                                                                                                                                                                                       v, .. 1.:., .. , ..... :...                                                                                    J
    1¥0 - (:hts}·=1g <lc1!c ~~;;
    !             .s   ,.
    , ,,,\).. C!:ntrfh:ni1;J
              "\                 ,, 1es: h\ .~~
                             ;it1H.:         """ ..,\~,L
                                                     r11 -r· n ,iaLT' "      t $' l}'rY} - ---~V
                                                          1 n.u-:. J~, \.,t; 1.Ji . H',h :,,~l} .,(',,

                             Al:TOMAfIC Wl l fl .ACCESSORtES.
                                                                                                                                                                                                                                                           ·<i~
                                                                                                                                                                                                                                                                . 1'. vi.,r.,·v.•
                                                                                                                                                                                                                                                           ,(• nHll                        {''(i'l'
                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                      j
                             ) .~\.l-)}dh>ery~ foe ;ruppli0·,- Un d.1:rh)ke~: (,3 SH}! ply FCA,                                                                                                                                                                                                                                                       ~

                             Jt}. .2N-.:5.Y.~J:.Dgi_n:.:. A W3rnmty ag<1in~! ,wy def{·<:ts for ,>.H s-:.tpplying iu.,ms slvrnld
                                                                                                                                                                                                                                                                                                                                                      I
!                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                      ;
I
                                                                                                                                                                                                                                                                                                                                                  ~

                                                                                                                                                                                                                                                                                                                                                      1
;:_..,.~•··~~-··· · - " "'' •••""""'"'"·"'"".,'~'·•·-•-A•• ••._,._........,.,.,,,.,.<1".-....~••••••-.'"···-•""•n· ~ - -




                                                                                                                                                                                                                                                                                                              Ghanem-00072443
                                                                                                                            Ghanem_Sentencing_00000699
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 60 of 81 Page ID #:6120


                                                                                                ;,:~<!<!«•,·«·,-......,., ... "' ··•·· ""-~''=-:<,:,,,,.,.::,-:,.,:;:.v,~:_.,,.,,,,...n,.,,,.,::,-~,-....,,._.. ,-...... "'·· ····.-.~,......,,..,-.,-..... .


 .:-i: .··.i :) - r.~J~.~.iiiBij\irj~~-~J·s:
                                                                                 •-•--•••-••••·•-                ·•••••-•••·--····-•••-•••,.•••••••••·•"'"'·-... ·-·····-••·uu-•··--•••••••• ••• ••.,• ••-••· • ••••• -.~-                    ...

                                                                                                                                                                                                                                                            --·1
                    u <)          1- Opern:fing                   temr'-\r:.i'f.:.,rc. ·· i {) to .;. 5~ d~;?•. ,:entigr ade.                                                                                                                                    j
                    ~ . HJ.Z-            •.::on:t;;-;l(·•i, : '!"Li-.· ~Fo,.~!kr
                                                                          ... t·
                                                                                     ,:Jh)u)d <.:<zrtily. )ult i..hi..~ mai.i::nah. .•rn\';,;,;sse:~. ,~,-..;;ti.n;;...... and                      ~
                                        f~-:\-~~,,.~     ~~··d
                                        :.,,~,_,;,w, · ,;;,          t··  :1---.. ·
                                                                      .:J : ,.._ ~, '~r1"" ·' rr.
                                                                                       ·~A>,;     .. .st ,......
                                                                                               ,.~...            . ,... · ;,,
                                                                                                           , ;;,~;>.\      •n :f   .. )""r,,n~")=
                                                                                                                              : l <....~              ·v
                                                                                                                                         , . :,;,. :,,t,: '('    ·· ",r::~ .J:..-J~
                                                                                                                                                           ,\;'~th
                                                                                                                                                               1(           "t, . .,.


                                       S1~.n<if.ifd!i~ '{'i-H..) S:1DftJ icr ~;r;.<,:ttk} ~}l.ltti:; kt.(;(;,f;r)i.in:tt 1rCilrr'\1Cilt of '3.'f...\> x:t~i~" ·j~tlfi$ ..~
                                                                                 •'                                                                   ,,             "..                                                                 V




                        dnrint, 5 year~, pu:1od irf nonn:fl (\peri·nlon, nn his cxp,:n'-,t'.
   1 11 ....f!.QJJ)l\fENTAJH)N:
           1. l l J . Tcchn ic<i.l ,:n~HHJilL .
            ·i . J 1.2 - :ivfainten~.uce. m1d ;".ipe;.·~1tir,u doo.11nl.'.nl.s.
                  LJ J .3 ... T~sf ·ind ·rcp<lir d:.>.:.u:rtH.'nii:.
                  1.11.4 ... A. copy ~)f 1t:1.. - !vi q . S l'D ,,f i~:.;tkg (Errv ,rnwr:eu~l ·- ~:..fi~'.Y .. P,;rkrr:,;iJ, ..t.: ..
                              T7
                              ,. .....
                                 \.; \.!"\ •'}
                                       "'i:,"· ... .:..,, ·,
                                               C,,.')                :h .. r(.·t}' ;r· ·( "V"' ·"'"",.. "Jt' ""J" .1 :4 . ·t·.......
                                                             •. )'!" t,,<.:                                                                                             r-•'\ >(I•>
                                                                            .-;,1 :.1, <.><, , <.::"V''' ,, ,., i,, ;1.:,; 1..,:1, , ,. :: :1..:1;.,, ,~, ,,, :H,,! , ,l,I.L,~,,
                                                                                                                                                                            'l'l.    , .. , .. ..
                                                                                                                                                                                 .:J..,                 -,''l!'\""")'( . • • .   ··'·~




       n ... 'f'f:t AIN"f{~'(
             1...~\.t}....·. ..l:" _.,.....:.
                 ~f:    trnining. l.<)r /\!'isitdi n                                  ,,e
                                                            \~<liiL~er \ .56 x ,.15 wrn rnHy ,;.:itc,1'l1:.itk ;rn~tu,k J:..0
                 ,::,r<').l:innv
                 .,            "
                                 ;.-md rn~1u.;1z.i1,1:
                                           ...         set {', 41'.H} rcH.:n.d nu1J;r,1.2.1n¢s
                                                                                   .....       wlth c;om-i~etc r \, r:.'d dc1. i/,ih,                                                                                ;,'                                -   ;,


                 ;,1-:tical h,:e, :-1in11r1g :.-nc it!.( fi,~;~? tgti i1 h.Hliin:'}f:'t fa 1-;;q,_iirt'.:i
   LB --JKSP.ECTlON:

                             vornp3ny sit~.
                  L: 2.2 .. Ir1si't·ctir,n mu..-;t b:: ~,c,:,or, 'ii:g t,~ t h::· r,,i1iU.t)' ''!a.rda.rd irdt:.<liJl{.! ~~-:~t :wd. l~ri.:1rd(:r
                            (fa1v lrorm,em,i; - ~;,fcr.v ... i'-.:rfom,:mcr.:: · Flruw... ,t:t,~).
                                            \.                                              ~           .                                                  ~




                 r'    0
                   ,...-'-
                             r •!!·;,_,, ..,. t_,·,1·(-~t~\.:i
                              .,)~\.:.....!..-.       ..f i . ;• !
                                                                   ·•f}1··1
                                                                      .     J1···,,;,J
                                                                            ~  ) :l- 0:J. f"'1t•1 1·p,·,·,""'~
                                                                                          ·c,."        l\..;.l,- ,\
                                                                                                             0
                                                                                                                 , : ...
                                                                                                                                                 ~r''
                                                                                                                 ~,,.,,.,:,·,-.~...v~1f··•·t<:t'1V.     ,(<,,'\.,,\.,
                                                                                                                                                                                    :v~iq~T "·t= 'i:·:":·.v:·1:t·~,,·~i
                                                                                                                                                                                ~-- ~-~: .":.. ,~.,.   ,,t,} V   •
                                                                                                                                                                                                                        t:.-,1 <": i
                                                                                                                                                                                                                       '•   ••     "'I;,."-   •"    •   ...) .


                 i;o11tr~:;: ted i t~:1:F;.


                                                                                                "'")n!~_' v,·;,j,
                                                                                                '   ... ,   {'    ,"       ·1   ••




          •      '°l~ ..t. V''!C ·~ V.. l) ~              J-"'f.t..$.~,,?.
   t .. lt: ..,. -~.. t~......1,. ..\ ·... ~, ..{~...t .. 5·· l
                                                                   ~-.- <:.' ~
                 t<,ll diie chn·i~cs :..it-HHt :<dk r {,,1.rn·ti--y wiH h~ hi,n.l hy l°ht' S•:lkr- & i,H'.,;u11try dJ:nge!,
                 ~-•-in he             b~}Hl      'l·:v the lniyu~.
                 ]>,.1ynH:Ht.~: a<::ct}nfa:11; w :;{)rr(..nct:l~if. tJ.-nu.:,.




                                                                                                                                                                                                                                                                 I
l.--..-..     · ···· ·- - "" ' " _ y . , , , . ,. -;•.-r.•J'_· ...... --.,.,..,.••-•• _ _ _. ..,.,,,._. . ...... .J;_             _. , . . _ . . ~ , -....-.,....   .,,..-~----.----•••-.••u..........-.-..--..• ••
                                                                                                                                                                                                                                                        .        j




                                                                                                                                                                                                                                  Ghanem-00072443
                                                                                 Ghanem_Sentencing_00000700
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 61 of 81 Page ID #:6121



                                                     -- ·-····...... ...-···----······............
                                      ................                  ,
                                                                                            . ---···................-......... ·········-···-···..···· .................      ....
                                                                                                                                                                           -...      --   ........... .



                                                                             §}\(~J)ON l
                                                         ".flJ.'HN tC-1> l, SPJ:fJ.EJ.GA.JIQ/:j:5.}_()J~
      ASS.·\.UU Rff.l C LAl.-1HEH 5.:~6 X 4~ .\l,:\l fTLLV .\lJTO~t-\TrC JNG.t;f)l:; THE ?JC.\Tfl\N'V
       }{Af,k/~Pl~f.JtJ(1\!)JL l\,i\/;_:\~ii1'1ffii.t+:Ytmnr\in ~iAT;X:ii/.ii"s\,j·c:iz-{:(;;,::;ECT()l{)
         Jl,_::)JJ)fff -S RJ.n:.. ,..'.LH,]J(6J,,J,/\.MiR AfMJNG Al\'Jl.XAC HC.;}J,,,J.,_(CIIL RLO;\,W~!:\(Iur·
    ·z. ·t • SC(H'K :
                     ,.;_:J,S
                        .,,.                 .. . . . .
                                !\,\1CtS:: 10rquntr.HLGl:               l.'f)"""'
                                                                            ,l 1./J
                                                                                                 ., '(.,                        ~ .... ,.,, . .-~,,,·,r )'"
                                                                                      ·::),Pf(~Vl(!I..' ~;'\(~ rcV~'.Tn!Pt•: I(>' ~<ti'<{ ,' ,i_~,_) :.:)
                      wh'h i\s~:~.u.:il rill.;; .;~1.lii>¢r 5.56 '( 45 :r1ra f.d.ly ,h:tr,nni.it ,1:Gh,<:fo th: p;;_,;.ti1,n;
                      'tfli ~
                          adaJ)t~r !.1nd Dr:-)OJ.:.z}rl~
                                                   ..       ~;et { 4!){) r(YlH'td 1·n 1~fi,:-l:i:j:nt"S
                                                                 ~                       ...            \Vit b COJ1n~w
                                                                                                                     ·t:t(~t' ..} ·r{'d (u:
                      ~ig[H, t:.i::tii;i/ lu~·~r t:.imi:!g rind iacti1,a ! light ilIL:..:11il1~~~'HrPnrrnJ Nn~)




 ••" " ' ' " - " ' ' ' _ " _ __ _ _ w,-v••"•-••·• -            - ~ -' " " " - - ' " ' " ' · , -.. M~=~•••"'"""'''"''"'''r '~"'"'      "'"·~>· • -·- -· .,••••·•-"•« - - ·-•




                                                                                                                                                              Ghanem-00072443
                                                            Ghanem_Sentencing_00000701
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 62 of 81 Page ID #:6122

                                                                                                                                   '•<(   .. .



                                                                                            ······----..················---·- ..············---------                                                                                 ''···· ··· .·. . . ····-··r-
                                                                                                                                                                                                            :rn[O:f;().! i(; ~ht/l
                                                                                                                          ,,      '  .  ,
                                                                                                                       .\• ....'\", ...... ''"l'I.)
                                                                                                                                    ' . . ,"         "   I '   . .
                                                                                                                                                               . ) ''f
                                                                                                                                                   - ,',· '...I!•  ,.,., :(
                                                                                                                                                                            1
                                                                                                                                                                         . . . .~""l)<i
                                                                                                                                                                                            !
                                                                                                                                                                                . -- ~.- , . <><
                                                                                                                                                                                                     I      . ' ·~ · .,.,
                                                                                                                                                                                                        "'"" f»
                                                                                                                                                                                              \..\,... "\'<:,
                                                                                                                                                                                                                      ': tv. . ,.'v··.........
                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                       .::,,,,;.:,l'
                                                                                                                                                                                                                                           .v · c: ·· "'..·)':'"




                     ;,.~.·~ ·raciical , 'Eght ".iiL.=.r.ir:r.1tJi ·•• r.:-:r i\~:-.r.1,Jh' ritl~         ~:fr her 5.Sf > -15 ,11,;_r; fot~,
                                     ,~uwrnYct;',; ::,il<.dt --~.;:1fonn \(.~ ;vFt iii.rry Su.1.1,ik!·d (Mil-~>'f'D-- 810/} :·•,d ~upr_._.Ttcd
                                     •xii.fr :1p rci 115 fkHk. i n::::~:n \ i \ hr ru11ti:'r:r




 .,.,, - •.,-.-.,,.,._ . ·, - - u , ,,, . .,._,.,.,- . . . . , . o ; , ,• ••'•- <'••• -- - · - . - • " .............., .,.,,.,,., _ __                                         .'.' " .. '"'" V••N•,o uo 'l' ••• "V U O"''' ,, .._ . , . , . _.. ,,,.,1,u,oHo••U-
                                                                                                                                                                                                                                                                    I

                                                                                                                                                                                                                                   Ghanem-00072443
                                                                                        Ghanem_Sentencing_00000702
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 63 of 81 Page ID #:6123


                                                                                                                                                                                , ... ;.. ,

                        . . . . ... . . . . . . . .                                                                                                                   .MJ'V.                  -Vol'                                                    ......--.......:..:...i
                                                                                                                                                                                                                                                                           <
                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                           .,




          !        ..-No,\/',ll,·~~--;YN,N".-.,-.".v.v~~,t,),.'\'Y'<f'.Y....,..v.,.,.. ...;.:;.,~ ..vw--.......,....-.~·.,.,_..,~"'i.....,~,N',;, . .1.-,,;;...,i;..e~v-:,vo,.~~""""'·-.--·"l'n.1'\.~11

           : f..T"j
           •
                     -a· ~- '~ ,. '~ ·1, ·:r·t~[) \t1 .1 :";. ~·
                t....L.tt, )! ~-i ii..• .t \ ..,    t     l !t 11...., 1~n 1'..:. 'l'f.') !L.1
                                                                                          f
                                                                                        ,·l,
                                                                                                            §"'<                         1
                                                                                                                                j '" " · '·
                                                                                                                                                                 ·(''•
                                                                                                                                                                   '~h.1 (' Hj n · r
                                                                                                                                                                         ~ X ,., .. LLl
                                                                                                                                                                                       V                                                        M
                                                                                                                                                                                                                                                ,.
          ! (''()IV{PJ
             .... · " ..(,t'"{''ff'
                            .     ..c                        ..i   .•    •   -vvrr~i:i  -       A,
                                                                                                          ACCF-~:s()I" IFS
                                                                                                         .( •'""   .....        ..,,    ..,; • ...,.i..   .   . ('    . .It..                                                                   ii
                                                                                                                                                                                                                                                ~:

          !                                                                                                                                                                                                                                     ~
          L····-············~w.,,,t~...,--. .. _..,-...........                                  :ico,,a,o1•.. eq,; _   -~~-"".9-.noeoeooo,10•'':P"""'",c.::r.y.•,.,.............. _ • ..x.~*""'v,n•o'!,1".".Vo·~;,yo.. ,x,,.~~"°~f




                 ':-.:......f.....
                 ,0:\               ,,.r·~.-·)·"' 1 .,.., .. ,, •·J -~·,·R·· ;.s-.: ~       1
                             :.,::::·' . ..:,::., ...,;,.':'!....a, . \_. ,..J\l.L,. ., , ,_., {_,
                          ,; ~                        .,   :(:          .... ,:-:                       .l ...             • ... { . } • :"""~
                                                                                                                                         ,
                                                                                                                                       .. ,
                                                                                                                                                  ·r1...J.!.
                                                                                                                                                        •· 'l.
                                                                                                                                                             . , ,.J'1-\J\'\
                                                                                                                                                              11···-..·,
                                                                                                                                                              1: ·o;     ·•.
                                                                                                                                                                     ., ·,..




                                                                                                ",

                                                                                                                                                  j
                                                                                                                                              /




   ........ - · · · ·······;,.-.,,_ ....... --.~---·~-~·"··~· - --                                   -·~--·..-".AN ······- -..-·· ·····•·i-•••o,••••.. ,,, ...,;- - - , . ~ ; , , ......... .......................,_,,_;,••• ..... ,._,.,._,   ....          .. .




                                                                                                                                                                                                                         Ghanem-00072443
                                                                                        Ghanem_Sentencing_00000703
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 64 of 81 Page ID #:6124




                             i\.. 1<..,1~ i11~,, itc~s tl1~~ r(~coi;n.t;,:::zd ·n1~n1.1t:~z~r:1rf·:s to l';i;J f.Or suppl;·i.nt:1 ,.,i:;yr:~ti<·;.:l arn:.y v1ft~1:
                             F1.:ll> uutom~~ t iC pit:t,·,J Cfi!Sx 19mm c1,.n:-rp h:t<' wilh ~1cc1:.ssorir; 1.n acci.,rd,tnc'.e wil11 ih~
                             f:;ih;;•/,.1,~ i:<:npe ~m.:.i req1,j ,\=:.r.hm!F;.
            1 "'}" ~'-'( '<("le~~)>1!';'
                •,AY               ! :.,~•
                                          ,




                             1.3, 'l The nffo re(l ·w•:npon~: mnsi· lw ;,., c,informif.y w1!h sp0cifal,,d(,,l:, in sic.ti.un 2.
                                                ¥




                             l.J.2 -.Il1t' ttuut;itfon_JllntJd. intlHd(• th!.! follo-,.,,fr.§.
                                                     1..:; . 2. l F:.;H t(h he t<~,~; tllH.~ t'tt.:t ?:~i1 5~ic.:!;. r,, :Hi.)11 ~)f ::t: -;y ~ut0r;~:i!i:' ri~!(~: f·a·. ~:"' {'} r,:::i
                                                                                  vDmplt:t,~ w. th a~::C:C:$Oti,:'> mx:.:,rdotg to iniliut'y sp'c.1 fom ,1,m~
                            1.3 .2.. ? ... ·\:·G~~r (!f prc\t1u.cl'i\">!t <Jf lhi: (,.ff·\>.r~~d~~..i)1xprtn..
                            ; .:~ .2. ~ - ..ri:Jj/~ ,1f cJ:.:.~li s,·0£;./.
           1~4 ·· Funv   . <iut<.)JJHltic.. ni~:ln1 .~<~t 9:,:l r,111111 ~c.,rnr.~lr-t¢ y..tirb t~cc;=;~r,<\tles sh =>·~.11c:: h(' r11~1.nufa:...':tu:r~:_,c
                                                                                               ~                                                                                .
                  <·l1:(:{)?'d intt t<) a ;11;,llb-l:y st;.-1nda~Tl,. rhe 1rl1l}t3.ry s~i~nd.ard '1~.).r :hi~> ,~':.:~ap,in :~h(,1tJJ b~
                 s~,~~ifi~-rl.
           .LS ;\·U.:CH?~NlCA.LCONH.!TIONS;
                         V




                 Ft~lly r.n1 tnrn.<1ric pistol caL9~ l 9r.n:r.n c.i.)n)p]et!! \\tirh ~.h:cesscrie:-; she:1:1(1 \.v}.th~>t::tnd all {,~~~t:'>
                                  rr:j\\.•1""7
                                  , ..... ,.;_•; .:. ... ,-~\;~l·"··~t_._....··d. -·
                                                     ....•,.v.,\.,•                                   ~-~i·~:-.1·,.r
                                                                                                      :...,(,..>.V'-,;          .... I\n;(-~·\t":':'~::-\7":f''("
                                                                                                                                     \_ •.,,/.,I , , .,_f.., , __.'Y •          n      li"1,:lH........
                                                                                                                                                                                       '    •  , .-.::..,...   •••
                                                                                                                                                                                                                     ~~·fr)     'JC(:t"'·1· ....
                                                                                                                                                                                                                      , . , . , <,.,-,-., ,\t
                                                                                                                                                                                                                                                       ·:r,}
                                                                                                                                                                                                                                                         .l(:": f')
                                                                                                                                                                                                                                                                •'-          '\
                                                                                                                                                                                                                                                                             ,.    r~J~H1"!T"")
                                                                                                                                                                                                                                                                                    • I .<.. ,' ;:t~rt,{·~~·."f
                                                                                                                                                                                                                                                                                                  •· · \.,,. ~.,._,

                                  ·r :.>·t Pr~r. ,::durcs f~;!" ~n~ Y.7~.;t-.t.pnr.~ ~')l}.:,uJd 1                                                                              1 ,)     stat=:d.
                        l"''    ··1't""',f'J,
                                !:
                         .:v 1._c              ....: ,~;.;
                                    ,.;:...,. .,;    ,.:~,,tit
                                                          .. • ,,;-i ·,v
                                                                     h. ............
                                                                                ,.,:•.:,,,. , 1,.-;,,; hl ,.,J;1~l,1:··!
                                                                                              ··1 ·:: "~                 ~ - ~ :.:
                                                                                                          , " .:.', ,i ,,.11:~ ,...r-..
                                                                                                                                    , f'··   ··1·,·~!'( ...... rr",,,
                                                                                                                                        t., t,tr!,1;...,
                                                                                                                                 i . ~ .....,                     ·-:::r·Q·l  ·,"na
                                                                                                                                                                        .1,,, -'·'                                                                                                           • ,,g'"'.. ;'>'· ,1\..... -;, •... f·
                                                                                                                                                                                                                                                                                            J·a:·)·:PF~;:"'

                       ~:i·t<.'i./i.l b¢ ~/,Jid (Qr ~~t 1:::. r1s1 6 r~1on~-l-1.;; :dt\)r (;loE}.n!J· daV.:.
           1.. 7 . . ih~· de~iv<:: y !::r-;c~:.11( bti w~~-l'3Lt.; (; t1J<}n'iJ1~; :::,t~r ::i~ni1.:.~ tl1c C(:11.rt,·;:
           l .~ - (.~l,1!,1 :1f~ ,:hH.r· -;~,~




   ~
   i
   ........ - .... - .•. .,......._ ..............................y...,._... __ .,, . . . ..... ,.... . ................... _._ ~,....._.,...._..... .    ...... ............
                                                                                                                                                         ,.   ~                 ~--,.,._,.,. .......... ....     ., ,__,,,..........~                                              --- ....................-............
                                                                                                                                                                                                                                        ........................... .,,,,,.,........                                         .,..,.,,.,.,,,. ..




                                                                                                               . . ···---"·- ----- -!SNll l!il- - 1Si18iffi88---                                                                                                                            Ghanem-00072443
                                                                                                                       Ghanem_Sentencing_00000704
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 65 of 81 Page ID #:6125



  r················..                         .._._ ...... _,,.... .....,. ____....... . _......... · - - - , · - -····. ·----··
                                                                                                                         .       ...... -                              .......- -..
                                                                                                                                                                                            .
  !
   i L.H .. t')f' ,.,, v>c 't'$'' l\T"S ' · ,.,.,·~J'·,F<,:·
                 JC (idn1,i ~ "'.A Ln. Pi:
                                                                                                                                                                                           - ... ...
   l              w,... ••• · - - - · - - - - •"• - -
                           'MM•


  1j        1,1.U. Te~)mic~l 1min).tals.
  i         1. t L2 -· tvf?LnLt n:m,;,; wd i~r-,:m~tio.n (kc1Hn<:>1:ls.
  !                           L H,?, .... ·i·e:ii {UJd t!."pid~ doc1..1mt':!l'L.
                                    1
                             ·•1-.t (. •A<4 - ./''-": cc::r.~.r (H• itH.>
                                                                      ·   i ''1
                                                                          ~   ·"1
                                                                               1 "' ~ ~-   s·r i·';. ot.· te~;t'tnf.;
                                                                                                                ·     t·1.H:';~r<;nrn
                                                                                                                              ·       ~11tH!• ···· <'
                                                                                                                                                   }ju..:ery
                                                                                                                                                        ·•   '"'- 1.-.a~~rf:-1rrn.t;.:1ce.
                                                                                                                                                                   1     ..
                                                Firrn~~- ..~t"·'} ot th\~                  rt~tjil.;rt~d '"·,.:V!..'<lJ'f<.'>:1~            :~n.d       1ts     .n.1a.in        c~:nnpoJJ:.:;r.t~; Jnctu<l.i.ng d1"~
                                                evul1.!<,tien ~:i.irei ;£?.



                             1.11.1 ~ h~r~dion ,;floul<l h-c r,ittH.:;s~~d by (}) ri.HHJ~.n ri.:pr:~Si'Utatives f,,r (7} c.~.r~ tl! tlit>
                                       .:i;mp:m::r site.
                             LU .'.? ~ b11p;•t•(on mnsf. tH~ 4\Cf:<'lH~iu~ ti} th~ m.H.itar1 MatHl~rd b}da.diug t?.~1 !tnd fi.riilf,~
                                        fo>.· (En.v'ir< mr;-~11bJ ·-· tfol'dy .... PtrltH·m:HH'e - fi.rin'.-~ .. ~1tr)
          i ~ • .. t<V:UTHi'V'
         A ".-.-   ~ : : ~ : -..~..:,..,.... ,':. .,.:..~,, ~~-
                                                                 1Tl' (V? OPJ.GfN -
                                                              " ":..!...-,,_...~.._.~?::"',, , , ~,::.,,~.




        l ,..<~r.:  . f I)~" n f~: l'l> \ n.1'{; •
               ...)   :::~.t.~.:ll!.~:-~......a.-{:~).-.~
                               .
                             /.._ (Ju:1r<;lnf.tt: of                    ('nnti.::n.t,)tt3         Supi:1:y '1~!'1tl1 L.OjJ'i:;f.H·\ Svr)p1.">:tt ( spot'{! pi.trt ..~) t~>r 111
                             \t~:,!,t l(i Yt31.11                .
       1.1( ..              T,\XES.. & J~Jn:w:s:
                             A l.l thl~·. d.arg$;'" .~t tl;t;". ~,dif;,r ~·v,rn tt·~, i.~·ill '/)e !wrn                                      hy Hlt'          ',tM1~r {5~ i)1 .. (·n-,1nlTy ,-h~n;es
                             w.HJ !w b{,.-.n b;t thr h.~yi.:r;~.
                             ??':,v::-:.:t':.:~t~s ~t "~;rd.in[ t1) ·:-'..~J~;-:;.t"till~ tf·ru.tc.: .
                                                       1..:)..




       .........................-..., ..,      ,..       ~-,,........
                                                                                                   -
                                                                                  "-···"--·-·· .........._____ ,, _ .... _......._.....,,.--........... __ .......... -..-_....................... ,,.~-- ................, .......,.--············.......,,_




                                                                                                                                                                                                                           Ghanem-00072443

                                                                               Ghanem_Sentencing_00000705
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 66 of 81 Page ID #:6126




                                 'rbi::c 1:e<.]U·~st f'i:n Cf;lOtat.K).n (RJ;(l) t'-) prcndd.e the <.~k;~ver.r.: cnerrt vf t.~-Ci\'' i'1"1· (C~!C)I~)
                          with .FnHy auwmj,~fo~ ;~i~fol 1:~,L~x 19mm. {Bnmd .N 1;'N).
                      ~>·n ('H') l "..., ..,~ "'' ·r ' A .._ r•r1,·r"' '
             ~~ . 1 · t. .!~ J.6. t ..- <>.-. ... •{ ' / l).r:t.. l~~ ~..) ,,, X:




  ~   ... ,, .. ,,,,,,,,,, .. .... ..,.,.,.,............,..,.....,.,., ,.....,.,..._., ,,.- ..•••..·.·,,··----,·,.,......... ·"" ,_ _,,,,_._.,...,,,.,.,.'Y'N,fV   , .... ,,,.,.. ...,...,.. ..,,,.~. ..,,.,,..,._or.,.,._,...,.--- -.......-.... ;. ......... ..... . , ,..,.,.,.,,..._._,,,,.,...,,,.. .,......... ,, .. , .




                                                                                                                                                                                                                                                                              Ghanem-00072443
                                                                                                       Ghanem_Sentencing_00000706
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 67 of 81 Page ID #:6127




          RFQ Data:

          RFO No.:

          Washington      163   London             Paris          Berlin      171   Rome        142
          Pyongyang             Tokyo              Madrid   117   Pretoria          Prague      115
          Bucharest       112   Beijing      120   Seoul          New Delhi         Ankara
          Islam Abad            Moscow             Athens         Brasilia          Abu Dhabi
          Rabat                 Riyadh

          Issuance date:        13/09/2015
          Closing date:         31/10/2015




                                                                                                Ghanem-00072443
                                     Ghanem_Sentencing_00000707
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 68 of 81 Page ID #:6128




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT       648

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000708
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 69 of 81 Page ID #:6129


   From :                         Rami Ghanem <ramithe@gmail.com>
   Sent:                          Tuesday, December 1, 2015 9:58 AM
   To:                            Dave Daniel Rachimi <armedpiracydefence@gmail.com>
   Subject:                       Ammunition for various countries



   Dave,

   Our office in Bulgaria are looking for the following:

   The orders I have at the moment with EUC: 1) 22mm - 10 000 000 pcs
   ( South Africa). 2) SPG-9 ( anti-tank) or new models - 100 pcs
   ( Ethiopia). 3) 7,62*9 - 4 000 000 pcs ( Iraq).            4) 9 *19 - 4 000
   000 pcs ( Iraq) If you know who has stocks of this projects we can start
   right away.

   Please let me know.

   Thanks




   G"6aNIIJI ~e ~ . /G'TE}
   Comple>< 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com .. or nuni(@,camvaname.com
   US Telephone: 772 675-4363 Skype Add1·ess: £11.rnYillH!-m.~

    The inform11tion contained i'I th s messa1e i$ for the inteided add res.see only and may contain conffdenti.31 and/or prl\ite&ed Information. If you are nol the intended acdre-s.see. th I$ messa1e w II self destruct so
    notify the sender; do not copy or distribute th1s mes.s.-ge or d.sclose its co'literts to anvone. Any views or opinions expressed In this message are those d the au1horanddo not nece;sar ly repreie'nt tho;e of CWE or
    ot a,ny d it$ as.sociattd companies. No reliance may be placed on this mt:$Sace without writter contirrrauon trom an autho·f%ed representa~ive ot tl'le company.




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                Before you speak »Listen


00073106.pdf                                                                                                                                                                                   Ghanem-00072443
                                                                               Ghanem_Sentencing_00000709
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 70 of 81 Page ID #:6130


                            Before you write »Think
                            Before you spend »Earn
                           Before you pray »Forgive
                             Before you hurt >>Feel
                             Before you hate »Love
                              Before you quit >>Try
                              Before you die » Live

                                  That's Life ...




                                                                    Ghanem-00072443
                           Ghanem_Sentencing_00000710
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 71 of 81 Page ID #:6131




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            649

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000711
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 72 of 81 Page ID #:6132


   From:                           Rami Ghanem <ramitl1e@gmail.com>
   Sent:                           Saturday, July 4, 20 15 3:37 AM
   To:                             Tahsin Ammouri <tammouri@hotmail.com>
   Subject:                        f W: Stock
   Attach :                        YT)],20 english.doc; YT)).20 Rus.doc




   <id•'IJTII/I b .l!IBRIJ... [<in!IJ
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432 246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@~mail.com or rami@caravaname.com
   US Telephone: 772 675-4363                          Skype Address: caravaname

    The lnfcnna:ion .;ontJined in I his message is fo1 the !nt eided address:!!! Ol'lly and rnav contiln confidentbl and/orprMleaed informu io1. If )'OU ue n,t the intended addr~see, t his me!saet will self destruct so notify t he sender; do
    not copy or dirtritiuteth is m u-,age ordi.sdosc ih conte n ts t o ai, yon e . Any views o r opinbn .J expres>ed In thb menage are those o f the author a n d do not ttece,3Arly repre ~nt thoff of CME orot any of ft, es,odatcd companMi,. N?
    rehance -nay be placed ont h1sme1sagewithout written cx:,nflrmatlon from an aut.hcrbt:d repre1entative d the corapany.




                                   Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                         Before you speak »Listen
                                                                                          Before you write »Think
                                                                                          Before you spend »Earn
                                                                                         Before you pray »Forgive
                                                                                           Before you hurt »Feel
                                                                                           Before you hate »Love
                                                                                            Before you quit >>Try
                                                                                            Before you die »Live

                                                                                                           That's Life ...




00077965.pdf                                                                                                                                                                                                    Ghanem-00072443
                                                                                      Ghanem_Sentencing_00000712
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 73 of 81 Page ID #:6133



               Application packaging c3q repai r engines YT,A20,5,ll20-240
                    Name                      Nomber            unit   Qnty

               1    cylinder liner            20.01.50.1        pcs    360

               2    wiper ring                C6 20.04.08       pcs    360

               3    Stuffer piston-rod        C6 20 0477 pl     Pair    180
               4    Stuffer piston-rod        C6. 20.04.23      pair    180
               s    Compression ring          20.04.06. 1       pcs    720
               6    Node seal                 C6 20.1 1. 15.1   pcs    60
               7    Disk seals                Cfi 20. 11. 30    pcs    60
               8    Sprayer                   C62U.17.Ul.l      pcs    360
               9    gasket                    CG.20.18.215      pcs    480
               10   Pump element              C6 327.07.1       pcs    360
               11   Booster pump              C6 20.32.00.4     pcs    30
               12   Piston                    20.04.05          pcs    360
               13   finger piston             C6. 04.10.2       pcs    60

               14   Engine YT,n-20                              pcs    50



               Stock balance (quantity and price) for BTR-80




00077966.pdf                                                                  Ghanem-00072443
                                         Ghanem_Sentencing_00000713
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 74 of 81 Page ID #:6134



               3MBI<U HU I<OMnJTeI<TOllHl-0 C3q AJT51 pe:o.lOHTll .!l;BHraTeJTeH
               YT.[(20 ,5,n20-240
                    Ha11MeHOBatt11e                H oMep               En.113~1 Kon-
                                                                                   BO
               I    r 11nb3a l..{HJJH H.Llpa       20.01.50. l          illT.      360

               2    K OJ!bl..{0                    C6 20.04.08          IIIT.      360
                    Macnoc6pacbIBaIOJ.Uee
               3    BKJIMbII.Il rnaryHa            C6 20.04.77 p l      n ap       180
               4    BKJIMblIII rnar yHa             C6. 20.04.23        n ap       180
               5    Kom,uo 1<0l\m pec110HHoe       20.04.06.1           llh.       720
               6    Y3en yrrnOTHeHrut               C6 20.11. 15.1      lllT.      60
               7     )lHcK ynJJOTHeHIUI             C6 20.1 1.30        lliT.      60
               8    PacnbIJIHTe.lb                 C6 20.17.01.1        lliT.      360
               9    TipOKJlaJJ.Ka                   C6.20. 18.215       illr .     480
               10   3neMeHT Hacocm,rn              C6 327 .07. l        UJT.       360
               11   Hacoc no.m<aqrrn                C6 20.32. 00.4      UJT.       30
               12   n opweHb                       20.04.05             illT.      360
               13   TlaJTeu nopwtteao»              C6. 04.10.2         lliT.      60

               14   L(awraTeJJb YT.[{-20                                lliT.      50




               Cruia.n.cKtte ocraTKH ( KOJIH'feCTBO 11 u etta) )].JUI ETP-80




00077967.pdf                                                                             Ghanem-00072443
                                               Ghanem_Sentencing_00000714
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 75 of 81 Page ID #:6135




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        650

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000715
       Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 76 of 81 Page ID #:6136


    F rom:                                              Goran Djordjevic - Care Transe nergy <gd@caretransenergy .com>
    Sent:                                               Tuesday, June 30, 2015 8:58 Al\,f
    To:                                                 Rami Ghanem <ramithe@!:,'1T1ail.com>
    Subject:                                            FW: moj mail
    Attach:                                             g- din djordjevica pdf; Sertifikat.pdf




   DearRami

   This is a written request for 24 pcs of second hand T-72, ~b~Y.D9.t.':!.~~~t~9...~.~--!~.~.2.~-~!ng.~gD.9i~!g_
                                                                                                                r:U!:!~H2..~.~--~--~2!.Y.1.I?.!.~~~
   unite, to not matter how o ld they are , they have approved budget for this about 25 to 27000 USD per pcs.

   Second document is certificate of acceptance for OT -62 TOBAZ prototype testing unit deliver successfully to Egypt
   there are interested to move one with this order.
   Please advise about this t wo cases what is expected development and some points for contract with between us and
   them.

   They have one more case about Egypt steel factory regarding redactors tomorrow I will have ditels and send to you as
   well.




   Best Regards

   Goran Djordj evic
   CEO
   Care Transenergy Ltd
   tel : +35795112327
   fax:+35725814036
   gd@caretransenergy.com
   wv.,rw. caretransenergy .com


                                   &~                    ,
   :: .. ·: , /;;,,, ;:;<,:   1: ::"······ ;:·,:;.; .,.:~.::,, :·· ..... ::::;. :;:::· :.   :::·· ;::,:~; ::'.::;._' .'




00078303.pdf                                                                                                                                           Ghanem-00072443
                                                                                                                          Ghanem_Sentencing_00000716
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 77 of 81 Page ID #:6137

                ,il9(1tliit.4·i•.ktttibar
                   .·r<~~:t§YA.G'~~;jjJJ~,
         u;;:;;. .;::#-#· :aM i?fh#M • :::; ·       . "\!MS··.{'"'
                                                                             8
          1NDUSTRlJA MA(Ll\,JA l KOMPONENATA • INDUSTRY OF MACHINERY &COMPONENTS


                                                                                                                       ~}20   /15'.
             ~r-,n:HB ropaH DOpl)eBHli                  I            Za/Att
                                                                     Tel.:
                                                                     Fax:
                                                                                                        Broj/Numb.
                                                                                                      Strana/Pagcs    1/l

                                                                     OdlFromAparnwe IIIBaHoe111fla
                                                                     Tel.:

            L                                           _J           Fax:
                                                                     Email: imknamenska@gmail.com
                                                                     Datum/Date:


            l'REDMET/SUBJECT:        3aXTeB 3a IlOH)'.lcy




                       I1owrosaHH,




               :MBi0'l f4428.8 .Pl6 t0047i1'-6:00 lEK. RAClJl'll ~f{PSKA: BM!tA. 295:<1J05:19°4'l 1 J<OMER,QiJALl'/A BAN~£Q$;13633-26.
                                       gL                           0
                   87.®:~ KRU$EV-AC~ ·t4.d,f<tQ~Ft~~ t ,!=L: ~7,(42_{         ..s~i.'t ~~113r.(~g~~t !)i.B$~F.CI'EL; Y;l'."(1428-~39.
                    KOMEF.tCl~At.p;; 037/4~0.3e4; F.fiX: ~~7/,4~·!1.8,6 -~rn111\:off11,e~\fRkto~ar,c.9'.rs· Wab·~ne..c 14·Q~ob_af.c~.fS




00078304.pdf                                                                                                                  Ghanem-00072443
                                                   Ghanem_Sentencing_00000717
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 78 of 81 Page ID #:6138




    IMK [logo] 14.Oktober                             [Three illegible logos]

    KRUSEVAC-SERBIA

                                    MACHINES AND COMPONENTS INDUSTRY


    Mr. Goran Djordjevic                              Att.:                No.    120/15
                                                      Tel.:                Pages: 1/1
                                                      Fax:
                                                      From: Dragisa Ivanovic
                                                      Date:


    Subject: Request for an Offer



    Greetings,

    Please provide us with your best offer (price, parity Franco IMK “14 October A.D., delivery time, etc.)
    for the delivery of 24 used tanks T-72 (they don’t have to be in working condition).

    Best regards,




                             [Company circular stamp]         General Manager of Specialized Plant for
                                                              Special Purpose Production

                                                              [Signature]

                                                              Dragisa Ivanovic, Grad. Mach. Eng.


    MB 07144288     PIB 100471863      TEK. RACUN SERBIAN BANK 295-1205194-11 COMMERCIAL BANK 205-13633-26
    37000 KRUSEVAC, UL. 14. OKTOBER 2 TEL: 037/421-502 FAX: 037/429-653 GEN. MANAGER TEL.: 037/428-539
    COMMERCIAL: 037/430-384 FAX: 037/429-686 E-mail: office@14-oktobar.co.rs    Website: 14-oktobar.co.rs




                                      Ghanem_Sentencing_00000718
    Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 79 of 81 Page ID #:6139




                                            CERTIFICATE
                                   OF FINAL TEST IN E.GYPT

                            Contract No.: KAD FAl.812005/IMK/3

                            Producer.: !MK - 14..0KTOBAR

                            Pro<;iuct: POWE'R-PACK FOR THE 01'-62 TOBAZ




                 Here.with we conj,;m, that ~esling of the Proto-type Qj _Modernited
                 Armored Vehicle OT-62 TOBAZ equipped witlt the n¢wpo.w.er p<Jck J>WP-
                                                    is
                 350 and·c01:r.:~prmdi11g .systef!IS, ji11islred successfully aecordi"'g oft.he
                 1'esting Program in Appen.i lixiD.of(he CQlitrdd.        ·
                 According :to the testing ·t.esuffs, of the ProtQtype tlle CerJijicate is valid
                 d()C1,111,e1tt for dtepayment of.90% ofthe Contract va/(Je.




                       FQrSV)>PLJER:




00078305.pdf                                                                                  Ghanem-00072443
                                    Ghanem_Sentencing_00000719
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 80 of 81 Page ID #:6140




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            651

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00000720
Case 2:15-cr-00704-SJO Document 431-8 Filed 05/13/19 Page 81 of 81 Page ID #:6141




                       Can u send the end user
                       certification?




                                                        Cl'             -   I   •

                                                   <-    ,lili'!ll.iA               J




        ®
        00142161.pdf                                                        Ghanem-00072445
                           Ghanem_Sentencing_00000721
